 Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
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                                            1 of 831 Page 1 of 200 PageID 28578


 Davor Rukavina, Esq.
 Texas Bar No. 24030781
 Julian P. Vasek, Esq.
 Texas Bar No. 24070790
 MUNSCH HARDT KOPF & HARR, P.C.
 500 N. Akard Street, Suite 3800
 Dallas, Texas 75202-2790
 Telephone: (214) 855-7500
 Facsimile: (214) 978-4375

 COUNSEL FOR HIGHLAND CAPITAL
 MANAGEMENT FUND ADVISORS, L.P.

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  In re                                          §
                                                 §
                                                                   Chapter 11
  HIGHLAND CAPITAL MANAGEMENT,                   §
  L.P.,                                          §
                                                            Case No. 19-34054-sgj11
                                                 §
          Debtor.                                §
                                                 §
  HIGHLAND CAPITAL MANAGEMENT,                   §
  L.P.,                                          §
                                                 §
          Plaintiff,                             §
                                                 §
                                                               Adv. No. 21-03004
  v.                                             §
                                                 §
  HIGHLAND CAPITAL MANAGEMENT                    §
  FUND ADVISORS, L.P.                            §
                                                 §
          Defendant.                             §

                       DEFENDANT’S APPENDIX IN SUPPORT OF
                    SECOND MOTION FOR LEAVE TO AMEND ANSWER

 TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

          COMES NOW Highland Capital Management Fund Advisors, L.P. (“HCMFA” or the

 “Defendant”), the defendant in the above styled and numbered adversary proceeding (the

 “Adversary Proceeding”) commenced by Highland Capital Management, L.P. (the “Debtor”), and

 files this its Defendant’s Appendix In Support of Second Motion for Leave to Amend Answer (the


 DEFENDANT’S APPENDIX IN SUPPORT OF SECOND MOTION FOR LEAVE TO AMEND ANSWER—Page 1
 Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
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                                       Page01/09/24
                                            2 of 831 Page 2 of 200 PageID 28579



 “Appendix”), filed in support of the Defendant’s Second Motion for Leave to Amend Answer and

 Brief In Support Thereof (the “Motion”), as follows:

   No.     Description                                                      Range
    1      Declaration of Dennis C. Sauter, Jr.                             1-52
            1 Second Amended and Restated Shared Services Agreement         13-25
            2 Amended and Restated Shared Services Agreement                26-44
            3 E-mail Chain                                                  45-48
            4 Order Granting Debtor’s Motion for a Preliminary Injunction   49-52
                Against James Dondero
     2     October 19, 2021 Deposition of Frank Waterhouse                  53-449
     3     October 27, 2021 Deposition of Kristin Hendrix                   450-653
     4     October 27, 2021 Deposition of David Klos                        654-813
     5     Declaration of Davor Rukavina                                    814-828
           A Defendant’s Second Set of Requests for Production to           817-821
                Plaintiff
           B Debtor’s Responses and Objections to Defendant’s Second        822-828
                Set of Requests for Production


         RESPECTFULLY SUBMITTED this 30th day of November, 2021.

                                             MUNSCH HARDT KOPF & HARR, P.C.

                                             By: /s/ Davor Rukavina
                                                  Davor Rukavina, Esq.
                                                  Texas Bar No. 24030781
                                                  Julian P. Vasek, Esq.
                                                  Texas Bar No. 24070790
                                                  3800 Ross Tower
                                                  500 N. Akard Street
                                                  Dallas, Texas 75201-6659
                                                  Telephone: (214) 855-7500
                                                  Facsimile: (214) 855-7584
                                                   Email: drukavina@munsch.com

                                             COUNSEL FOR HIGHLAND CAPITAL
                                             MANAGEMENT FUND ADVISORS, L.P.




 DEFENDANT’S APPENDIX IN SUPPORT OF SECOND MOTION FOR LEAVE TO AMEND ANSWER—Page 2
 Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
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                                       Page01/09/24
                                            3 of 831 Page 3 of 200 PageID 28580



                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that, on this the 30th day of November, 2021, true and
 correct copies of this document, with the exhibits referenced herein (redacted) were electronically
 served by the Court’s ECF system on parties entitled to notice thereof, including on the Plaintiff
 through its counsel of record, and in unredacted format by e-mail on John Morris, Esq., counsel of
 record for the Plaintiff.

                                              /s/ Davor Rukavina
                                              Davor Rukavina




 DEFENDANT’S APPENDIX IN SUPPORT OF SECOND MOTION FOR LEAVE TO AMEND ANSWER—Page 3
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Case 3:21-cv-00881-X Document
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                                       Page01/09/24
                                            4 of 831 Page 4 of 200 PageID 28581



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

  In re                                            §
                                                   §
                                                                      Chapter 11
  HIGHLAND CAPITAL MANAGEMENT,                     §
  L.P.,                                            §
                                                               Case No. 19-34054-sgj11
                                                   §
           Debtor.                                 §
                                                   §
  HIGHLAND CAPITAL MANAGEMENT,                     §
  L.P.,                                            §
                                                   §
           Plaintiff,                              §
                                                   §
                                                                  Adv. No. 21-03004
  v.                                               §
                                                   §
  HIGHLAND CAPITAL MANAGEMENT                      §
  FUND ADVISORS, L.P.                              §
                                                   §
           Defendant.                              §

                                                   §
  HIGHLAND CAPITAL MANAGEMENT,                     §
  L.P.,                                            §
                                                   §
           Plaintiff,                              §
                                                   §              Adv. No. 21-03005
  v.                                               §
                                                   §
  NEXPOINT ADVISORS, L.P.,                         §
                                                   §
           Defendant.                              §

                         DECLARATION OF DENNIS C. SAUTER, JR.

          I, Dennis C. Sauter, Jr., hereby swear under oath and penalty of perjury pursuant to the

 laws of the United States of America that the following is true and correct to the best of my

 knowledge and belief:




 DECLARATION OF DENNIS C. SAUTER, JR.—Page 1
                                                                                    HCMFA APP 0001
 Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
                          Document
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                                       Page01/09/24
                                            5 of 831 Page 5 of 200 PageID 28582



                                      I.     INTRODUCTION

        1.        My name is Dennis C. Sauter, Jr. I am over the age of 21, have never been

 convicted of a felony or crime of moral turpitude, and am otherwise qualified to give this

 Declaration. I have personal knowledge of the facts stated in this Declaration, or such facts are

 known to me from my review of the books and records of Highland Capital Management Fund

 Advisors, L.P. (“HCMFA”) and/or NexPoint Advisors, L.P. (“NexPoint”).

        2.        I am an attorney licensed to practice law in the State of Texas, and have been such

 since 2001. I am in-house counsel for both HCMFA and NexPoint, and have been since at least

 January 1, 2021, which is why I am aware of both of these adversary proceedings. I have been

 responsible for managing outside counsel in both of these adversary proceedings since their filing,

 and I remain so responsible.

        3.        While I provided limited legal services to Highland Capital Management, L.P. (the

 “Debtor”) and its affiliated entities as outside counsel before I became in-house counsel, those

 services were limited to real estate transactions having nothing to do with the facts discussed in

 this Declaration.

        4.        I am executing this Declaration in Support of the motions of both HCMFA and

 NexPoint to amend their answers in the above styled and numbered adversary proceedings initiated

 by the Debtor.

        5.        I am aware that both HCMFA and NexPoint previously sought and obtained

 permission to amend their answers in these adversary proceedings. Nevertheless, due to very

 recent events and discovery, HCMFA and NexPoint have determined that it is advisable to again

 amend their answers to assert certain defenses or affirmative defenses, which should by now have

 become clear to the Debtor as a result of very recent discovery, in order that justice may be done,

 that they may assert all available defenses and affirmative defenses, and that the trier of fact in

 DECLARATION OF DENNIS C. SAUTER, JR.—Page 2
                                                                                      HCMFA APP 0002
 Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
                          Document
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                                       Page01/09/24
                                            6 of 831 Page 6 of 200 PageID 28583



 these adversary proceedings will have all relevant claims, defenses, and facts before it.

 Specifically:

        (i)      HCMFA seeks to explicitly assert that Frank Waterhouse (“Waterhouse”) did not

                 sign the two promissory notes that the Debtor has sued HCMFA on in adversary

                 proceeding no. 21-03004; and

        (ii)     NexPoint seeks to explicitly assert that it had prepaid the promissory note in

                 question in adversary proceeding no. 21-03005 and that, accordingly, the December

                 31, 2020 payment had been satisfied by prepayment.

                                     II.    BACKGROUND

        6.       HCMFA and NexPoint are registered advisors under the Investment Advisors Act

 of 1940. As such, they advise various independent funds which, in turn, are investment vehicles

 for a large number of investors.

        7.       HCMFA and NexPoint have always had very few employees. During 2019, for

 example, HCMFA had only 7 to 9 employees.

        8.       Instead, most of the services needed by HCMFA to transact its business were

 provided by the Debtor pursuant to that certain Second Amended and Restated Shared Services

 Agreement dated February 8, 2013 (the “HCMFA Agreement”), a true and correct copy of which

 is attached hereto as Exhibit 1, while most of the services needed by NexPoint to transact its

 business were provided by the Debtor pursuant to that certain Amended and Restated Shared

 Services Agreement dated January 1, 2018 (the “NexPoint Agreement,” with the HCMFA

 Agreement, the “Shared Services Agreements”), a true and correct copy of which is attached hereto

 as Exhibit 2.

        9.       This was standard business practice for the Debtor and various other affiliated

 companies, including other advisers, within the Debtor’s “complex” of business: the Debtor would

 DECLARATION OF DENNIS C. SAUTER, JR.—Page 3
                                                                                    HCMFA APP 0003
 Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
                          Document
                              176-40 Filed
                                       Page01/09/24
                                            7 of 831 Page 7 of 200 PageID 28584



 employ most of the employees and then share those employees with HCMFA, NexPoint, and other

 “complex” entities, in exchange for payments by such entities.

        10.     Thus, under the Shared Services Agreements, employees of the Debtor (many of

 whom were highly trained and specialized) provided many key services to HCMFA and NexPoint

 on an as-needed basis.      These services included legal, accounting, treasury, regulatory,

 compliance, IT, and tax services, among others.       Additionally, under the Shared Services

 Agreements, the Debtor provided critical electronic infrastructure to HCMFA and other “complex”

 entities, such that the books and records, and e-mail communications, of HCMFA were actually

 stored on the Debtor’s servers.

        11.     On January 22, 2021, the Debtor filed its Complaint for (i) Breach of Contract and

 (ii) Turnover of Property of the Debtor’s Estate (the “HCMFA Complaint”) against HCMFA,

 seeking to recover on two alleged promissory notes, each dated May 2, 2019 (the “HCMFA

 Notes”): (i) a note for $5 million; and (ii) a note for $2.4 million. HCMFA timely answered.

        12.     On January 22, 2021, the Debtor also filed its Complaint for (i) Breach of Contract

 and (ii) Turnover of Property of the Debtor’s Estate (the “NexPoint Complaint,” with the HCMFA

 Complaint, the “Complaints”) against NexPoint, seeking to recover on an alleged promissory note

 dated May 31, 2017 in the original principal amount of $30,746,812.33 (the “NexPoint Note,” with

 the HCMFA Notes, the “Notes”). NexPoint timely answered.

        13.     At the time that the Debtor filed the Complaints, I promptly undertook an internal

 review of the background facts concerning the Notes. I had no knowledge of them, since I had not

 been employed by HCMFA or NexPoint at the time that they were allegedly executed, and the few

 direct employees of HCMFA and NexPoint likewise had limited knowledge of the Notes. I also

 discussed the Notes with James Dondero, president of HCMFA and NexPoint, and formerly the

 CEO of the Debtor, and Mr. Dondero recalled only high-level details of the Notes. My review of

 DECLARATION OF DENNIS C. SAUTER, JR.—Page 4
                                                                                     HCMFA APP 0004
 Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
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                                       Page01/09/24
                                            8 of 831 Page 8 of 200 PageID 28585



 the limited books and records of HCMFA and NexPoint that were not then in the possession of the

 Debtor did not reveal any background facts regarding the Notes.

        14.     Normally, I would have discussed the Notes with employees of the Debtor who

 also provided services to HCMFA and NexPoint pursuant to the Shared Services Agreements in

 order to assess what defenses or affirmative defenses to the Complaint existed. However, in this

 instance I was precluded from doing so.

        15.     First, attached hereto as Exhibit 3 is a true and correct copy of an e-mail exchange

 between myself and Mr. James Seery dated September 17, 2020. Mr. Seery was and remains the

 Chief Executive Officer of the Debtor. As stated in Exhibit 2, Mr. Seery informed me that Debtor

 employees had been instructed not to discuss with me anything that is “inimical” to the interests

 of the Debtor, and that they would be terminated if they did so. This e-mail communication

 comports with other communications between myself and Mr. Seery where he cautioned me not

 to discuss with Debtor employees matters that may be adverse to the Debtor.

        16.     Second, by the time of the filing of the Complaints, the Court had entered a

 preliminary injunction against Mr. Dondero, a true and correct copy of which is attached hereto as

 Exhibit 4. That injunction prohibited Mr. Dondero from “directly or indirectly . . . communicating

 with any of the Debtor’s employees, except as it specifically relates to shared services currently

 provided.” As the information concerning the Notes was background information and not related

 to “services currently provided,” I was concerned that, if I discussed the Notes with the Debtor’s

 employees, the Debtor would argue that either Mr. Dondero or I was violating the Court’s

 injunction.

        17.     In sum, after the Complaints were filed, the employees of HCMFA or NexPoint

 knew very little about the Notes, and I was precluded from contacting the people that would have

 known information about the notes, i.e. the Debtor’s employees, to discuss what they may have

 DECLARATION OF DENNIS C. SAUTER, JR.—Page 5
                                                                                     HCMFA APP 0005
 Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
                          Document
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                                       Page01/09/24
                                            9 of 831 Page 9 of 200 PageID 28586



 known. I also had very limited access to HCMFA’s and NexPoint’s books and records, and, even

 if I had had full access, I would not have known what relevant books and records to search for in

 the many millions of files without first obtaining a generalized background of the facts regarding

 the Notes from Debtor employees.

        18.     The situation changed by mid-April, 2021. As of late February, 2021, the Debtor

 terminated the Shared Services Agreements and terminated most of its former employees. Many

 of those employees then formed their own company, Skyview Group, which then contracted with

 HCMFA and NexPoint to continue providing essentially the same services that they had previously

 provided under the Shared Services Agreements. Additionally, the Debtor provided access to

 HCMFA and NexPoint to many of its books and records (although not all). Thus, as of March,

 2021, I was able to communicate with most former Debtor employees and to access many books

 and records without fear of violating any court order.

        19.     March, 2021, was exceedingly busy, to say the least. With the termination of the

 Shared Services Agreements, HCMFA, NexPoint, other entities for which I am in-house counsel,

 and I were preoccupied with transitioning the services that the Debtor had been providing for more

 than a decade to a new entity, using new infrastructure, moving into new offices, setting up new

 networks, etc., all for the primary goal of ensuring a smooth and uninterrupted continuity of

 business and services provided by HCMFA and NexPoint and others to third parties.

        20.     By mid-April, 2021, the situation had calmed down to the point that I was able to

 discuss the Notes with former employees, most importantly Waterhouse and Will Mabry

 (“Mabry”). Mabry in particular was able to provide me internal documents and memoranda that I

 had not previously known about to that helped with the factual background of the Notes.

        21.     From these discussions and documents, I was able to better understand the factual

 background concerning the HCMFA Notes, ultimately concluding at the time that the Notes were

 DECLARATION OF DENNIS C. SAUTER, JR.—Page 6
                                                                                     HCMFA APP 0006
  Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
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                                       Page01/09/24
                                            10 of 831Page 10 of 200 PageID 28587



 signed by mistake by Waterhouse without authority from HCMFA, had no consideration, and were

 never intended to be debt instruments of HCMFA. I testified as to these matters before based on

 my understanding, and HCMFA obtained leave to amend its answer to assert these defenses.

                            III.       FACTS PERTINENT TO HCMFA

        22.     With respect to the HCMFA Notes, those notes appear to be signed by Waterhouse.

 At the time of those alleged Notes, Waterhouse was the Chief Financial Officer of the Debtor. At

 that time, he was also either the Chief Financial Officer, or Treasurer, of HCMFA (either way, an

 officer level position at HCMFA).

        23.     In the April, 2021 timeframe, when I discussed the HCMFA Notes with

 Waterhouse, I asked him whether he had signed those two notes. At that time, he told me that he

 believed that he had, because he had not been electronically signing documents in May, 2019 and

 the signatures on the notes looked like they were his. Although he did not remember many, if any,

 of the facts and circumstances concerning the HCMFA Notes, given that he told me that he

 believed he signed those notes because the signatures looked like they were his and because he

 signed a lot of documents and could not remember each one particularly, I did not have reasonable

 grounds to believe that Waterhouse had not in fact signed the HCMFA Notes or authorized his

 signature to be affixed to the HCMFA Notes. And, I was not prepared to assert a defense in which

 I did not have a good faith belief.

        24.     This changed in late October, 2021. On October 19, 2021, the Debtor and HCMFA

 deposed Waterhouse, including in connection with the HCMFA Notes. In that deposition, and

 among other things, Waterhouse testified that (and I am paraphrasing): (i) he did not remember

 signing the HCMFA Notes or giving anyone permission to sign his name to the same; (ii) his

 signatures on the HCMFA Notes appeared to be electronic signatures; and (iii) in May, 2019, he




 DECLARATION OF DENNIS C. SAUTER, JR.—Page 7
                                                                                    HCMFA APP 0007
  Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
                          Document
                              176-40 Filed
                                       Page01/09/24
                                            11 of 831Page 11 of 200 PageID 28588



 sometimes signed documents electronically, but if he did so, he would have sent an e-mail to

 Kristen Hendrix (“Hendrix”) authorizing and instructing her to sign his name to a document.

        25.     Although I understand that HCMFA had requested the originals of the HCMFA

 Notes previously from the Debtor in discovery, I understand that those native documents were not

 produced until October 25, 2021. I understand that, when produced, those originals showed that

 Waterhouse’s signature was indeed an electronic signature on both of the HCMFA Notes and,

 unlike various electronic signatures that employ some control process or matrix certifying

 authenticity, here both signatures were merely pictures of his signatures. Indeed, one can copy

 and paste that same picture on to any document without any control or approval needed by

 Waterhouse, as I do below (below is the picture copied from the HCMFA Notes, originally in

 Word with the signature picture in “picture” format, probably .jpg).




        26.     Then, on October 27, 2021, HCMFA deposed Hendrix. In that deposition, and

 among other things, Hendrix testified that (and I am paraphrasing): (i) she prepared the HCMFA

 Notes from a Word document template, by inputting various details into the document and adding

 Waterhouse’s signature picture; (ii) she does not remember Waterhouse authorizing her to affix

 his signature, although she believes that this was likely the case; (iii) she does not remember

 printing out the documents and presenting them to Waterhouse for approval or signature; and (iv)

 she does not remember whether the HCMFA Notes were printed out at all or if they were simply

 saved in their original electronic format on the Debtor’s system.

        27.     Importantly, Hendrix remained an employee of the Debtor after the Debtor

 terminated most employees around February, 2021. Thus, neither I nor anyone else with HCMFA

 or NexPoint was able to talk to her directly regarding the Notes, and neither I nor, to my

 DECLARATION OF DENNIS C. SAUTER, JR.—Page 8
                                                                                   HCMFA APP 0008
  Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
                          Document
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                                       Page01/09/24
                                            12 of 831Page 12 of 200 PageID 28589



 knowledge, anyone else working with or for HCMFA or NexPoint did so. In other words, her

 deposition was the first time that HCMFA and NexPoint learned what she had to say of relevance

 to the Notes.

        28.      Additionally, as noted above, Waterhouse testified that, if he had authorized

 Hendrix or someone else to electronically sign his name to a document, he would have done so

 through an e-mail. I understand from Munsch Hardt that the Debtor has produced no such e-mail

 in discovery.

        29.      Therefore, HCMFA now believes that Waterhouse never in fact signed the HCMFA

 Notes or authorized Hendrix or anyone else to sign his name to the HCMFA Notes, and HCMFA

 finds it advisable and appropriate to amend its answer to explicitly assert this defense.

        30.      HCMFA did not know, and could not reasonably have known, about this defense

 until the end of October, 2021, after the Hendrix deposition transcript was prepared. HCMFA did

 not delay in any way in seeking to assert this defense. As noted above, had Waterhouse not told

 me in April, 2021 that he assumed that he signed the HCMFA Notes because the signatures looked

 like his, or had he given me any indication that he had not in fact signed the HCMFA Notes, then

 HCMFA would have asserted this defense sooner. As is, however, it was not until discovery in

 late October, 2021 that HCMFA learned that Waterhouse apparently did not sign the HCMFA

 Notes or authorize his electronic signature, and HCMFA did not delay thereafter in promptly

 seeking to amend its answer.

        31.      HCMFA therefore respectfully requests leave to amend its answer to expressly

 plead that the HCMFA Notes were never in fact signed.

                          IV.    FACTS PERTINENT TO NEXPOINT

        32.      The NexPoint note was in the original principal amount of $30,746,812.33. The

 note required an annual payment of principal and interest. By December 31, 2020, the amount due

 DECLARATION OF DENNIS C. SAUTER, JR.—Page 9
                                                                                       HCMFA APP 0009
  Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
                          Document
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                                       Page01/09/24
                                            13 of 831Page 13 of 200 PageID 28590



 on the NexPoint note was approximately $24,471,804.98. Thus, even though the NexPoint Note

 was dated May 31, 2017 and had a thirty (30) year amortization, meaning that there should have

 been only three (3) annual payments by December 31, 2020 (2017, 2018, and 2019), the amount

 of the NexPoint Note was significantly lower than it should have been.

        33.     This was one of the issues I discussed with Waterhouse in April, 2021 when I was

 able to finally discuss the Notes with him. In particular, I asked him why the amount due on the

 NexPoint Note was significantly less than it appeared that it should have been based on its original

 principal amount and annual payments. Waterhouse did not know the answer to that question, but

 informed me that the payment ledger kept by the Debtor for that note should have the answer.

        34.     Like HCMFA, NexPoint deposed Hendrix on October 27, 2021. During that

 deposition, it was learned that a document the Debtor produced, bates-labeled D-NNL-029141,

 was the internal Debtor-maintained payment ledger for the NexPoint Note. The Debtor had

 produced this document before, in early June, 2021, but there were two problems: (i) NexPoint did

 not know that this document was the payment ledger for the NexPoint Note; and (ii) NexPoint had

 no context or ability to know what the entries on the document meant.

        35.     Indeed, Mr. James Seery, at his deposition on October 19, 2021, while confirming

 that the Debtor did maintain a payment ledger for the NexPoint Note and that the Debtor had

 produced the same, was unable to state whether document D-NNL-029141 was that ledger and, in

 fact, testified as to his belief that this document “is something else.” If the CEO and CRO of the

 Debtor was unsure what document D-NNL-029141 was, then NexPoint cannot reasonably be

 expected to know that that document was the official payment ledger until the October 27, 2019

 deposition of Hendrix. Indeed, it was the Hendrix deposition that confirmed the existence of the

 prepayment defense because Hendrix testified that (I am paraphrasing): (i) if the Debtor needed




 DECLARATION OF DENNIS C. SAUTER, JR.—Page 10
                                                                                      HCMFA APP 0010
  Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
                          Document
                              176-40 Filed
                                       Page01/09/24
                                            14 of 831Page 14 of 200 PageID 28591



 cash, then one of its affiliates, such as NexPoint, would transfer the Debtor funds; (ii) this occurred

 in 2019; and (iii) such transfers would have been recorded by the Debtor as prepayments.

        36.     NexPoint believes that that ledger proves that NexPoint had in fact prepaid the

 December 31, 2020 obligation under the NexPoint Note, such that there was no failure by NexPoint

 to make that payment and therefore no grounds to accelerate the NexPoint Note. That also explains

 why the principal amount of the NexPoint Note was significantly less than it would have been

 without prepayments.

        37.     NexPoint did not delay in seeking to expressly assert this prepayment defense. The

 payment ledger was a document of the Debtor that, prior to discovery, NexPoint did not have

 access to and, in fact, was prohibited by the Debtor from even trying to access. Once that document

 was produced by the Debtor in discovery, NexPoint used it at the appropriate depositions which,

 for scheduling reasons and by the agreement of the parties, did not occur until late October, 2021.

 As soon as logistically possible thereafter, NexPoint sought to assert this defense. While NexPoint

 questioned why the amount due on the NexPoint Note was significantly less, and while I personally

 sought an answer from Waterhouse (who did not know), that does not necessarily mean that the

 NexPoint Note was prepaid, as it could have been forgiven in part or otherwise treated, and

 NexPoint did not want to raise a defense without evidence to support the defense which, like I say

 above, did not come to light until late October, 2021, through discovery.

        38.     NexPoint therefore respectfully requests that it be granted leave to amend its answer

 to assert an additional defense that the December 31, 2020 payment on the NexPoint Note had

 been prepaid and that there was therefore no default in the failure to make the same, and no right

 to accelerate the NexPoint Note.




 DECLARATION OF DENNIS C. SAUTER, JR.—Page 11
                                                                                         HCMFA APP 0011
  Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
Case 3:21-cv-00881-X Document
                          Document
                              176-40 Filed
                                       Page01/09/24
                                            15 of 831Page 15 of 200 PageID 28592




                                                                   HCMFA APP 0012
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 Case     21-03010-sgj
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                                                                                     of 31
Case 3:21-cv-00881-X Document  Document
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                                              Page
                                                 01/09/24
                                                   16 of 831Page 16 of 200 PageID 28593




                                    SECOND AMENDED AND RESTATED
                                     SHARED SERVICES AGREEMENT

             THIS SECOND AMENDED AND RESTATED SHARED SERVICES AGREEMENT (this
     “Agreement”) is entered into to be effective as of 8th day of February, 2013 (the “Effective Date”) by and
     among Highland Capital Management, L.P., a Delaware limited partnership (“HCMLP”), and Highland
     Capital Management Fund Advisors, L.P., formerly known as Pyxis Capital, L.P., a Delaware limited
     partnership (“HCMFA”), and any affiliate of HCMFA that becomes a party hereto. Each of the
     signatories hereto is individually a “Party” and collectively the “Parties”.

                                                    RECITALS

             A.      During the Term, HCMLP will provide to HCMFA certain services as more fully
     described herein and the Parties desire to allocate the costs incurred for such services and assets among
     them in accordance with the terms and conditions in this Agreement.

                                                  AGREEMENT

              In consideration of the foregoing recitals and the mutual covenants and conditions contained
     herein, the Parties agree, intending to be legally bound, as follows:

                                                   ARTICLE I
                                                  DEFINITIONS

             “Actual Cost” means, with respect to any period hereunder, one hundred percent (100%) of the
     actual costs and expenses caused by, incurred or otherwise arising from or relating to (i) the Shared
     Services and (ii) the Shared Assets, in each case during such period.

             “Affiliate” means a Person that directly, or indirectly through one or more intermediaries,
     controls, or is controlled by, or is under common control with, a specified Person. The term “control”
     (including, with correlative meanings, the terms “controlled by” and “under common control with”)
     means the possession of the power to direct the management and policies of the referenced Person,
     whether through ownership interests, by contract or otherwise.

             “Agreement” has the meaning set forth in the preamble.

             “Allocation Percentage” has the meaning set forth in Section 4.01.

             “Applicable Margin” shall mean an additional amount equal to 5% of all costs allocated by
     Service Provider to the other parties hereto under Article IV; provided that the parties may agree on a
     different margin percentage as to any item or items to the extent the above margin percentage, together
     with the allocated cost of such item or service, would not reflect an arm’s length value of the particular
     service or item allocated.

             “Change” has the meaning set forth in Section 2.02(a).

             “Change Request” has the meaning set forth in Section 2.02(b).

             “Code” means the Internal Revenue Code of 1986, as amended, and the related regulations and
     published interpretations.




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                                                                               Desc  Main
                                                                                     of 31
Case 3:21-cv-00881-X Document  Document
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                                              Page
                                                 01/09/24
                                                   17 of 831Page 17 of 200 PageID 28594




             “Effective Date” has the meaning set forth in the preamble.

            “Governmental Entity” means any government or any regulatory agency, bureau, board,
     commission, court, department, official, political subdivision, tribunal or other instrumentality of any
     government, whether federal, state or local, domestic or foreign.

              “Liabilities” means any cost, liability, indebtedness, obligation, co-obligation, commitment,
     expense, claim, deficiency, guaranty or endorsement of or by any Person of any nature (whether direct or
     indirect, known or unknown, absolute or contingent, liquidated or unliquidated, due or to become due,
     accrued or unaccrued, matured or unmatured).

             “Loss” means any cost, damage, disbursement, expense, liability, loss, obligation, penalty or
     settlement, including interest or other carrying costs, legal, accounting and other professional fees and
     expenses incurred in the investigation, collection, prosecution and defense of claims and amounts paid in
     settlement, that may be imposed on or otherwise incurred or suffered by the referenced Person; provided,
     however, that the term “Loss” will not be deemed to include any special, exemplary or punitive damages,
     except to the extent such damages are incurred as a result of third party claims.

             “New Shared Service” has the meaning set forth in Section 2.03.

             “Party” or “Parties” has the meaning set forth in the preamble.

           “Person” means an association, a corporation, an individual, a partnership, a limited liability
     company, a trust or any other entity or organization, including a Governmental Entity.

             “Quarterly Report” has the meaning set forth in Section 5.01.

             “Recipient” means HCMFA and any of HCMFA’s direct or indirect Subsidiaries or managed
     funds or accounts in their capacity as a recipient of the Shared Services and/or Shared Assets.

             “Service Provider” means any of HCMLP and its direct or indirect Subsidiaries in its capacity as
     a provider of Shared Services or Shared Assets.

             “Service Standards” has the meaning set forth in Section 6.01.

             “Shared Assets” shall have the meaning set forth in Section 3.02.

             “Shared Services” shall have the meaning set forth in Section 2.01.

              “Subsidiary” means, with respect to any Person, any Person in which such Person has a direct or
     indirect equity ownership interest in excess of 50%.

              “Tax” or “Taxes” means: (i) all state and local sales, use, value-added, gross receipts, foreign,
     privilege, utility, infrastructure maintenance, property, federal excise and similar levies, duties and other
     similar tax-like charges lawfully levied by a duly constituted taxing authority against or upon the Shared
     Services and the Shared Assets; and (ii) tax-related surcharges or fees that are related to the Shared
     Services and the Shared Assets identified and authorized by applicable tariffs.

             “Term” has the meaning set forth in Section 7.01.




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                                                                                                     HCMFA APP 0014
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Case 3:21-cv-00881-X Document  Document
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                                                 01/09/24
                                                   18 of 831Page 18 of 200 PageID 28595




                                                  ARTICLE II
                                               SHARED SERVICES

             Section 2.01     Services. During the Term, Service Provider will provide Recipient with Shared
     Services, including without limitation, all of the (i) finance and accounting services, (ii) human resources
     services, (iii) marketing services, (iv) legal services, (v) corporate services, (vi) information technology
     services, and (vii) operations services; each as requested by HCMFA and as described more fully on
     Annex A attached hereto, the “Shared Services”), it being understood that personnel providing Shared
     Services may be deemed to be employees of HCMFA to the extent necessary for purposes of the
     Investment Advisers Act of 1940, as amended.

             Section 2.02    Changes to the Shared Services.

                     (a)      During the Term, the Parties may agree to modify the terms and conditions of a
     Service Provider’s performance of any Shared Service in order to reflect new procedures, processes or
     other methods of providing such Shared Service, including modifying the applicable fees for such Shared
     Service to reflect the then current fair market value of such service (a “Change”). The Parties will
     negotiate in good faith the terms upon which a Service Provider would be willing to provide such New
     Shared Service to Recipient.

                      (b)      The Party requesting a Change will deliver a description of the Change requested
     (a “Change Request”) and no Party receiving a Change Request may unreasonably withhold, condition or
     delay its consent to the proposed Change.

                      (c)      Notwithstanding any provision of this Agreement to the contrary, a Service
     Provider may make: (i) Changes to the process of performing a particular Shared Service that do not
     adversely affect the benefits to Recipient of Service Provider’s provision or quality of such Shared
     Service in any material respect or increase Recipient’s cost for such Shared Service; (ii) emergency
     Changes on a temporary and short-term basis; and/or (iii) Changes to a particular Shared Service in order
     to comply with applicable law or regulatory requirements, in each case without obtaining the prior
     consent of Recipient. A Service Provider will notify Recipient in writing of any such Change as follows:
     in the case of clauses (i) and (iii) above, prior to the implementation of such Change, and, in the case of
     clause (ii) above, as soon as reasonably practicable thereafter.

             Section 2.03   New Shared Services. The Parties may, from time to time during the Term of
     this Agreement, negotiate in good faith for Shared Services not otherwise specifically listed in Section
     2.01 (a “New Shared Service”). Any agreement between the Parties on the terms for a New Shared
     Service must be in accordance with the provisions of Article IV and Article V hereof, will be deemed to
     be an amendment to this Agreement and such New Shared Service will then be a “Shared Service” for all
     purposes of this Agreement.

             Section 2.04   Subcontractors. Nothing in this Agreement will prevent Service Provider from,
     with the consent of Recipient, using subcontractors, hired with due care, to perform all or any part of a
     Shared Service hereunder. A Service Provider will remain fully responsible for the performance of its
     obligations under this Agreement in accordance with its terms, including any obligations it performs
     through subcontractors, and a Service Provider will be solely responsible for payments due to its
     subcontractors.




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Case 3:21-cv-00881-X Document  Document
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                                                 01/09/24
                                                   19 of 831Page 19 of 200 PageID 28596




                                                   ARTICLE III
                                                 SHARED ASSETS

              Section 3.01    Shared IP Rights. Each Service Provider hereby grants to Recipient a non-
     exclusive right and license to use the intellectual property and other rights granted or licensed, directly or
     indirectly, to such Service Provider (the “Shared IP Rights”) pursuant to third party intellectual property
     Agreements (“Third Party IP Agreements”), provided that the rights granted to Recipient hereunder are
     subject to the terms and conditions of the applicable Third Party IP Agreement, and that such rights shall
     terminate, as applicable, upon the expiration or termination of the applicable Third Party IP Agreement.
     Recipient shall be licensed to use the Shared IP Rights only for so long as it remains an Affiliate of
     HCMLP. In consideration of the foregoing licenses, Recipient agrees to take such further reasonable
     actions as a Service Provider deems to be necessary or desirable to comply with its obligations under the
     Third Party IP Agreements.

             Section 3.02     Other Shared Assets. Subject to Section 3.01, each Service Provider hereby
     grants Recipient the right, license or permission, as applicable, to use and access the benefits under the
     agreements, contracts and licenses that such Service Provider will purchase, acquire, become a party or
     beneficiary to or license on behalf of Recipient (the “Future Shared Assets” and collectively with the
     Shared IP Rights, the “Shared Assets”).

                                                   ARTICLE IV
                                                COST ALLOCATION

             Section 4.01   Actual Cost Allocation Formula. The Actual Cost of any item relating to any
     Shared Services or Shared Assets shall be allocated based on the Allocation Percentage. For purposes of
     this Agreement, “Allocation Percentage” means:

                     (a)      To the extent 100% of such item is demonstrably attributable to HCMFA, 100%
     of the Actual Cost of such item shall be allocated to HCMFA as agreed by HCMFA;

                    (b)    To the extent a specific percentage of use of such item can be determined (e.g.,
     70% for HCMLP and 30% for HCMFA), that specific percentage of the Actual Cost of such item will be
     allocated to HCMLP or HCMFA, as applicable and as agreed by HCMFA; and

                     (c)      All other portions of the Actual Cost of any item that cannot be allocated
     pursuant to clause (a) or (b) above shall be allocated between HCMLP and HCMFA in such proportion as
     is agreed in good faith between the parties.

             Section 4.02     Non-Cash Cost Allocation. The actual, fully burdened cost of any item relating
     to any Shared Services or Shared Assets that does not result in a direct, out of pocket cash expense may
     be allocated to HCMLP and HCMFA for financial statement purposes only, as agreed by HCMFA,
     without any corresponding cash reimbursement required, in accordance with generally accepted
     accounting principles, based on the Allocation Percentage principles described in Section 4.01 hereof.

                                             ARTICLE V
                             PAYMENT OF COST AND REVENUE SHARE; TAXES

             Section 5.01     Quarterly Statements. Within thirty (30) days following the end of each calendar
     qaurter during the Term (or at such time as may be otherwise agreed by the parties), each Service
     Provider shall furnish the other Parties hereto with a written statement with respect to the Actual Cost
     paid by it in respect of Shared Services and Shared Assets provided by it, in each case, during such


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  Case    21-03010-sgj
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Case 3:21-cv-00881-X Document  Document
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                                                 01/09/24
                                                   20 of 831Page 20 of 200 PageID 28597




     period, setting forth (i) the cost allocation in accordance with Article IV hereof together with the
     Applicable Margin on such allocated amounts, and (ii) any amounts paid pursuant to Section 5.02 hereof,
     together with such other data and information necessary to complete the items described in Section 5.03
     hereof (hereinafter referred to as the “Quarterly Report”).

              Section 5.02    Settlement Payments. At any time during the Term, any Party may make
     payment of the amounts that are allocable to such Party together with the Applicable Margin related
     thereto, regardless of whether an invoice pursuant to Section 5.03 hereof has been issued with respect to
     such amounts.

             Section 5.03    Determination and Payment of Cost and Revenue Share.

                      (a)     Within ten (10) days of the submission of the Quarterly Report described in
     Section 5.02 hereof (or at such other time as may be agreed by the parties), the Parties shall (i) agree on
     the cost share of each of the Parties and Applicable Margin as calculated pursuant to the provisions of this
     Agreement; and (ii) prepare and issue invoices for the cost share and Applicable Margin payments that
     are payable by any of the Parties.

                      (b)     Within ten (10) days of preparation of the agreement and the issuance of the
     invoice described in Section 5.03(a) (or at such other time as may be agreed by the parties), the Parties
     shall promptly make payment of the amounts that are set forth on such cost allocation invoice.
     Notwithstanding anything in this Agreement to the contrary, provision of the Shared Services shall
     commence from the Effective Date, but no fees shall be payable from Recipient or otherwise accrue with
     respect to such services provided during the month of December 2011.

             Section 5.04    Taxes.

                      (a)     Recipient is responsible for and will pay all Taxes applicable to the Shared
     Services and the Shared Assets provided to Recipient, provided, that such payments by Recipient to
     Service Provider will be made in the most tax-efficient manner and provided further, that Service
     Provider will not be subject to any liability for Taxes applicable to the Shared Services and the Shared
     Assets as a result of such payment by Recipient. Service Provider will collect such Tax from Recipient in
     the same manner it collects such Taxes from other customers in the ordinary course of Service Provider’s
     business, but in no event prior to the time it invoices Recipient for the Shared Services and Shared Assets,
     costs for which such Taxes are levied. Recipient may provide Service Provider with a certificate
     evidencing its exemption from payment of or liability for such Taxes.

                      (b)    Service Provider will reimburse Recipient for any Taxes collected from Recipient
     and refunded to Service Provider. In the event a Tax is assessed against Service Provider that is solely the
     responsibility of Recipient and Recipient desires to protest such assessment, Recipient will submit to
     Service Provider a statement of the issues and arguments requesting that Service Provider grant Recipient
     the authority to prosecute the protest in Service Provider’s name. Service Provider’s authorization will
     not be unreasonably withheld. Recipient will finance, manage, control and determine the strategy for
     such protest while keeping Service Provider reasonably informed of the proceedings. However, the
     authorization will be periodically reviewed by Service Provider to determine any adverse impact on
     Service Provider, and Service Provider will have the right to reasonably withdraw such authority at any
     time. Upon notice by Service Provider that it is so withdrawing such authority, Recipient will
     expeditiously terminate all proceedings. Any adverse consequences suffered by Recipient as a result of
     the withdrawal will be submitted to arbitration pursuant to Section 9.14. Any contest for Taxes brought
     by Recipient may not result in any lien attaching to any property or rights of Service Provider or
     otherwise jeopardize Service Provider’s interests or rights in any of its property. Recipient agrees to


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                                                                               Desc  Main
                                                                                     of 31
Case 3:21-cv-00881-X Document  Document
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                                              Page
                                                 01/09/24
                                                   21 of 831Page 21 of 200 PageID 28598




     indemnify Service Provider for all Losses that Service Provider incurs as a result of any such contest by
     Recipient.

                       (c)     The provisions of this Section 5.04 will govern the treatment of all Taxes arising
     as a result of or in connection with this Agreement notwithstanding any other Article of this Agreement to
     the contrary.

                                              ARTICLE VI
                                   SERVICE PROVIDER RESPONSIBILITIES

             Section 6.01    Service Provider General Obligations. Service Provider will provide the Shared
     Services and the Shared Assets to Recipient on a non-discriminatory basis and will provide the Shared
     Services and the Shared Assets in the same manner as if it were providing such services and assets on its
     own account (the “Service Standards”). Service Provider will conduct its duties hereunder in a lawful
     manner in compliance with applicable laws, statutes, rules and regulations and in accordance with the
     Service Standards, including, for avoidance of doubt, laws and regulations relating to privacy of customer
     information.

              Section 6.02    Books and Records; Access to Information. Service Provider will keep and
     maintain books and records on behalf of Recipient in accordance with past practices and internal control
     procedures. Recipient will have the right, at any time and from time to time upon reasonable prior notice
     to Service Provider, to inspect and copy (at its expense) during normal business hours at the offices of
     Service Provider the books and records relating to the Shared Services and Shared Assets, with respect to
     Service Provider’s performance of its obligations hereunder. This inspection right will include the ability
     of Recipient’s financial auditors to review such books and records in the ordinary course of performing
     standard financial auditing services for Recipient (but subject to Service Provider imposing reasonable
     access restrictions to Service Provider’s and its Affiliates’ proprietary information and such financial
     auditors executing appropriate confidentiality agreements reasonably acceptable to Service Provider).
     Service Provider will promptly respond to any reasonable requests for information or access. For the
     avoidance of doubt, all books and records kept and maintained by Service Provider on behalf of Recipient
     shall be the property of Recipient, and Service Provider will surrender promptly to Recipient any of such
     books or records upon Recipient’s request (provided that Service Provider may retain a copy of such
     books or records) and shall make all such books and records available for inspection and use by the
     Securities and Exchange Commission or any person retained by Recipient at all reasonable times. Such
     records shall be maintained by Service Provider for the periods and in the places required by laws and
     regulations applicable to Recipient.

             Section 6.03  Return of Property and Equipment. Upon expiration or termination of this
     Agreement, Service Provider will be obligated to return to Recipient, as soon as is reasonably practicable,
     any equipment or other property or materials of Recipient that is in Service Provider’s control or
     possession.

                                                ARTICLE VII
                                           TERM AND TERMINATION

             Section 7.01      Term. The term of this Agreement will commence as of the Effective Date and
     will continue in full force and effect until the first anniversary of the Effective Date (the “Term”), unless
     terminated earlier in accordance with Section 9.02. The Term shall automatically renew for successive
     one year periods unless sooner terminated under Section 7.02.




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                                                                                                     HCMFA APP 0018
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  Case    21-03010-sgj
      21-03004-sgj
       21-03004-sgj DocDoc
                       Doc 4-1
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                                                                  11:23:20 Page
                                                                     17:03:51   8 of
                                                                             Page 1514
                                                                               Desc  Main
                                                                                     of 31
Case 3:21-cv-00881-X Document  Document
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                                              Page
                                                 01/09/24
                                                   22 of 831Page 22 of 200 PageID 28599




             Section 7.02    Termination. Either Party may terminate this Agreement, with or without cause,
     upon at least 60 days advance written notice at any time prior to the expiration of the Term.

                                                 ARTICLE VIII
                                              LIMITED WARRANTY

              Section 8.01    Limited Warranty. Service Provider will perform the Shared Services hereunder
     in accordance with the Service Standards. Except as specifically provided in this Agreement, Service
     Provider makes no express or implied representations, warranties or guarantees relating to its performance
     of the Shared Services and the granting of the Shared Assets under this Agreement, including any
     warranty of merchantability, fitness, quality, non-infringement of third party rights, suitability or
     adequacy of the Shared Services and the Shared Assets for any purpose or use or purpose. Service
     Provider will (to the extent possible and subject to Service Provider’s contractual obligations) pass
     through the benefits of any express warranties received from third parties relating to any Shared Service
     and Shared Asset, and will (at Recipient’s expense) assist Recipient with any warranty claims related
     thereto.

                                              ARTICLE IX
                                            MISCELLANEOUS

              Section 9.01    No Partnership or Joint Venture; Independent Contractor. Nothing contained in
     this Agreement will constitute or be construed to be or create a partnership or joint venture between or
     among HCMLP or HCMFA or their respective successors or assigns. The Parties understand and agree
     that, with the exception of the procurement by Service Provider of licenses or other rights on behalf of
     Recipient pursuant to Section 3.01, this Agreement does not make any of them an agent or legal
     representative of the other for any purpose whatsoever. With the exception of the procurement by Service
     Provider of licenses or other rights on behalf of Recipient pursuant to Section 3.01, no Party is granted, by
     this Agreement or otherwise, any right or authority to assume or create any obligation or responsibilities,
     express or implied, on behalf of or in the name of any other Party, or to bind any other Party in any
     manner whatsoever. The Parties expressly acknowledge that Service Provider is an independent
     contractor with respect to Recipient in all respects, including with respect to the provision of the Shared
     Services.

             Section 9.02     Amendments; Waivers. Except as expressly provided herein, this Agreement
     may be amended only by agreement in writing of all Parties. No waiver of any provision nor consent to
     any exception to the terms of this Agreement or any agreement contemplated hereby will be effective
     unless in writing and signed by all of the Parties affected and then only to the specific purpose, extent and
     instance so provided. No failure on the part of any Party to exercise or delay in exercising any right
     hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any further or
     other exercise of such or any other right.

             Section 9.03    Schedules and Exhibits; Integration. Each Schedule and Exhibit delivered
     pursuant to the terms of this Agreement must be in writing and will constitute a part of this Agreement,
     although schedules need not be attached to each copy of this Agreement. This Agreement, together with
     such Schedules and Exhibits constitutes the entire agreement among the Parties pertaining to the subject
     matter hereof and supersedes all prior agreements and understandings of the Parties in connection
     therewith.

            Section 9.04     Further Assurances. Each Party will take such actions as any other Party may
     reasonably request or as may be necessary or appropriate to consummate or implement the transactions
     contemplated by this Agreement or to evidence such events or matters.


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                                                                                                     HCMFA APP 0019
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                                                                             Page 1614
                                                                               Desc  Main
                                                                                     of 31
Case 3:21-cv-00881-X Document  Document
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                                              Page
                                                 01/09/24
                                                   23 of 831Page 23 of 200 PageID 28600




             Section 9.05   Governing Law. This Agreement and the legal relations between the Parties will
     be governed by and construed in accordance with the laws of the State of Texas applicable to contracts
     made and performed in such State and without regard to conflicts of law doctrines unless certain matters
     are preempted by federal law.

             Section 9.06     Assignment. Except as otherwise provided hereunder, neither this Agreement
     nor any rights or obligations hereunder are assignable by one Party without the express prior written
     consent of the other Parties.

             Section 9.07    Headings. The descriptive headings of the Articles, Sections and subsections of
     this Agreement are for convenience only and do not constitute a part of this Agreement.

              Section 9.08    Counterparts. This Agreement and any amendment hereto or any other
     agreement delivered pursuant hereto may be executed in one or more counterparts and by different Parties
     in separate counterparts. All counterparts will constitute one and the same agreement and will become
     effective when one or more counterparts have been signed by each Party and delivered to the other
     Parties.

              Section 9.09    Successors and Assigns; No Third Party Beneficiaries. This Agreement is
     binding upon and will inure to the benefit of each Party and its successors or assigns, and nothing in this
     Agreement, express or implied, is intended to confer upon any other Person or Governmental Entity any
     rights or remedies of any nature whatsoever under or by reason of this Agreement.

             Section 9.10     Notices. All notices, demands and other communications to be given or
     delivered under or by reason of the provisions of this Agreement will be in writing and will be deemed to
     have been given: (i)immediately when personally delivered; (ii) when received by first class mail, return
     receipt requested; (iii) one day after being sent for overnight delivery by Federal Express or other
     overnight delivery service; or (iv) when receipt is acknowledged, either electronically or otherwise, if sent
     by facsimile, telecopy or other electronic transmission device. Notices, demands and communications to
     the other Parties will, unless another address is specified by such Parties in writing, be sent to the
     addresses indicated below:

                              If to HCMLP, addressed to:

                              Highland Capital Management, L.P.
                              300 Crescent Court, Suite 700
                              Dallas, Texas 75201
                              Attention: General Counsel
                              Fax: (972) 628-4147

                              If to HCMFA, addressed to:

                              Highland Capital Management Fund Advisors, L.P.
                              300 Crescent Court, Suite 700
                              Dallas, Texas 75201
                              Attention: General Counsel
                              Fax: (972) 628-4147

             Section 9.11    Expenses. Except as otherwise provided herein, the Parties will each pay their
     own expenses incident to the negotiation, preparation and performance of this Agreement, including the
     fees, expenses and disbursements of their respective investment bankers, accountants and counsel.


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Case 3:21-cv-00881-X Document Document
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              Section 9.12     Waiver. No failure on the part of any Party to exercise or delay in exercising any
     right hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any
     further or other exercise of such or any other right.

             Section 9.13     Severability. If any provision of this Agreement is held to be unenforceable for
     any reason, it will be adjusted rather than voided, if possible, to achieve the intent of the Parties. All
     other provisions of this Agreement will be deemed valid and enforceable to the extent possible.

              Section 9.14     Arbitration; Jurisdiction. Notwithstanding anything contained in this Agreement
     or the Annexes hereto to the contrary, in the event there is an unresolved legal dispute between the parties
     and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
     representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
     submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
     however, that either party or such applicable affiliate thereof may pursue a temporary restraining order
     and/or preliminary injunctive relief in connection with confidentiality covenants or agreements binding
     on the other party, with related expedited discovery for the parties, in a court of law, and, thereafter,
     require arbitration of all issues of final relief. The Arbitration will be conducted by the American
     Arbitration Association, or another, mutually agreeable arbitration service. The arbitrator(s) shall be duly
     licensed to practice law in the State of Texas. The discovery process shall be limited to the following:
     Each side shall be permitted no more than (i) two party depositions of six hours each. Each deposition is
     to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii)
     twenty-five interrogatories; (iv) twenty-five requests for admission; (v) ten requests for production. In
     response, the producing party shall not be obligated to produce in excess of 5,000 total pages of
     documents. The total pages of documents shall include electronic documents; (vi) one request for
     disclosure pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in
     this paragraph, whether to parties or non-parties, shall not be permitted. The arbitrator(s) shall be
     required to state in a written opinion all facts and conclusions of law relied upon to support any decision
     rendered. No arbitrator will have authority to render a decision that contains an outcome determinative
     error of state or federal law, or to fashion a cause of action or remedy not otherwise provided for under
     applicable state or federal law. Any dispute over whether the arbitrator(s) has failed to comply with the
     foregoing will be resolved by summary judgment in a court of law. In all other respects, the arbitration
     process will be conducted in accordance with the American Arbitration Association’s dispute resolution
     rules or other mutually agreeable, arbitration service rules. The party initiating arbitration shall pay all
     arbitration costs and arbitrator’s fees, subject to a final arbitration award on who should bear costs and
     fees. All proceedings shall be conducted in Dallas, Texas, or another mutually agreeable site. Each party
     shall bear its own attorneys fees, costs and expenses, including any costs of experts, witnesses and/or
     travel, subject to a final arbitration award on who should bear costs and fees. The duty to arbitrate
     described above shall survive the termination of this Agreement. Except as otherwise provided above, the
     parties hereby waive trial in a court of law or by jury. All other rights, remedies, statutes of limitation and
     defenses applicable to claims asserted in a court of law will apply in the arbitration.

             Section 9.15     General Rules of Construction. For all purposes of this Agreement and the
     Exhibits and Schedules delivered pursuant to this Agreement: (i) the terms defined in Article I have the
     meanings assigned to them in Article I and include the plural as well as the singular; (ii) all accounting
     terms not otherwise defined herein have the meanings assigned under GAAP; (iii) all references in this
     Agreement to designated “Articles,” “Sections” and other subdivisions are to the designated Articles,
     Sections and other subdivisions of the body of this Agreement; (iv) pronouns of either gender or neuter
     will include, as appropriate, the other pronoun forms; (v) the words “herein,”“hereof” and “hereunder”
     and other words of similar import refer to this Agreement as a whole and not to any particular Article,
     Section or other subdivision; (vi) “or” is not exclusive; (vii) “including” and “includes” will be deemed to
     be followed by “but not limited to” and “but is not limited to, “respectively; (viii) any definition of or

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Case 3:21-cv-00881-X Document Document
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                                                   25 of 831Page 25 of 200 PageID 28602




     reference to any law, agreement, instrument or other document herein will be construed as referring to
     such law, agreement, instrument or other document as from time to time amended, supplemented or
     otherwise modified; and (ix) any definition of or reference to any statute will be construed as referring
     also to any rules and regulations promulgated thereunder.




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                                                  26 of 831Page 26 of 200 PageID 28603




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Case 3:21-cv-00881-X Document Document
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                                                   27 of 831Page 27 of 200 PageID 28604




                                                         Annex A

                                                   Shared Services

               Compliance
                             General compliance
                             Compliance systems
               Facilities
                             Equipment
                             General Overhead
                             Office Supplies
                             Rent & Parking
               Finance & Accounting
                            Book keeping
                             Cash management
                             Cash forecasting
                             Credit facility reporting
                             Financial reporting
                             Accounts payable
                             Accounts receivable
                             Expense reimbursement
                             Vendor management
               HR
                             Drinks/snacks
                             Lunches
                             Recruiting
               IT
                             General support & maintenance (OMS, development, support)
                             Telecom (cell, phones, broadband)
                             WSO
               Legal
                             Corporate secretarial services
                             Document review and preparation
                             Litigation support
                             Management of outside counsel
               Marketing and PR
                             Public relations
               Tax
                             Tax audit support
                             Tax planning
                             Tax prep and filing
               Investments
                             Investment research on an ad hoc basis as requested by HCMFA




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Case 3:21-cv-00881-X Document Document
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                                                   28 of 831Page 28 of 200 PageID 28605




                            Valuation Committee
               Trading
                            Trading desk services
               Operations
                            Trade settlement




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Rukavina, Davor

From:                              James Seery <jpseeryjr@gmail.com>
Sent:                              Thursday, September 17, 2020 4:17 PM
To:                                DC Sauter
Cc:                                Gregory V. Demo
Subject:                           Re: Acis Settlement


DC

I believe your concerns regarding the release are misplaced as it does not bind entities that HCMLP does not
control. Greg can walk you through the language, but I do not believe it requires adjustment nor does it create any
liability. To the contrary, it reduces liability.

With regard to the HCMLP employee prohibitions, no employee whether legal or non‐legal can work on any matter that
is inimical to the interests of HCMLP. I ,as CEO, and the Independent Board will make the determination as to whether
an action violates the prohibition, and a breach of the prohibition will lead to termination for cause. I believe that most
of the employees have been informed of this requirement and are following the directive.

With regard to transactional matters, HCMLP employees will continue to work with you on those issues that do not run
afoul of the prohibition above. If there is a particular matter where you are taking a potentially adversarial action vis a
vis HCMLP, please let me know what it is. We can then consider whether a customized operating protocol for that issue
is needed or whether you will simply be on your own. I will make the determination with the advice of counsel. We do
not believe the Texas rules of professional responsibility apply in this situation.

Please let me know what matter you are considering with respect to the immediately preceding paragraph, and we will
consider how to best address your concerns.

Best. Jim

Jim Seery
631‐804‐2049
jpseeryjr@gmail.com




From: DC Sauter <DSauter@NexPointadvisors.com>
Date: Thursday, September 17, 2020 at 4:56 PM
To: Jim Seery <jpseeryjr@gmail.com>
Cc: Greg Demo <GDemo@pszjlaw.com>
Subject: RE: Acis Settlement

Jim/Greg, follow up on my email below. I have a few items that have been placed on my plate, and I really need to
understand who I can speak with and the extent to which they are permitted to share information with me.


D.C. S AU T E R




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From: DC Sauter
Sent: Tuesday, September 15, 2020 8:55 AM
To: 'James Seery' <jpseeryjr@gmail.com>
Cc: Gregory V. Demo <GDemo@pszjlaw.com>
Subject: RE: Acis Settlement

My apologies for copying Isaac. I was under the mistaken impression that he would have assisted in the settlement.

In my view, the requested clarification is beneficial to Strand, HCMLP, and the other “HCMLP Entities.” The documents
purport to release ACIS from claims on behalf of, among others, any entity that is “managed” by HCMLP and “respective
current advisors, trustees, directors, officers, managers, members, partners, current or former employees, beneficiaries,
shareholders, agents, participants, subsidiaries, parents, affiliates, successors, designees, and assigns” of any “HCMLP
Entity.” Those “HCMLP Entities” lack the authority to bind a whole host of parties in that laundry list, which could result
in claims against HCMLP, Strand, and the other “HCMLP Entities” by both the “ACIS Released Parties,” who will claim
they didn’t receive the benefit of the bargain, and the parties on whose behalf the “HCMLP Parties” purported to release
claims who didn’t consent to the release.

Additionally, I’d like to visit with you all regarding the board’s position that prohibits certain HCMLP personnel from
working on certain matters.

First, I am unclear whether the prohibition applies to only HCMLP legal personnel or whether it applies to all HCMLP
employees. Please clarify.

Second, as you may know, virtually all of these matters are falling into my lap, and in most cases I lack any knowledge
about them. It would help me tremendously if current HCMLP employees, and particularly the legal personnel, could
provide me with transactional background to assist in the transition of the matter. While I understand the board’s
concern with Judge Jernigan’s order, I don’t believe that the Texas Disciplinary Rules of Professional Conduct mandate or
even permit an attorney licensed in the State of Texas to refuse to cooperate with a former client in the transfer of a
matter to a new attorney. Rule 1.15(d) states that “[u]pon termination of representation, a lawyer shall take steps to
the extent reasonably practicable to protect a client's interests, such as giving reasonable notice to the client, allowing
time for employment of other counsel, surrendering papers and property to which the client is entitled and refunding
any advance payments of fee that has not been earned.” The comments to that rule provide additional clarity: “In every
instance of withdrawal and even if the lawyer has been unfairly discharged by the client, a lawyer must take all
reasonable steps to mitigate the consequences to the client.” T.D.R.P.C. Rule 1.15, comment 9. Proper steps may
include providing information to new counsel or even continuing to represent the client for a limited time to meet
impending deadlines. Microsoft Corp. v. Commonwealth Sci. & Indus. Research Org., 2007 U.S. Dist. LEXIS 91550 *23‐24
fn. 11 (E.D. Tex. Dec. 13, 2007). Even if the board insists that the HCMLP legal personnel cannot continue to represent
others in non‐HCMLP matters or matters adverse to HCMLP (irrespective of any conflict of interest analysis of whether
those attorneys may continue to represent HCMLP in those matters), the ethical rules require that the attorneys provide
assistance in transferring those matters to me or others.

Finally, I routinely handle, and am routinely asked to handle, legal matters that relate to real estate for entities owned or
controlled by HCMLP (Park West, the Arizona assets, the Maple Ave. property, to name a few). I am not an HCMLP
employee, and it’s my understanding that NexPoint Advisors, L.P. is not compensated for the time I spend on HCMLP
matters. I’m not suggesting that this arrangement should change, but it feels from my perspective that the board’s
position is only working in one direction. In other words, if I understand the board’s position correctly, I can work on
both NexPoint and HCMLP matters, but the HCMLP legal employees may only work on HCMLP‐related matters. It has
also put a significant amount of additional work on my plate. I would like to understand two things. First, what is the
scope of my authority in these matters, and what is the proper protocol vis‐à‐vis you, DSI, and the board? I have tried to
take the conservative approach in keeping you all informed and asking for consent or approval where I thoughts it

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       Case 3:21-cv-00881-X Document
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                                                    01/09/24
                                                      50 of 831Page 50 of 200 PageID 28627
appropriate. I assume this is how you’d like to continue to handle things, but I would like confirmation of that. Second, I
have heard that you all were working to transfer a couple of the legal personnel (perhaps Thedford and Post) to HCMFA
so they could assist with the work load (particularly in the areas where I don’t have a significant amount of
experience). I’d like to know where that stands and when relief can be expected.

I’m available most of today and tomorrow to discuss.


D.C. S AU T E R




O: 972.628.4117 | C: 469.877.6440



From: James Seery <jpseeryjr@gmail.com>
Sent: Tuesday, September 15, 2020 7:01 AM
To: DC Sauter <DSauter@NexPointadvisors.com>
Cc: Gregory V. Demo <GDemo@pszjlaw.com>; Isaac Leventon <ILeventon@HighlandCapital.com>
Subject: Re: Acis Settlement

DC. We will discuss and revert to you. Neither Isaac nor anyone else at HCMLP is permitted to work on any issues
related to the settlement and release other than as directed by me.

Thanks

Sent from my iPad


           On Sep 14, 2020, at 7:08 PM, DC Sauter <DSauter@nexpointadvisors.com> wrote:


           Greg,

           I’ve been asked to review the attached release on behalf of HCMFA and the closed‐end funds. I’m
           concerned that the language below creates an ambiguity as to whether the closed‐end funds and
           HCMFA have released claims against the ACIS parties:

                1.          The release by Strand, which also serves as the general partner of HCMFA; and
                2.          The release by each “HCMLP Entity” of its “respective current advisors, trustees, directors,
                            officers, managers, members, partners, current or former employees, beneficiaries,
                            shareholders, agents, participants, subsidiaries, parents, affiliates, successors, designees,
                            and assigns.”

           We would like the final sentence in paragraph 1.a. of the Release to be revised to specifically identify
           HCMFA and the closed‐end funds as parties not covered by the release. Please let me know if you’d like
           to discuss in more detail.


           D.C. S AU T E R | G E N E R A L C O U N S E L , R E A L E S T A T E

           <image001.jpg>
           300 Crescent Court | Suite 700 | Dallas, Texas 75201
           O: 972.628.4117 | C: 469.877.6440 | F: 972.628.4147
           dsauter@nexpointadvisors.com | www.NexPointGroup.com

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                                                                            25Main
                                                                              of 31
Case 3:21-cv-00881-X Document
                            Document
                                176-40 Filed
                                          Page
                                             01/09/24
                                               51 of 831Page 51 of 200 PageID 28628



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  <Acis ‐ Release (EXECUTION VERSION).pdf>




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                                                                                 Desc
                                                                                    26
                                                                                    1 of
                                                                                       Main
                                                                                       of531
   Case 3:21-cv-00881-X DocumentDocument
                                     176-40 Filed
                                                Page 52 of 831Page 52Docket
                                                   01/09/24                 #0059 Date Filed: 1/12/2021
                                                                       of 200  PageID 28629




The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 11, 2021
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
                                                                  §
     In re:
                                                                  §   Chapter 11
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                  §   Case No. 19-34054-sgj11
                                                                  §
                                      Debtor.
                                                                  §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §
                                                                  §   Adversary Proceeding No.
                                      Plaintiff,
                                                                  §
                                                                  §   No. 20-03190-sgj
     vs.
                                                                  §
                                                                  §
     JAMES D. DONDERO,
                                                                  §
                                                                  §
                                      Defendant.

           ORDER GRANTING DEBTOR’S MOTION FOR A PRELIMINARY INJUNCTION
                             AGAINST JAMES DONDERO

              This matter having come before the Court on Plaintiff Highland Capital Management,

     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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                                                                          Page
                                                                            Desc
                                                                               27
                                                                               2 of
                                                                                 Main
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Case 3:21-cv-00881-X DocumentDocument
                                  176-40 Filed
                                             Page
                                                01/09/24
                                                  53 of 831Page 53 of 200 PageID 28630



  L.P.’s Emergency Motion for a Temporary Restraining Order and Preliminary Injunction

  against Mr. James Dondero [Adv. Pro. Docket No. 2] (the “Motion”), filed by Highland Capital

  Management, L.P., the debtor and debtor-in-possession (the “Debtor”) in the above-captioned

  chapter 11 case (the “Bankruptcy Case”), and the plaintiff in the above-captioned adversary

  proceeding (the “Adversary Proceeding”); and this Court having considered (a) the Motion, (b)

  Plaintiff Highland Capital Management, L.P.’s Verified Original Complaint for Injunctive Relief

  [Adv. Pro. Docket No. 1] (the “Complaint”), (c) the arguments and law cited in the Debtor’s

  Amended Memorandum of Law in Support of its Motion for a Temporary Restraining Order and

  Preliminary Injunction against Mr. James Dondero [Adv. Pro. Docket No. 3] (the

  “Memorandum of Law,” and together with the Motion and Complaint, the “Debtor’s Papers”),

  (d) James Dondero’s Response in Opposition to Debtor’s Motion for a Preliminary Injunction

  [Adv. Pro. Docket No. 52] (the “Opposition”) filed by James Dondero, (e) the testimonial and

  documentary evidence admitted into evidence during the hearing held on January 8, 2021 (the

  “Hearing”), including assessing the credibility of Mr. James Dondero, (f) the arguments made

  during the Hearing, and (g) all prior proceedings relating to the Motion, including the December

  10, 2020 hearing on the Debtor’s Motion for a Temporary Restraining Order and Preliminary

  Injunction against James Dondero [Adv. Pro. Docket No. 6] (the “TRO Hearing”); and this

  Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court

  having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

  having found that venue of this proceeding and the Motion in this District is proper pursuant to

  28 U.S.C. §§ 1408 and 1409; and this Court having found that injunctive relief is warranted

  under sections 105(a) and 362(a) of the Bankruptcy Code and that the relief requested in the

  Motion is in the best interests of the Debtor’s estate, its creditors, and other parties-in-interest;



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                                                                               28
                                                                               3 of
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                                                                                  of531
Case 3:21-cv-00881-X DocumentDocument
                                  176-40 Filed
                                             Page
                                                01/09/24
                                                  54 of 831Page 54 of 200 PageID 28631



  and this Court having found that the Debtor’s notice of the Motion and opportunity for a hearing

  on the Motion were appropriate and that no other notice need be provided; and this Court having

  determined that the legal and factual bases set forth in the Debtor’s Papers, and the evidence

  submitted in support thereof, establish good cause for the relief granted herein, and that (1) such

  relief is necessary to avoid immediate and irreparable harm to the Debtor’s estate and

  reorganization process; (2) the Debtor is likely to succeed on the merits of its underlying claim

  for injunctive relief; (3) the balance of the equities tip in the Debtor’s favor; and (4) such relief

  serves the public interest; and upon all of the proceedings had before this Court; and after due

  deliberation and sufficient cause appearing therefor and for the reasons set forth in the record on

  this Motion, it is HEREBY ORDERED THAT:

          1.       The Motion is GRANTED as set forth herein.

          2.       James Dondero is preliminarily enjoined and restrained from (a) communicating

  (whether orally, in writing, or otherwise), directly or indirectly, with any Board member unless

  Mr. Dondero’s counsel and counsel for the Debtor are included in any such communication; (b)

  making any express or implied threats of any nature against the Debtor or any of its directors,

  officers, employees, professionals, or agents, in whatever capacity they are acting; (c)

  communicating with any of the Debtor’s employees, except as it specifically relates to shared

  services currently provided to affiliates owned or controlled by Mr. Dondero; (d) interfering with

  or otherwise impeding, directly or indirectly, the Debtor’s business, including but not limited to

  the Debtor’s decisions concerning its operations, management, treatment of claims, disposition

  of assets owned, controlled or managed by the Debtor, and the pursuit of the Plan or any




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                                                                               4 of
                                                                                 Main
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Case 3:21-cv-00881-X DocumentDocument
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                                             Page
                                                01/09/24
                                                  55 of 831Page 55 of 200 PageID 28632



  alternative to the Plan; and (e) otherwise violating section 362(a) of the Bankruptcy Code

  (collectively, the “Prohibited Conduct”). 2

          3.       James Dondero is further preliminarily enjoined and restrained from causing,

  encouraging, or conspiring with (a) any entity owned or controlled by him, and/or (b) any person

  or entity acting with him or on his behalf, to, directly or indirectly, engage in any Prohibited

  Conduct.

          4.       James Dondero is further preliminarily enjoined and restrained from

  communicating (in person, telephonically, by e-mail, text message or otherwise) with Scott

  Ellington and/or Isaac Leventon, unless otherwise ordered by the Court.

          5.       James Dondero is further preliminarily enjoined and restrained from physically

  entering, or virtually entering through the Debtor’s computer, email, or information systems, the

  Debtor’s offices located at Crescent Court in Dallas, Texas, or any other offices or facilities

  owned or leased by the Debtor, regardless of any agreements, subleases, or otherwise, held by

  the Debtor’s affiliates or entities owned or controlled by Mr. Dondero, without the prior written

  permission of Debtor’s counsel made to Mr. Dondero’s counsel. If Mr. Dondero enters the

  Debtor’s office or other facilities or systems without such permission, such entrance will

  constitute trespass.

          6.       James Dondero is ordered to attend all future hearings in this Bankruptcy Case by

  Webex (or whatever other video platform is utilized by the Court), unless otherwise ordered by

  the Court.

          7.       This Order shall remain in effect until the date that any plan of reorganization or

  liquidation resolving the Debtor’s case becomes effective, unless otherwise ordered by the Court.

  2
    For the avoidance of doubt, this Order does not enjoin or restrain Mr. Dondero from (1) seeking judicial relief
  upon proper notice or from objecting to any motion filed in this Bankruptcy Case, or (2) communicating with the
  committee of unsecured creditors (the “UCC”) and its professionals regarding a pot plan.

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 Case 3:21-cv-00881-X Document
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                                             56 of 831Page 56 of 200 PageID 28633
                                                                                Page 1
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·2· · · · IN THE UNITED STATES BANKRUPTCY COURT
· · · · · ·FOR THE NORTHERN DISTRICT OF TEXAS
·3· · · · · · · · ·DALLAS DIVISION
· · ·-----------------------------
·4· ·IN RE:

·5· · · · · · · · · · · · · · · ·Chapter 11
· · ·HIGHLAND CAPITAL
·6· ·MANAGEMENT, L.P.,· · · · · ·CASE NO.
· · · · · · · · · · · · · · · · ·19-34054-SGI11
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· · · · · · · · Debtor.
·8· ·------------------------------
· · ·HIGHLAND CAPITAL MANAGEMENT, L.P.,
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· · · · · · · · Plaintiff,
10· ·vs.· · · · · · · · · · · · · · · Adversary
· · · · · · · · · · · · · · · · · · ·Proceeding No.
11· ·HIGHLAND CAPITAL MANAGEMENT· · · 21-03000-SGI
· · ·FUND ADVISORS, L.P.; NEXPOINT
12· ·ADVISORS, L.P.; HIGHLAND
· · ·INCOME FUND; NEXPOINT
13· ·STRATEGIC OPPORTUNITIES FUND;
· · ·NEXPOINT CAPITAL, INC.; and
14· ·CLO HOLDCO, LTD.,

15· · · · · · · Defendants.
· · ·-------------------------------
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17· · · · · · ·REMOTE VIDEOTAPED DEPOSITION OF

18· · · · · · · · · FRANK WATERHOUSE

19· · · · · · · · ·October 19, 2021

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24· ·Reported by:· Susan S. Klinger, RMR-CRR, CSR

25· ·Job No: 201195


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 Case 3:21-cv-00881-X Document
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                                             57 of 831Page 57 of 200 PageID 28634
                                                                                Page 2
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·4· · · · · · · · · · · October 19, 2021
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·9· · · · Remote Deposition of FRANK WATERHOUSE,
10· ·held before Susan S. Klinger, a Registered
11· ·Merit Reporter and Certified Realtime Reporter
12· ·of the State of Texas.
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 Case 3:21-cv-00881-X Document
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                                        Page01/09/24
                                             58 of 831Page 58 of 200 PageID 28635
                                                                                Page 3
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·A P P E A R A N C E S:
·3· ·(All appearances via Zoom.)
·4· ·Attorneys for the Reorganized Highland Capital
·5· ·Management:
·6· · · · John Morris, Esq.
·7· · · · Hayley Winograd, Esq.
·8· · · · PACHULSKI STANG ZIEHL & JONES
·9· · · · 780 Third Avenue
10· · · · New York, New York· 10017
11· ·Attorneys for the Witness:
12· · · · Debra Dandeneau, Esq.
13· · · · Michelle Hartmann, Esq.
14· · · · BAKER McKENZIE
15· · · · 1900 North Pearl Street
16· · · · Dallas, Texas· 75201
17· ·Attorneys for NexPoint Advisors, LP and
18· ·Highland Capital Management Fund Advisors,
19· ·L.P.:
20· · · · Davor Rukavina, Esq.
21· · · · An Nguyen, Esq.
22· · · · MUNSCH HARDT KOPF & HARDD
23· · · · 500 North Akard Street
24· · · · Dallas, Texas· 75201-6659
25


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 Case 3:21-cv-00881-X Document
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                                        Page01/09/24
                                             59 of 831Page 59 of 200 PageID 28636
                                                                                Page 4
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Attorneys for Jim Dondero, Nancy Dondero, HCRA,
·3· ·and HCMS:
·4· · · · Deborah Deitsch-Perez, Esq.
·5· · · · Michael Aigen, Esq.
·6· · · · STINSON
·7· · · · 3102 Oak Lawn Avenue
·8· · · · Dallas, Texas· 75219
·9
10· ·Attorneys for Dugaboy Investment Trust:
11· · · · Warren Horn, Esq.
12· · · · HELLER, DRAPER & HORN
13· · · · 650 Poydras Street
14· · · · New Orleans, Louisiana 70130
15
16· ·Attorneys for Marc Kirschner as the trustee for
17· ·the litigation SunTrust:
18· · · · Deborah Newman, Esq.
19· · · · QUINN EMANUEL URQUHART & SULLIVAN
20· · · · 51 Madison Avenue
21· · · · New York, New York· 10010
22
23· ·Also Present:
24· · · · Ms. La Asia Canty
25


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 Case 3:21-cv-00881-X Document
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                                        Page01/09/24
                                             60 of 831Page 60 of 200 PageID 28637
                                                                                Page 5
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · · · · · I N D E X
·3
·4· ·WITNESS· · · · · · · · · · · · · · · · · ·PAGE
·5· ·FRANK WATERHOUSE
·6· ·EXAMINATION BY MR. MORRIS· · · · · · · · · · 10
·7· ·EXAMINATION BY MR. RUKAVINA· · · · · · · · ·256
·8· ·EXAMINATION BY MS. DEITSCH-PEREZ· · · · · · 352
·9· ·EXAMINATION BY MR. MORRIS· · · · · · · · · ·377
10· ·EXAMINATION BY MR. RUKAVINA· · · · · · · · ·387
11· ·EXAMINATION BY MS. DEITSCH-PEREZ· · · · · · 393
12
13· · · · · · · · · E X H I B I T S
14· ·No.· · · · · · · · · · · · · · · · · · · ·Page
15· ·Exhibit 2· NPA et al Amended Complaint· · · 142
16· ·Exhibit 33 6/3/19 Management· · · · · · · · ·91
17· · · · · · · Representation
18· ·Exhibit 34 HCMLP Consolidated Financial· · · 94
19· · · · · · · Statements
20· ·Exhibit 35 HCMFA Incumbency Certificate· · ·151
21· ·Exhibit 36 Email string re 15(c)· · · · · · 170
22· ·Exhibit 39 HCMLP Operating Results 2/18· · ·226
23· ·Exhibit 40 Summary of Assets and· · · · · · 236
24· · · · · · · Liabilities
25· ·Exhibit 41 12/19 Monthly Operating Report· ·258


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0057
                                                                                         YVer1f
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 Case 3:21-cv-00881-X Document
                           Document
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                                        Page01/09/24
                                             61 of 831Page 61 of 200 PageID 28638
                                                                                Page 6
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Exhibit 45 HCMFA Consolidated Financial· · ·135
·3· · · · · · · Statements
·4· ·Exhibit 46 NexPoint 2019 Audited· · · · · · 218
·5· · · · · · · Financials
·6
·7· ·Exhibit A1 Emails 11/25· · · · · · · · · · ·328
·8· ·Exhibit A2 Emails 12/31· · · · · · · · · · ·338
·9· ·Exhibit A6 Emails 1/12· · · · · · · · · · · 341
10· ·Exhibit A7 Promissory Notes· · · · · · · · ·297
11· ·Exhibit A9 Email, 8/31· · · · · · · · · · · 307
12· ·Exhibit A10 Acknowledgment from HCMLP· · · ·302
13· ·Exhibit A11 HCMLP Schedule 71A· · · · · · · 309
14
15
16
17
18
19
20
21
22
23
24
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                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0058
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             62 of 831Page 62 of 200 PageID 28639
                                                                                Page 7
·1· · · · · ·WATERHOUSE - 10-19-21
·2· · · · · ·P R O C E E D I N G S
·3· · · · ·VIDEOGRAPHER:· Good morning,
·4· ·Counselors.· My name is Scott Hatch.· I'm a
·5· ·certified legal videographer in association
·6· ·with TSG Reporting, Inc.
·7· · · · ·Due to the severity of COVID-19 and
·8· ·following the practice of social
·9· ·distancing, I will not be in the same room
10· ·with the witness.· Instead, I will record
11· ·this videotaped deposition remotely.· The
12· ·reporter, Susan Klinger, also will not be
13· ·in the same room and will swear the witness
14· ·remotely.
15· · · · ·Do all parties stipulate to the
16· ·validity of this video recording and remote
17· ·swearing, and that it will be admissible in
18· ·the courtroom as if it had been taken
19· ·following Rule 30 of the Federal Rules of
20· ·Civil Procedures and the state's rules
21· ·where this case is pending?
22· · · · ·MR. HORN:· Yes.
23· · · · ·MS. DANDENEAU:· Yes.
24· · · · ·MR. MORRIS:· Yes.· John Morris.                 I
25· ·would just try to do a negative notice


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             63 of 831Page 63 of 200 PageID 28640
                                                                                Page 8
·1· · · · · ·WATERHOUSE - 10-19-21
·2· ·here, as we did yesterday.· If anybody has
·3· ·a problem with what was just stated, can
·4· ·you state your objection now?
·5· · · · ·Okay.· No response, so everybody
·6· ·accepts the stipulation and the instruction
·7· ·that was just given.
·8· · · · ·VIDEOGRAPHER:· Thank you.· This is
·9· ·the start of media labeled Number 1 of the
10· ·video recorded deposition of Frank
11· ·Waterhouse In Re: Highland Capital
12· ·Management, L.P., in the United States
13· ·Bankruptcy Court for the Northern District
14· ·of Texas, Dallas Division, Case Number
15· ·21-03000-SGI.
16· · · · ·This deposition is being held via
17· ·video conference with participants
18· ·appearing remotely due to COVID-19
19· ·restrictions on Tuesday, October 19th, 2021
20· ·at approximately 9:32 a.m.· My name is
21· ·Scott Hatch, legal video specialist with
22· ·TSG Reporting, Inc. headquartered at 228
23· ·East 45th Street, New York, New York.· The
24· ·court reporter is Susan Klinger in
25· ·association with TSG Reporting.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             64 of 831Page 64 of 200 PageID 28641
                                                                                Page 9
·1· · · · · ·WATERHOUSE - 10-19-21
·2· · · · ·Counsel, please introduce
·3· ·yourselves.
·4· · · · ·MR. MORRIS:· John Morris, Pachulski
·5· ·Stang Ziehl & Jones for the reorganized
·6· ·Highland Capital Management, L.P., the
·7· ·plaintiff in these actions.
·8· · · · ·MS. DANDENEAU:· Deborah Dandeneau
·9· ·from Baker McKenzie.· My partner, Michelle
10· ·Hartmann, is also in the room with me,
11· ·representing Frank Waterhouse individually.
12· · · · ·MS. DEITSCH-PEREZ:· Deborah
13· ·Deitsch-Perez from Stinson, LLP,
14· ·representing Jim Dondero, Nancy Dondero,
15· ·HCRA, and HCMS.
16· · · · ·MR. HORN:· Warren Horn with Heller,
17· ·Draper & Horn in New Orleans representing
18· ·Dugaboy Investment Trust.
19· · · · ·MR. RUKAVINA:· Davor Rukavina with
20· ·Munsch Hardt Kopf & Harr in Dallas
21· ·representing NexPoint Advisors, LP and
22· ·Highland Capital Management Fund Advisors,
23· ·L.P.
24· · · · ·MR. AIGEN:· Michael Aigen from
25· ·Stinson, and I represent the same parties


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             65 of 831Page 65 of 200 PageID 28642
                                                                               Page 10
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · as Deborah Deitsch-Perez.
·3· · · · · · · MS. NEWMAN:· This is Deborah Newman
·4· · · · from Quinn Emanuel.· We represent the
·5· · · · litigation -- Marc Kirschner as the trustee
·6· · · · for the litigation SunTrust.
·7· · · · · · · MR. MORRIS:· I think that is
·8· · · · everybody.
·9· · · · · · · VIDEOGRAPHER:· Thank you.· Will the
10· · · · court reporter please swear in the witness.
11· · · · · · · · · FRANK WATERHOUSE,
12· ·having been first duly sworn, testified as
13· ·follows:
14· · · · · · · · · · ·EXAMINATION
15· ·BY MR. MORRIS:
16· · · · Q.· · Please state your name for the
17· ·record.
18· · · · A.· · My name is Frank Waterhouse.
19· · · · Q.· · Good morning, Mr. Waterhouse.· I'm
20· ·John Morris, as you know, from Pachulski Stang
21· ·Ziehl & Jones.· You understand that my firm and
22· ·I represent Highland Capital Management, L.P.;
23· ·is that right?
24· · · · A.· · Yes.
25· · · · Q.· · Okay.· And do you understand that


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             66 of 831Page 66 of 200 PageID 28643
                                                                               Page 11
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·we're here today for your deposition in your
·3· ·individual capacity?
·4· · · · A.· · Yes.
·5· · · · Q.· · Did you review and -- did you
·6· ·receive and review a subpoena that Highland
·7· ·Capital Management, L.P., served upon you?
·8· · · · A.· · Yes.
·9· · · · Q.· · You have been deposed before; right?
10· · · · A.· · Yes.
11· · · · Q.· · How many times have you been
12· ·deposed?
13· · · · A.· · About three or four times.
14· · · · Q.· · Okay.· And I defended you in one
15· ·deposition; isn't that right?
16· · · · A.· · That is correct.
17· · · · Q.· · So the general ground rules for this
18· ·deposition are largely the same as the
19· ·depositions you have given before.· And that is
20· ·I will ask you a series of questions, and it is
21· ·important that you allow me to finish my
22· ·question before you begin your answer; is that
23· ·fair?
24· · · · A.· · Yes.
25· · · · Q.· · And it is important that I allow you


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0063
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             67 of 831Page 67 of 200 PageID 28644
                                                                               Page 12
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·to finish your answers before I begin a
·3· ·question, but if I fail to do that, will you
·4· ·let me know?
·5· · · · A.· · I can certainly do that.
·6· · · · Q.· · Okay.· Do you understand that this
·7· ·deposition is being videotaped?
·8· · · · A.· · Yes.
·9· · · · Q.· · You understand that I may seek to
10· ·use portions of the videotape in a court of
11· ·law?
12· · · · A.· · I did not know that, until you just
13· ·said that.
14· · · · Q.· · Okay.· And you are aware of that now
15· ·before the deposition begins substantively; is
16· ·that right?
17· · · · A.· · Yes.
18· · · · Q.· · So unlike I think the other
19· ·depositions that you have given, this one is
20· ·being given remotely.· So that presents some
21· ·unique challenges, at least as compared to a
22· ·deposition that is taken in-person.
23· · · · · · · From time to time we're going to put
24· ·documents up on the screen, Mr. Waterhouse.
25· ·And it is important that I give you the


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             68 of 831Page 68 of 200 PageID 28645
                                                                               Page 13
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·opportunity to review any portion of the
·3· ·document that you think you need in order to
·4· ·fully and completely answer the question.
·5· · · · · · · So I would ask you to let me know if
·6· ·there is a portion of a document that you need
·7· ·to see in order to fully and completely answer
·8· ·the question.· Can you do that for me?
·9· · · · A.· · Yes.
10· · · · · · · MS. DANDENEAU:· Mr. Morris, I would
11· · · · just note that we do have hard copies of
12· · · · the documents that you sent, so if you can
13· · · · just refer to the exhibit number as
14· · · · reflected in the documents that you sent,
15· · · · Mr. Waterhouse will be able to look at the
16· · · · hard copies of those documents.
17· · · · · · · MR. MORRIS:· I appreciate that,
18· · · · and -- and I will encourage him to do so.
19· · · · There will be other documents that we did
20· · · · not send to you that we'll be using today
21· · · · though.
22· · · · Q.· · Okay.· With that as background, if
23· ·there is anything that I ask you, sir, that you
24· ·don't understand, will you let me know?
25· · · · A.· · Yes.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             69 of 831Page 69 of 200 PageID 28646
                                                                               Page 14
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Are you currently employed?
·3· · · · A.· · Yes.
·4· · · · Q.· · By whom?
·5· · · · A.· · The Skyview Group.
·6· · · · Q.· · When did you become employed by the
·7· ·Skyview Group?
·8· · · · A.· · I believe March 1st of 2021.
·9· · · · Q.· · Do you have a title at Skyview?
10· · · · A.· · Yes.
11· · · · Q.· · What is your title?
12· · · · A.· · My title is chief financial officer.
13· · · · Q.· · Do you report to anybody in your
14· ·role as CFO?
15· · · · A.· · I don't, no.
16· · · · Q.· · No.· Is there a president or a CEO
17· ·of Skyview?
18· · · · A.· · Yes.
19· · · · Q.· · Who is that?
20· · · · A.· · That is Scott Ellington.
21· · · · Q.· · But you don't report to
22· ·Mr. Ellington; is that right?
23· · · · A.· · I don't think so.
24· · · · Q.· · Does Skyview Group --
25· · · · · · · MS. DANDENEAU:· Excuse me, we --


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             70 of 831Page 70 of 200 PageID 28647
                                                                               Page 15
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I -- I -- I might.· I just -- I
·3· ·don't recall.
·4· · · · Q.· · Okay.· Does Skyview Group provide
·5· ·any services to any entity directly or
·6· ·indirectly owned or controlled by Jim Dondero?
·7· · · · A.· · Yes.
·8· · · · Q.· · Can you name -- is that pursuant to
·9· ·written contracts?
10· · · · A.· · Yes.
11· · · · Q.· · And do you know how many contracts
12· ·exist?
13· · · · A.· · Approximately six or so.
14· · · · Q.· · And is the Skyview Group made up of
15· ·individuals who were formerly employees of
16· ·Highland Capital Management, L.P.?
17· · · · A.· · No.
18· · · · Q.· · Do you know how many -- how many --
19· ·how many employees does Skyview have?
20· · · · A.· · Approximately 35.
21· · · · Q.· · And can you tell me how many of
22· ·those 35 are former officers, directors, or
23· ·employees of Highland Capital Management, L.P.?
24· · · · A.· · I don't know the exact number.
25· · · · Q.· · Is it more than 20?


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             71 of 831Page 71 of 200 PageID 28648
                                                                               Page 16
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · Is it more than 30?
·4· · · · A.· · I don't know.
·5· · · · Q.· · Can you tell me what portion of
·6· ·Skyview -- Skyview's revenue is derived from
·7· ·entities that are directly or indirectly owned
·8· ·or controlled by Jim Dondero?
·9· · · · · · · MS. DANDENEAU:· Mr. Morris, I mean,
10· · · · you called Mr. Waterhouse here individually
11· · · · for purposes of his testimony in connection
12· · · · with the noticed litigation.· I have given
13· · · · you some leeway to ask him some background
14· · · · information about Skyview Group, but this
15· · · · is not a substitute for a deposition in
16· · · · connection with any other pending disputes
17· · · · that exist.· And -- and we agreed to accept
18· · · · the subpoena on the basis of he -- this is
19· · · · testimony that he is giving in connection
20· · · · with the noticed litigation.
21· · · · · · · I really think that you are now
22· · · · going a little bit far afield from the
23· · · · purpose of this deposition.
24· · · · · · · MR. MORRIS:· Okay.· It is -- I'm not
25· · · · intending to use these -- the answers to


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             72 of 831Page 72 of 200 PageID 28649
                                                                               Page 17
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · these questions for any purpose other than
·3· · · · this litigation.· I think you understand
·4· · · · fully why I'm asking the questions, and I
·5· · · · just have a couple more, if you will bear
·6· · · · with me.
·7· · · · · · · MS. DANDENEAU:· Okay.
·8· · · · · · · MS. DEITSCH-PEREZ:· Can we have an
·9· · · · agreement that an objection by one is an
10· · · · objection for any other party here?
11· · · · · · · MR. MORRIS:· Sure.· I would -- I
12· · · · would encourage that, sure.
13· · · · · · · MS. DEITSCH-PEREZ:· Thank you.
14· · · · · · · MR. MORRIS:· It can't be sustained
15· · · · or overruled more than one time, so...
16· · · · Q.· · Mr. Waterhouse, can you answer my
17· ·question, please.
18· · · · · · · MS. DANDENEAU:· Do you want to
19· · · · repeat it, Mr. Morris, for his benefit?
20· · · · · · · MR. MORRIS:· Sure.
21· · · · Q.· · Can you -- can you tell me the
22· ·approximate portion of Skyview's revenue that
23· ·is derived from entities that are directly or
24· ·indirectly owned or controlled by Mr. Dondero?
25· · · · A.· · I don't know the exact number.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             73 of 831Page 73 of 200 PageID 28650
                                                                               Page 18
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Is it more than 75 percent?
·3· · · · A.· · Yes.
·4· · · · Q.· · Is it more than 90 percent?
·5· · · · A.· · I don't know.
·6· · · · Q.· · Okay.· Can I refer to Highland
·7· ·Capital Management, L.P., as Highland?
·8· · · · A.· · Yes.
·9· · · · Q.· · All right.· And you previously
10· ·served as Highland's CFO; correct?
11· · · · A.· · Yes.
12· · · · Q.· · When did you join Highland?
13· · · · A.· · I don't recall the exact date.
14· · · · Q.· · Can you tell me what year?
15· · · · A.· · 2006.
16· · · · Q.· · When did you -- in what year did you
17· ·become Highland's CFO?
18· · · · A.· · I don't recall the exact date.
19· · · · Q.· · I'm not asking you for the exact
20· ·date.· I'm asking you if you recall the year in
21· ·which you were appointed CFO.
22· · · · A.· · I don't recall the exact year.
23· · · · Q.· · Can you tell me which years it is
24· ·possible that you were appointed to CFO of
25· ·Highland?


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             74 of 831Page 74 of 200 PageID 28651
                                                                               Page 19
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · 2011 or 2012.
·3· · · · Q.· · Did you serve as Highland's CFO on a
·4· ·continuous basis from in or around 2011 or 2012
·5· ·until early 2021?
·6· · · · A.· · Yes.
·7· · · · Q.· · During that entire time you reported
·8· ·directly to Jim Dondero; correct?
·9· · · · A.· · I -- I don't know.
10· · · · Q.· · Is there anybody else you reported
11· ·to -- withdrawn.
12· · · · · · · Did you report to Mr. Dondero for
13· ·some portion of the time that you served as
14· ·CFO?
15· · · · A.· · Yes.
16· · · · Q.· · Is there a portion of time that you
17· ·don't recall who you reported to?
18· · · · A.· · Yes.
19· · · · Q.· · What portion of time do you have in
20· ·your mind when you can't recall who you
21· ·reported to?
22· · · · A.· · From the 2011 to -- for
23· ·approximately a year or two.
24· · · · Q.· · Okay.· So is it fair to say that you
25· ·reported to Mr. Dondero in your capacity as CFO


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             75 of 831Page 75 of 200 PageID 28652
                                                                               Page 20
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·from at least 2014 until the time you left
·3· ·Highland?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · I don't want to speculate the exact
·6· ·or what year that changed or -- so I would like
·7· ·to stick with my testimony.
·8· · · · Q.· · Can you recall when you began
·9· ·reporting to Mr. Dondero?
10· · · · A.· · I don't recall.
11· · · · Q.· · Can you -- can you give me an
12· ·estimate of what year you think you might have
13· ·began reporting to Mr. Dondero?
14· · · · A.· · I will go back to my prior
15· ·testimony.
16· · · · Q.· · Okay.· There is no -- you have no
17· ·ability to tell me when you began reporting to
18· ·Mr. Dondero.
19· · · · · · · Do I have that right?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · I don't recall.
22· · · · Q.· · Okay.· Do you recall who you might
23· ·have reported to before you began reporting to
24· ·Mr. Dondero?
25· · · · A.· · Yes.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             76 of 831Page 76 of 200 PageID 28653
                                                                               Page 21
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Who might you have reported to in
·3· ·your capacity as CFO before you started
·4· ·reporting to Mr. Dondero?
·5· · · · A.· · That would have been Patrick Boyce.
·6· · · · Q.· · Are you aware that Highland filed
·7· ·for bankruptcy on October 19th, 2019?
·8· · · · A.· · Yes.
·9· · · · Q.· · And we refer to that as the petition
10· ·date?
11· · · · A.· · Yes.
12· · · · Q.· · Okay.· Do you hold any professional
13· ·licenses, sir?
14· · · · A.· · Yes.
15· · · · Q.· · Can you tell me what professional
16· ·licenses you hold?
17· · · · A.· · I'm a certified public accountant.
18· · · · Q.· · Okay.· Anything else?
19· · · · A.· · No.
20· · · · Q.· · Do you have any other professional
21· ·licenses or certificates?
22· · · · A.· · When you say "professional license,"
23· ·that is not education?
24· · · · Q.· · Tell me -- sure.· Anything other
25· ·than a driver's license.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0073
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             77 of 831Page 77 of 200 PageID 28654
                                                                               Page 22
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Do you have any other license or
·3· ·certificate or certification?
·4· · · · A.· · Are you asking, like, where I went
·5· ·to school and the --
·6· · · · Q.· · I am not.· I am not.· I didn't say
·7· ·education.· I didn't ask about degrees.
·8· · · · · · · Do you know what a license is?
·9· · · · A.· · Well, yeah, I mean, a license is
10· ·something you get after you receive a certain
11· ·level of proficiency.
12· · · · Q.· · Do you have any licenses or
13· ·certifications other than your CPA?
14· · · · · · · MS. DANDENEAU:· Objection, form.
15· · · · · · · I assume you mean professional
16· · · · licenses, Mr. Morris; correct?
17· · · · Q.· · Can you answer my question, sir?
18· · · · A.· · Mr. Morris, I'm thinking.                I
19· ·don't -- I don't think I have any others.
20· · · · Q.· · Are you familiar with an entity
21· ·called Highland Capital Management Fund
22· ·Advisors?
23· · · · A.· · Yes.
24· · · · Q.· · Were you ever -- can we refer to
25· ·that entity as HCMFA?


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             78 of 831Page 78 of 200 PageID 28655
                                                                               Page 23
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · Were you ever employed by HCMFA?
·4· · · · A.· · Not that I recall.
·5· · · · Q.· · Were you ever -- did you ever hold
·6· ·the title of an officer or director of HCMFA?
·7· · · · A.· · Yes.
·8· · · · Q.· · What title did you hold?
·9· · · · A.· · Treasurer.
10· · · · Q.· · When did you become the treasurer of
11· ·HCMFA?
12· · · · A.· · I don't recall.
13· · · · Q.· · Can you tell me the year?
14· · · · A.· · I don't -- I don't know the year.
15· · · · Q.· · Can you approximate the year in
16· ·which you became the treasurer of HCMFA?
17· · · · A.· · I don't know.
18· · · · Q.· · Can you tell me if it was before or
19· ·after 2016?
20· · · · A.· · I don't recall.
21· · · · Q.· · Are you still the -- do you know if
22· ·you're still the treasurer of HCMFA today?
23· · · · A.· · Today, I am the acting treasurer for
24· ·HCMFA.
25· · · · Q.· · Is there a distinction between


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             79 of 831Page 79 of 200 PageID 28656
                                                                               Page 24
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·treasurer and acting treasurer?
·3· · · · A.· · I said "acting treasurer" as I am an
·4· ·employee of Skyview, as you previously
·5· ·stated -- or asked.
·6· · · · Q.· · But you are the treasurer of HCMFA
·7· ·today; correct?
·8· · · · A.· · I am -- I am the acting treasurer
·9· ·for HCMFA.
10· · · · Q.· · How did you become the treasurer of
11· ·HCMFA?
12· · · · A.· · Are you asking how I became the
13· ·treasurer of HCMFA today?
14· · · · Q.· · How did you become appointed to
15· ·serve as the treasurer of HCMFA?
16· · · · A.· · Well, in -- in -- in what time
17· ·capacity?
18· · · · Q.· · The first time that you were
19· ·appointed.
20· · · · A.· · First time.· I believe I was asked
21· ·to serve as treasurer for HCMFA the first time.
22· · · · Q.· · By who?· Who asked you to do that?
23· · · · A.· · I don't recall.
24· · · · Q.· · Is there anything that would refresh
25· ·your recollection as to who appointed you as


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0076
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             80 of 831Page 80 of 200 PageID 28657
                                                                               Page 25
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·the treasurer of CF- -- HCMFA for the first
·3· ·time?
·4· · · · A.· · I don't -- I mean, there would be
·5· ·some documents, some legal documents.· I don't
·6· ·know where those are.
·7· · · · Q.· · How many times have you been
·8· ·appointed the treasurer of HCMFA?
·9· · · · A.· · I don't know.
10· · · · Q.· · Was it more than once?
11· · · · A.· · I don't know.
12· · · · Q.· · Can you tell me any period of time
13· ·since 2016 that you did not hold the title of
14· ·treasurer of HCMFA?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · I don't recall.
17· · · · Q.· · What are your duties and
18· ·responsibilities as the treasurer of HCMFA?
19· · · · A.· · My duties are to do the best job
20· ·that I can as the -- as an accountant and
21· ·finance guy.
22· · · · Q.· · What specific duties and
23· ·responsibilities do you have as the treasurer
24· ·of HCMFA?
25· · · · A.· · My duties are to do the best job


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0077
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             81 of 831Page 81 of 200 PageID 28658
                                                                               Page 26
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·that I can as the accounting and finance person
·3· ·for HCMFA.
·4· · · · Q.· · As the accounting and finance person
·5· ·for HCMFA, do you have any particular areas of
·6· ·responsibility?
·7· · · · A.· · Yeah, it is to manage the accounting
·8· ·and finance function for HCMFA.
·9· · · · Q.· · Would that include -- do you have
10· ·responsibility for overseeing HCMFA's annual
11· ·audit?
12· · · · A.· · Can I please elaborate on my prior
13· ·question?
14· · · · Q.· · Of course.· You -- you are giving
15· ·answers.· I'm asking questions.
16· · · · A.· · Okay.· Yes, so the -- it -- like I
17· ·said, it is to manage the accounting finance
18· ·aspect, but I am, as we discussed, the
19· ·treasurer.· That is -- being treasurer is what
20· ·gives me that -- that management function.
21· · · · Q.· · Does anybody report to you in your
22· ·capacity as treasurer of HCMFA?
23· · · · A.· · I don't believe so.
24· · · · Q.· · Does HCMFA have a chief financial
25· ·officer?


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0078
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             82 of 831Page 82 of 200 PageID 28659
                                                                               Page 27
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't -- I don't know.
·3· · · · Q.· · You don't know?
·4· · · · · · · You're the treasurer of HCMFA but
·5· ·you don't know if HCMFA has a chief financial
·6· ·officer.
·7· · · · · · · Do I have that right?
·8· · · · A.· · That's right.
·9· · · · Q.· · Okay.· Have you heard of a company
10· ·called NexPoint Advisors?
11· · · · A.· · Yes.
12· · · · Q.· · We will refer to that as NexPoint.
13· ·Okay?
14· · · · A.· · Okay.
15· · · · Q.· · Were you ever employed by NexPoint?
16· · · · A.· · I don't recall.
17· · · · Q.· · Did you ever hold any title with
18· ·respect to the entity known as NexPoint?
19· · · · A.· · Yes.
20· · · · Q.· · What titles have you held in
21· ·relation to NexPoint?
22· · · · A.· · Treasurer.· I think it was only
23· ·treasurer.
24· · · · Q.· · Can you tell me the approximate year
25· ·you became the treasurer of NexPoint?


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0079
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             83 of 831Page 83 of 200 PageID 28660
                                                                               Page 28
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't know.
·3· · · · Q.· · Are you still the treasurer of
·4· ·NexPoint today?
·5· · · · A.· · I am the acting treasurer for
·6· ·NexPoint.
·7· · · · Q.· · When did your title change from
·8· ·treasurer to acting treasurer?
·9· · · · A.· · I don't know.
10· · · · Q.· · Did your duties and responsibilities
11· ·change at all when your title was changed from
12· ·treasurer to acting treasurer?
13· · · · A.· · I don't -- I don't believe so.
14· · · · Q.· · Why did --
15· · · · A.· · I still manage the finance and
16· ·accounting function for NexPoint.
17· · · · Q.· · Why did your title change from
18· ·treasurer to acting treasurer?
19· · · · A.· · I don't -- I'm using the term
20· ·"acting treasurer" as I'm a Skyview employee.
21· ·I don't -- I don't know -- again, I am a -- as
22· ·I am the Skyview employee.
23· · · · Q.· · Okay.
24· · · · A.· · And we -- we provide officer
25· ·services.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0080
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             84 of 831Page 84 of 200 PageID 28661
                                                                               Page 29
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And you serve as an officer of
·3· ·HCMFA; correct?
·4· · · · A.· · I think we went over that with my
·5· ·testimony.· Yes, I'm the acting treasurer for
·6· ·HCMFA.
·7· · · · Q.· · And you are an officer of NexPoint;
·8· ·correct?
·9· · · · A.· · I think -- I am the acting treasurer
10· ·for NexPoint Advisors.
11· · · · Q.· · And -- and who appointed you acting
12· ·treasurer of NexPoint Advisors?
13· · · · A.· · I don't recall specifically.
14· · · · Q.· · Do you have any recollection of who
15· ·might have appointed you the treasurer of
16· ·NexPoint?
17· · · · A.· · I mean, it -- it -- I don't recall
18· ·exactly who it was.
19· · · · Q.· · Who were the possibilities?
20· · · · · · · MS. DEITSCH-PEREZ:· Object to the
21· · · · form.
22· · · · Q.· · You can answer.
23· · · · A.· · Someone in the legal group for
24· ·NexPoint.· The other officers as well.
25· · · · Q.· · Have you heard of a company called


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0081
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             85 of 831Page 85 of 200 PageID 28662
                                                                               Page 30
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Highland Capital Management Services, Inc.?
·3· · · · A.· · Yes.
·4· · · · Q.· · We will refer to that as HCMS.
·5· ·Okay?
·6· · · · A.· · HCMS.· Okay.
·7· · · · Q.· · Were you ever employed by HCMS?
·8· · · · A.· · No.
·9· · · · Q.· · Have you ever held any titles in
10· ·relation to HCMF -- I apologize -- HCMS?
11· · · · A.· · Yes.
12· · · · Q.· · What titles have you held in
13· ·relation to HCMS?
14· · · · A.· · Treasurer and acting treasurer.
15· · · · Q.· · When did you first become treasurer
16· ·or acting treasurer of HCMS?
17· · · · A.· · I don't recall the exact dates.
18· · · · Q.· · Can you recall -- can you
19· ·approximate the year that you became the
20· ·treasurer of HCMS?
21· · · · A.· · I don't -- I don't know.
22· · · · Q.· · Are you still the treasurer of HCMS
23· ·today?
24· · · · A.· · I am the acting treasurer for HCMS.
25· · · · Q.· · And are your duties and


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0082
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             86 of 831Page 86 of 200 PageID 28663
                                                                               Page 31
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·responsibilities as the acting treasurer for
·3· ·HCMS and the acting treasurer for NexPoint the
·4· ·same as your duties and responsibilities in
·5· ·your role as the acting treasurer of HCMFA?
·6· · · · A.· · More or less.
·7· · · · Q.· · Have you ever heard of a company
·8· ·called HCRE Partners, LLC?
·9· · · · A.· · Yes.
10· · · · Q.· · And do you understand that that
11· ·entity is now known today as NexPoint Real
12· ·Estate Partners?
13· · · · A.· · I did not know that.
14· · · · Q.· · All right.· Can we refer to HCRE
15· ·Partners as HCRE?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · · · · Did you mean NexPoint Real Estate
18· · · · Partners, Mr. Morris?
19· · · · · · · MR. MORRIS:· No.
20· · · · · · · MS. DANDENEAU:· Oh.
21· · · · · · · MR. MORRIS:· He said he wasn't
22· · · · familiar that it was succeeded by that
23· · · · entity.· So --
24· · · · · · · MS. DANDENEAU:· Okay.
25· · · · · · · MR. MORRIS:· -- let's go with what


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0083
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             87 of 831Page 87 of 200 PageID 28664
                                                                               Page 32
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · the witness knows.
·3· · · · Q.· · You're familiar with an entity
·4· ·called HCRE Partners, LLC; correct?
·5· · · · A.· · Yes.
·6· · · · Q.· · Okay.· So that is the entity that we
·7· ·will refer to as HCRE.· If you're aware of any
·8· ·successor, that is great.· If not, let's just
·9· ·define it as such.
10· · · · · · · Have you ever been employed by HCRE
11· ·or any entity that you know to have succeeded
12· ·HCRE?
13· · · · A.· · No.
14· · · · Q.· · Did you ever serve as an officer or
15· ·director of HCRE or any successor?
16· · · · A.· · Not that I recall.
17· · · · Q.· · Okay.· Can we refer to NexPoint and
18· ·HCMFA as the advisors?
19· · · · A.· · Yes.
20· · · · Q.· · In general, the advisors provided
21· ·investment advisory services to certain retail
22· ·funds; correct?
23· · · · A.· · Yes.
24· · · · Q.· · And we will refer to the retail
25· ·funds that are served by the advisors


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0084
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             88 of 831Page 88 of 200 PageID 28665
                                                                               Page 33
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·collectively as the retail funds; is that okay?
·3· · · · A.· · Okay.
·4· · · · Q.· · Each of the retail funds is governed
·5· ·by a board; correct?
·6· · · · A.· · Yes.
·7· · · · Q.· · And do you know the people who serve
·8· ·on the boards of the retail funds?
·9· · · · · · · MS. DANDENEAU:· Objection to form.
10· · · · A.· · I don't know all of them.
11· · · · Q.· · Do you know whether the same people
12· ·serve on the board of each of the retail funds
13· ·as we've defined that term?
14· · · · A.· · Which -- so when you say "retail
15· ·funds" -- again, I want to be -- what retail
16· ·funds are you referring to, because there are
17· ·-- there are several distinctions?
18· · · · · · · What retail funds are you using when
19· ·you refer to them?
20· · · · Q.· · That is why -- that is why I tried
21· ·to define the terms.· So let me do it again.
22· · · · · · · Retail funds for the purposes of
23· ·this deposition means any retail fund to which
24· ·either of the advisors provides advisory
25· ·services.· Okay?


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0085
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             89 of 831Page 89 of 200 PageID 28666
                                                                               Page 34
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Okay.
·3· · · · Q.· · Okay.· So do you know whether the
·4· ·same people serve on the board of each of the
·5· ·retail funds?
·6· · · · A.· · I don't know.
·7· · · · Q.· · Were you ever employed by any of the
·8· ·retail funds?
·9· · · · A.· · No.
10· · · · Q.· · No?
11· · · · A.· · No.
12· · · · Q.· · Okay.· Do you have any title with
13· ·respect to any of the retail funds?
14· · · · A.· · Yes.
15· · · · Q.· · What titles do you hold --
16· ·withdrawn.
17· · · · · · · Do you have the same titles with
18· ·respect to all of the retail funds or do
19· ·they -- or just something else?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · Q.· · Withdrawn.
22· · · · · · · Do you have the same title with
23· ·respect to each of the retail funds?
24· · · · A.· · No.
25· · · · Q.· · Tell me which title you have with


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0086
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             90 of 831Page 90 of 200 PageID 28667
                                                                               Page 35
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·respect to each retail fund.
·3· · · · · · · Actually, let's do it a different
·4· ·way.· I withdraw the question.
·5· · · · · · · Can you give me one title you have
·6· ·in relation to any retail fund?
·7· · · · A.· · Yes.
·8· · · · Q.· · What title -- what title can you
·9· ·give me?
10· · · · A.· · Principal executive officer.
11· · · · Q.· · Do you serve as principal executive
12· ·officer for each of the retail funds?
13· · · · A.· · No.
14· · · · Q.· · Can you identify for me the retail
15· ·funds in which you serve as the principal
16· ·executive officer?
17· · · · A.· · Yes.· Highland Funds 1, Highland
18· ·Funds 2, Highland Income Fund, Highland Global
19· ·Allocation Fund.
20· · · · Q.· · I'm sorry, you said "Global
21· ·Allocation Fund"?
22· · · · A.· · Yes.
23· · · · · · · VIDEOGRAPHER:· Excuse me,
24· · · · Mr. Morris.· This is the videographer.· I'm
25· · · · concerned about the lighting in the


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0087
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             91 of 831Page 91 of 200 PageID 28668
                                                                               Page 36
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · witness' camera.
·3· · · · · · · Do you want to go off the record and
·4· · · · make some adjustments?
·5· · · · · · · MR. MORRIS:· Sure, but just for this
·6· · · · purpose.· I don't want to take a break.· We
·7· · · · just started.
·8· · · · · · · MS. DANDENEAU:· Yeah, that is fine.
·9· · · · That is fine.· We're going to put you on
10· · · · mute.
11· · · · · · · MR. MORRIS:· All right.
12· · · · · · · MS. DANDENEAU:· I'm going to try to
13· · · · open up some of the shades.
14· · · · · · · VIDEOGRAPHER:· We're going off the
15· · · · record at 10:08 a.m.
16· · · · (Recess taken 10:08 a.m. to 10:11 a.m.)
17· · · · · · · VIDEOGRAPHER:· We are back on the
18· · · · record at 10:11 a.m.
19· · · · Q.· · Mr. Waterhouse, when did you become
20· ·the principal executive officer of the four
21· ·retail funds that you just identified?
22· · · · A.· · I don't recall.
23· · · · Q.· · Do you recall the approximate year
24· ·that you became the principal executive officer
25· ·of the four funds?


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0088
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             92 of 831Page 92 of 200 PageID 28669
                                                                               Page 37
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · 2021.
·3· · · · Q.· · Did you ever hold any title with
·4· ·respect to any of the four funds you have just
·5· ·identified other than principal executive
·6· ·officer?
·7· · · · A.· · I don't recall.
·8· · · · Q.· · Is it possible that you held a
·9· ·position or a title with the four funds you
10· ·just identified prior to 2021?
11· · · · A.· · Yes.
12· · · · Q.· · But you don't recall if you did or
13· ·not; do I have that right?
14· · · · A.· · No.· You -- I thought you asked, did
15· ·I hold other titles.
16· · · · Q.· · Did you hold any title at the four
17· ·retail funds for which you now serve as
18· ·principal executive officer at any time prior
19· ·to 2021?
20· · · · A.· · Yes.
21· · · · Q.· · What titles did you hold?
22· · · · A.· · I don't recall all the titles.
23· · · · Q.· · Do you recall any of the titles?
24· · · · A.· · Yes.
25· · · · Q.· · What titles do you recall holding at


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0089
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             93 of 831Page 93 of 200 PageID 28670
                                                                               Page 38
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·those four retail funds before 2021?
·3· · · · A.· · Principal executive officer.
·4· · · · Q.· · Were you the principal executive
·5· ·officer of the four retail funds that you have
·6· ·identified?
·7· · · · A.· · Sorry, could you repeat the
·8· ·question?
·9· · · · Q.· · Were you the principal executive
10· ·officer for each of the four retail funds that
11· ·you have identified?
12· · · · A.· · Yes.
13· · · · Q.· · When did you become the principal
14· ·executive -- withdrawn.
15· · · · · · · Can you give me the approximate year
16· ·that you became the principal executive officer
17· ·for each of the four retail funds you've
18· ·identified?
19· · · · A.· · I don't recall.
20· · · · Q.· · What are your duties and
21· ·responsibilities as the principal executive
22· ·officer of these four retail funds?
23· · · · A.· · It is to manage the finance and
24· ·accounting positions.
25· · · · Q.· · So at the same time you serve as the


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             94 of 831Page 94 of 200 PageID 28671
                                                                                Page 39
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·treasurer of the advisors, you also serve as
·3· ·the principal executive officer of these four
·4· ·retail funds; correct?
·5· · · · A.· · Yes.
·6· · · · Q.· · Did you ever hold any title with
·7· ·respect to any other retail fund?
·8· · · · A.· · Not that I recall.
·9· · · · Q.· · During the period that you served as
10· ·Highland's CFO, from time to time Highland
11· ·loaned money to certain of its officers and
12· ·employees; correct?
13· · · · A.· · Yes.
14· · · · Q.· · During the period that you served as
15· ·Highland's CFO, from time to time Highland
16· ·loaned money to certain --
17· · · · A.· · Let me -- let me retract that,
18· ·sorry, that -- you asked during the time I was
19· ·CFO, Highland loaned moneys to employees.                   I
20· ·don't -- I don't recall that during my tenure
21· ·of CFO.
22· · · · Q.· · You have no recollection during the
23· ·time that you were the CFO of Highland of
24· ·Highland ever loaning any money to any officer
25· ·or director of Highland?


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             95 of 831Page 95 of 200 PageID 28672
                                                                               Page 40
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't recall during my tenure of
·3· ·Highland or my -- as CFO of Highland -- yeah,
·4· ·if there are any loans as CFO of Highland.
·5· · · · Q.· · I'm just talking about officers and
·6· ·employees right now.· You have no recollection
·7· ·of Highland ever making a loan to any of its
·8· ·officers or employees during the time that you
·9· ·served as CFO.· Do I have that right?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · So I thought you were saying
12· ·officers and employees as CFO, right, so there
13· ·were -- I mean, okay, yes.
14· · · · Q.· · I would ask you to listen carefully
15· ·to my question.· If I -- if I'm not clear, let
16· ·me know, but I'm really trying to be as clear
17· ·as I can.
18· · · · A.· · I'm listening as carefully as I can,
19· ·and you are asking very specific questions in a
20· ·timeline.· And I'm trying to answer your
21· ·questions as specifically as I can, and I
22· ·apologize if -- if I'm going back.· I am -- you
23· ·are asking very specific questions.· Thank you.
24· · · · Q.· · During the period that you served as
25· ·Highland's CFO, from time to time Highland


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0092
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             96 of 831Page 96 of 200 PageID 28673
                                                                               Page 41
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·loaned money to certain corporate affiliates;
·3· ·correct?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · What are corporate affiliates?
·6· · · · Q.· · How about the ones that are in
·7· ·Highland's audited financial statements under
·8· ·the section entitled Loans to Affiliates.· Why
·9· ·don't we start with those.· Do you have any
10· ·understanding of what the phrase "affiliates"
11· ·means?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · I understand what affiliates are,
14· ·yet affiliates can have different meanings in
15· ·different contexts, so...
16· · · · Q.· · Why don't you -- why don't you tell
17· ·me what your understanding of the term
18· ·"affiliate" is in relation to Highland Capital
19· ·Management, L.P.
20· · · · A.· · Is that a -- it depends on the
21· ·context.
22· · · · Q.· · How about the context of making
23· ·loans?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I didn't make the determination of


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0093
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             97 of 831Page 97 of 200 PageID 28674
                                                                               Page 42
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·who an affiliate was or is at the time those --
·3· ·I didn't -- that wasn't my job to make a
·4· ·determination of who an affiliate is.
·5· · · · Q.· · All right.· So as the CFO of
·6· ·Highland, do you have any ability right now to
·7· ·tell me which companies that were directly or
·8· ·indirectly owned and/or controlled by
·9· ·Mr. Dondero in whole or in part received loans
10· ·from Highland Capital Management, L.P.?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
13· · · · A.· · Yes.
14· · · · Q.· · Okay.· Identify every entity that
15· ·you can think of that was directly or
16· ·indirectly owned and/or controlled by
17· ·Mr. Dondero in whole or in part that received a
18· ·loan from Highland Capital Management, L.P.
19· · · · · · · MR. RUKAVINA:· Objection, legal
20· · · · conclusion.
21· · · · A.· · NexPoint Advisors, Highland Capital
22· ·Management Fund Advisors, HCM Services,
23· ·Dugaboy.· Sorry, I don't think -- Dugaboy
24· ·doesn't fit that definition.· You said owned
25· ·and controlled.· I don't think that that


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0094
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             98 of 831Page 98 of 200 PageID 28675
                                                                               Page 43
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·definition --
·3· · · · Q.· · I said owned and/or controlled.
·4· · · · A.· · I don't -- again, I'm not -- I'm not
·5· ·the legal expert.· I don't think it controls --
·6· ·he controls Dugaboy, so again, I'm not the
·7· ·legal person.
·8· · · · Q.· · I'm not asking you for a legal
·9· ·conclusion, sir.· I'm asking you for your
10· ·knowledge, okay, as the CFO -- the former CFO
11· ·of Highland Capital Management, other than
12· ·NexPoint, HCMFA, and HCMF -- HCMS, can you
13· ·think of any other entities that were owned
14· ·and/or controlled directly or indirectly in
15· ·whole or in part by Jim Dondero who received a
16· ·loan from Highland Capital Management, L.P.?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · A.· · HCRE.
19· · · · Q.· · Any others?
20· · · · A.· · That is -- that is all I can think
21· ·of.
22· · · · Q.· · And you're aware that from time to
23· ·time while you were the CFO, Highland loaned
24· ·money to Jim Dondero; correct?
25· · · · A.· · Yes.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0095
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                        Page01/09/24
                                             99 of 831Page 99 of 200 PageID 28676
                                                                               Page 44
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Can we refer to the four
·3· ·entities that you just named and Mr. Dondero as
·4· ·the affiliates?
·5· · · · A.· · So that would be Jim Dondero,
·6· ·NexPoint Advisors, Highland Capital Management
·7· ·Fund Advisors, and HCRE.
·8· · · · Q.· · And HCMS?
·9· · · · A.· · And HCMS, okay.
10· · · · Q.· · And can we refer to the loans that
11· ·were given to each of those affiliates as the
12· ·affiliate loans?
13· · · · A.· · Yes.
14· · · · Q.· · And is it fair to say that each of
15· ·the affiliates were the borrowers under the
16· ·affiliate loans as we're defining the term?
17· · · · · · · MR. RUKAVINA:· Objection, legal
18· · · · conclusion.
19· · · · A.· · The borrowers are whoever were on
20· ·the notes.· I don't -- I don't know.· I'm not
21· ·the legal person.
22· · · · Q.· · But you --
23· · · · A.· · I don't know.
24· · · · Q.· · You do know, as Highland's former
25· ·CFO, that each of the affiliates that you have


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0096
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             100 of 831
                                                      Page 100 of 200 PageID 28677
                                                                                Page 45
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·identified tendered notes to Highland; correct?
·3· · · · · · · MR. RUKAVINA:· Hey, John, will you
·4· · · · just give me a running objection to legal
·5· · · · conclusion to HCM --
·6· · · · · · · MR. MORRIS:· No.· No, if you want to
·7· · · · object --
·8· · · · · · · MR. RUKAVINA:· I will object every
·9· · · · time.· Object to legal conclusion.
10· · · · · · · MR. MORRIS:· That is fine.
11· · · · A.· · Sorry, can you repeat the question?
12· · · · Q.· · Are you aware that each of the --
13· ·that each of the affiliates, as we have defined
14· ·the term, gave to Highland a promissory note in
15· ·exchange for the loans?
16· · · · · · · MR. RUKAVINA:· Objection to the
17· · · · extent that calls for a legal conclusion.
18· · · · A.· · I don't.
19· · · · Q.· · No, you don't know that?
20· · · · A.· · No, they didn't -- you said they
21· ·exchanged a promissory note for a loan.                     I
22· ·don't -- I don't understand that question, so I
23· ·said no.
24· · · · Q.· · At the time of the bankruptcy
25· ·filing, did Highland have in its possession


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             101 of 831
                                                      Page 101 of 200 PageID 28678
                                                                               Page 46
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·promissory notes that were signed by each of
·3· ·the affiliates?
·4· · · · A.· · Yes.
·5· · · · Q.· · To the best of your knowledge,
·6· ·during the time that you served as Highland's
·7· ·CFO, did Highland disclose to its outside
·8· ·auditors all of the loans that were made to
·9· ·affiliates?
10· · · · · · · MR. RUKAVINA:· Objection, that calls
11· · · · for a legal conclusion.
12· · · · · · · MS. DEITSCH-PEREZ:· I also couldn't
13· · · · hear you, John, because there was some
14· · · · garbling on -- on the -- on the call.
15· · · · · · · MR. MORRIS:· Folks, I've got to tell
16· · · · you this is not going well, and I'm
17· · · · reserving my right --
18· · · · · · · MS. DANDENEAU:· John, it was just
19· · · · the end of that question.· It was just the
20· · · · end of that question.· I couldn't hear it
21· · · · either.· Sorry, if you could repeat it,
22· · · · please.
23· · · · · · · MR. MORRIS:· That is less than an
24· · · · hour into this, but folks are trying to run
25· · · · out the clock, and so I'm just going to


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0098
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             102 of 831
                                                      Page 102 of 200 PageID 28679
                                                                                Page 47
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · state that now.
·3· · · · · · · MS. DANDENEAU:· You know, and,
·4· · · · Mr. Morris, I really object to that.                   I
·5· · · · mean --
·6· · · · · · · MR. MORRIS:· Okay.
·7· · · · · · · MS. DANDENEAU:· -- Mr. Waterhouse
·8· · · · just told you he's trying to listen to your
·9· · · · questions and answer them carefully, and
10· · · · you have no basis for saying that.
11· · · · · · · MR. MORRIS:· Okay.
12· · · · · · · MS. DANDENEAU:· This does not --
13· · · · this is not an experienced witness, so he's
14· · · · trying to do the best he can.
15· · · · Q.· · Mr. Waterhouse, during the time that
16· ·you served as Highland's CFO, did Highland
17· ·disclose to its outside auditors all of the
18· ·loans that it made to each of the affiliates
19· ·that you have identified?
20· · · · · · · MR. RUKAVINA:· Objection, legal
21· · · · conclusion.
22· · · · A.· · Yes.
23· · · · Q.· · To the best of your knowledge, while
24· ·you were Highland's CFO, were all of the
25· ·affiliate loans described in Highland's audited


                     TSG Reporting - Worldwide· · 877-702-9580       HCMFA APP 0099
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             103 of 831
                                                      Page 103 of 200 PageID 28680
                                                                               Page 48
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·financial statements?
·3· · · · · · · MR. RUKAVINA:· Objection, legal
·4· · · · conclusion.
·5· · · · A.· · When an audit was performed, any
·6· ·loans that were made by Highland to the
·7· ·affiliates were disclosed to auditors.
·8· · · · Q.· · Are you aware of any loan that was
·9· ·made to any affiliate that was not disclosed to
10· ·the auditors?
11· · · · A.· · I'm not aware.
12· · · · Q.· · To the best of your knowledge, did
13· ·each of the affiliates who were --
14· ·(inaudible) -- loaned from Highland execute a
15· ·promissory note in connection with that loan?
16· · · · · · · MR. RUKAVINA:· Objection, legal
17· · · · conclusion.
18· · · · A.· · Sorry, you -- halfway through the
19· ·question it got muffled.
20· · · · · · · Can you repeat that again?
21· · · · Q.· · To the best of your knowledge, did
22· ·every affiliate execute a promissory note in
23· ·connection with each loan that it obtained from
24· ·Highland?
25· · · · · · · MR. RUKAVINA:· Objection, legal


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0100
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             104 of 831
                                                      Page 104 of 200 PageID 28681
                                                                               Page 49
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · conclusion.
·3· · · · A.· · Yes.
·4· · · · Q.· · You are not aware of any loan that
·5· ·any affiliate ever obtained from Highland where
·6· ·the affiliate did not give a promissory note in
·7· ·return; is that fair?
·8· · · · A.· · Yes, I'm not aware.
·9· · · · Q.· · And to the best of your knowledge,
10· ·did Highland loan to each affiliate an amount
11· ·of money equal to the principal amount of each
12· ·promissory note?
13· · · · · · · MR. RUKAVINA:· Objection, legal
14· · · · conclusion.
15· · · · A.· · Yes.
16· · · · Q.· · During the time that you served as
17· ·CFO, did Highland ever loan money to
18· ·Mark Okada?
19· · · · A.· · I -- I don't recall.
20· · · · Q.· · Did you ever see any promissory
21· ·notes executed by Mark Okada?
22· · · · A.· · I don't recall.
23· · · · Q.· · Do you know if Highland ever forgave
24· ·any loan that it ever made to Mr. Okada?
25· · · · A.· · I don't recall.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0101
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             105 of 831
                                                      Page 105 of 200 PageID 28682
                                                                               Page 50
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Do you recall if Mr. Okada paid back
·3· ·all principal and interest due and owing under
·4· ·any loan he obtained from Highland?
·5· · · · · · · MS. DEITSCH-PEREZ:· Objection to
·6· · · · form.
·7· · · · · · · MS. DANDENEAU:· Objection to form.
·8· · · · A.· · I don't recall.
·9· · · · Q.· · Do you recall whether -- during your
10· ·time as CFO, whether Highland ever loaned money
11· ·to Jim Dondero?
12· · · · A.· · Yes.
13· · · · Q.· · To the best of your knowledge, did
14· ·Mr. Dondero sign and deliver to Highland a
15· ·promissory note in connection with each loan
16· ·that he obtained from Highland?
17· · · · A.· · If you are referring to the
18· ·promissory notes that, you know, part of
19· ·Highland's records, yes.
20· · · · Q.· · Okay.· You're not aware of any loan
21· ·that Mr. Dondero took from Highland that wasn't
22· ·backed up by -- by a promissory note with a
23· ·face -- with a principal amount equal to the
24· ·amount of the loan; correct?
25· · · · A.· · Am I aware that Jim Dondero took a


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0102
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             106 of 831
                                                      Page 106 of 200 PageID 28683
                                                                               Page 51
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·loan?
·3· · · · Q.· · Without giving a -- let me ask a
·4· ·better question.· I'm sorry, Mr. Waterhouse.
·5· · · · · · · Are you aware of any loan that
·6· ·Mr. Dondero obtained from Highland where he
·7· ·didn't give a promissory note in return?
·8· · · · A.· · I'm not aware.
·9· · · · Q.· · During the time that you served as
10· ·Highland's CFO, did Highland ever forgive any
11· ·loans, in whole or in part, that it made to
12· ·Mr. Dondero?
13· · · · A.· · Not that I'm aware.
14· · · · Q.· · At the time that you served as
15· ·Highland's CFO, did Highland ever forgive any
16· ·loan, in whole or in part, that it made to any
17· ·affiliate as we've defined the term today?
18· · · · A.· · Not that I'm aware.
19· · · · Q.· · During the time that you served as
20· ·Highland's CFO, did Highland ever forgive, in
21· ·whole or in part, any loan that it ever made to
22· ·any officer or employee?
23· · · · A.· · Highland forgave loans to officers
24· ·and employees.· It may not have been at the
25· ·time when my title was CFO.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0103
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             107 of 831
                                                      Page 107 of 200 PageID 28684
                                                                               Page 52
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· And so I appreciate the
·3· ·distinction.
·4· · · · · · · Is it fair to say that, to the best
·5· ·of your knowledge, Highland did not forgive a
·6· ·loan that it made to an officer or employee
·7· ·after 2013?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · A.· · I don't recall.
10· · · · Q.· · To the best of your knowledge, did
11· ·Highland disclose to its auditors every
12· ·instance where it forgave, in whole or in part,
13· ·a loan that it had made to one of its officers
14· ·or employees?
15· · · · A.· · No.
16· · · · Q.· · Can you think of -- can you -- can
17· ·you identify any loan to an officer or employee
18· ·that was forgiven by Highland, in whole or in
19· ·part, that was not disclosed to Highland's
20· ·outside auditors?
21· · · · A.· · Look, I don't recall all of the
22· ·loans and the loan forgiveness.· I just know as
23· ·part of the audit process there is a
24· ·materiality concept.
25· · · · · · · So if there were loans to employees


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             108 of 831
                                                      Page 108 of 200 PageID 28685
                                                                               Page 53
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·that were of -- you know, that were deemed
·3· ·immaterial, those items may not have been
·4· ·disclosed by the team to the auditors.
·5· · · · Q.· · I appreciate that.
·6· · · · · · · Do you have an understanding as to
·7· ·what the level of materiality was?
·8· · · · A.· · I don't recall.
·9· · · · Q.· · As the CFO of Highland, to the best
10· ·of your knowledge, did Highland disclose to its
11· ·outside auditors every loan that was forgiven,
12· ·in whole or in part, that was material as that
13· ·term was defined by the outside auditors?
14· · · · A.· · Yes.
15· · · · Q.· · And do you recall where -- do you
16· ·recall where the definition of materiality can
17· ·be found for -- for this particular purpose?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · A.· · No.· You -- I don't determine
20· ·materiality.
21· · · · Q.· · Okay.· I'm just asking you if you
22· ·can help me understand where it is, but I think
23· ·we will find it in a few minutes.
24· · · · · · · You are aware that Highland has
25· ·commenced lawsuits against each of the


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             109 of 831
                                                      Page 109 of 200 PageID 28686
                                                                               Page 54
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·affiliates, as we've defined the term, to
·3· ·collect under certain promissory notes; is that
·4· ·right?
·5· · · · A.· · Yes.
·6· · · · Q.· · And are you familiar with the notes
·7· ·that are issue -- at issue in the lawsuits?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · A.· · Generally familiar.
10· · · · Q.· · Can we refer to the lawsuits that
11· ·Highland has commenced against the affiliates
12· ·collectively as the lawsuits?
13· · · · A.· · Yes.· And, again, the affiliates are
14· ·NexPoint, HCMFA, HCMS, and HCRE.
15· · · · Q.· · And Mr. Dondero?
16· · · · A.· · Okay.· See, that is a new -- and now
17· ·Mr. Dondero is included in your affiliate
18· ·definition.
19· · · · Q.· · I just --
20· · · · A.· · I thought affiliates -- I thought
21· ·affiliates were just the four prior entities,
22· ·so I just want to be clear.
23· · · · Q.· · I appreciate that.· So let's --
24· ·let's keep them separate and let's refer to the
25· ·four corporate entities as the affiliates, and


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             110 of 831
                                                      Page 110 of 200 PageID 28687
                                                                               Page 55
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Mr. Dondero we will call Mr. Dondero.· Okay?
·3· · · · A.· · Okay.· Thank you.· As you can see,
·4· ·Mr. Morris, there is a lot of entities -- a lot
·5· ·here.· I just want to be clear.
·6· · · · Q.· · Okay.· Now, the affiliates of
·7· ·Mr. Dondero signed promissory notes that are
·8· ·not subject to the lawsuit.
·9· · · · · · · Do you understand that?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · The affiliates and Mr. Dondero
12· ·signed --
13· · · · Q.· · You know what?· I will skip it.
14· ·That is okay.· Okay.
15· · · · · · · From time to time while you were
16· ·Highland's CFO, payments were applied against
17· ·principal and interests that were due under the
18· ·notes that were tendered by the affiliates and
19· ·Mr. Dondero; correct?
20· · · · · · · MR. RUKAVINA:· Objection to the
21· · · · extent that calls for a legal conclusion.
22· · · · A.· · Yes.
23· · · · Q.· · Did Highland have a process where --
24· ·whereby payments would be applied against
25· ·principal and interest against the notes that


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             111 of 831
                                                      Page 111 of 200 PageID 28688
                                                                               Page 56
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·were given by the affiliates and Mr. Dondero?
·3· · · · A.· · Yes.
·4· · · · Q.· · Can you describe the process for me?
·5· · · · A.· · The process, payment should be
·6· ·applied as laid out in the -- in the promissory
·7· ·note.
·8· · · · Q.· · From time to time were payments made
·9· ·that were not required under the promissory
10· ·notes?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · Yes.
13· · · · Q.· · Who was responsible for deciding
14· ·when and how much the payments would be made
15· ·with respect to each of the notes that were
16· ·issued by the affiliates and Mr. Dondero?
17· · · · A.· · Who was responsible for deciding how
18· ·much was paid prior to the due date?
19· · · · Q.· · Yes.
20· · · · A.· · I don't know.
21· · · · Q.· · Did you approve of each payment that
22· ·was made against principal and interest on the
23· ·notes that were given by the affiliates and
24· ·Mr. Dondero?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             112 of 831
                                                      Page 112 of 200 PageID 28689
                                                                               Page 57
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Did I approve the payments?                 I
·3· ·approve -- I approve -- if there was cash -- if
·4· ·there was cash being repaid on a note payment,
·5· ·yes, I approved in the general sense of being
·6· ·made aware of the payment and the amount.
·7· · · · Q.· · And are you the person who
·8· ·authorized Highland's employees to effectuate
·9· ·those payments?
10· · · · A.· · Yes.
11· · · · Q.· · When you gave the instruction to
12· ·effectuate the payment, did you obtain
13· ·Mr. Dondero's prior approval?
14· · · · A.· · I mean, it -- I mean, it -- it
15· ·depends.
16· · · · Q.· · Can you think of any instance where
17· ·you directed Highland's employees to make a
18· ·payment of principal or interest against any
19· ·note that was tendered by an affiliate or
20· ·Mr. Dondero that Mr. Dondero did not approve of
21· ·in advance?
22· · · · A.· · I can't recall specifically.
23· · · · Q.· · Can you identify -- withdrawn.
24· · · · · · · Did Mr. Dondero ever tell you that a
25· ·payment that was made against principal and


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             113 of 831
                                                      Page 113 of 200 PageID 28690
                                                                               Page 58
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·interest due under one of the notes that was
·3· ·tendered by an affiliate or himself should not
·4· ·have been made?
·5· · · · A.· · Yes.
·6· · · · Q.· · Can you identify the payment for me?
·7· · · · A.· · It would be for -- for NexPoint
·8· ·Advisors.
·9· · · · Q.· · Okay.· And when did Mr. Dondero tell
10· ·you that a payment that you had initiated on
11· ·behalf of NexPoint should not have been made?
12· · · · A.· · I wasn't initiating payment.· It was
13· ·in the context of the -- I think you used this
14· ·term, "the advisors," so NexPoint Advisors and
15· ·Highland Capital Management Fund Advisors had
16· ·overpaid on certain agreements with Highland
17· ·Capital Management, L.P.· And as a part of that
18· ·process, the advisors -- what I was told at the
19· ·time were in talks and negotiations and
20· ·discussions with Highland Capital Management,
21· ·L.P., on offsets in relation to those
22· ·overpayments.
23· · · · Q.· · When did this conversation take
24· ·place?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             114 of 831
                                                      Page 114 of 200 PageID 28691
                                                                               Page 59
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't recall specifically.
·3· · · · Q.· · Do you recall what year it was?
·4· · · · A.· · Yes.
·5· · · · Q.· · What year did the conversation with
·6· ·Mr. Dondero take place that you just described?
·7· · · · A.· · 2020.
·8· · · · Q.· · Okay.· Do you remember if it was
·9· ·December 2020?
10· · · · A.· · It -- it -- I don't -- I don't
11· ·recall what month specifically, but it would
12· ·have been November or December.
13· · · · Q.· · And we're talking here about a
14· ·payment of principal and/or interest that was
15· ·due -- withdrawn.
16· · · · · · · We're talking here about a payment
17· ·of principal and interest that was applied
18· ·against NexPoint's note; correct?
19· · · · · · · MS. DANDENEAU:· Objection to form.
20· · · · A.· · I don't recall what that payment
21· ·consisted of.
22· · · · Q.· · Is it possible that the payment you
23· ·have in mind related to the shared services
24· ·agreement?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             115 of 831
                                                      Page 115 of 200 PageID 28692
                                                                               Page 60
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · No.
·3· · · · Q.· · Are you certain that the payment --
·4· ·that the payment that you have in mind related
·5· ·to the promissory note that NexPoint issued in
·6· ·favor of Highland?
·7· · · · · · · MS. DANDENEAU:· Objection to form.
·8· · · · A.· · Yes.
·9· · · · Q.· · Okay.· Other than that one payment,
10· ·can you identify any other instance where
11· ·Mr. Dondero told you that a payment should not
12· ·have been applied against principal and
13· ·interest under any promissory note tendered by
14· ·any affiliate or Mr. Dondero?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · · · · MS. DEITSCH-PEREZ:· Objection to
17· · · · form.
18· · · · A.· · Not that I recall.
19· · · · Q.· · Thank you very much.
20· · · · · · · Do you know if Mr. Dondero approved
21· ·in advance of each loan made to each affiliate
22· ·and himself during the time that you were the
23· ·CFO?
24· · · · · · · MS. DEITSCH-PEREZ:· Object to the
25· · · · form.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             116 of 831
                                                      Page 116 of 200 PageID 28693
                                                                               Page 61
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes, generally.
·3· · · · Q.· · Can you identify any loan that was
·4· ·ever made to an affiliate or to Mr. Dondero
·5· ·that Mr. Dondero did not approve of in advance?
·6· · · · A.· · Other than the ones that are in
·7· ·dispute, I'm not aware.
·8· · · · Q.· · Do you believe that Mr. Dondero did
·9· ·not approve of each of the loans that are in
10· ·dispute in advance of the time that the loan
11· ·was made?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · Given what is in the dispute, you
14· ·know, and -- and -- and the way things might --
15· ·yeah, I mean...
16· · · · Q.· · I am not asking about the dispute,
17· ·and it was probably my mistake to follow you
18· ·there.
19· · · · · · · Were you aware of every loan made by
20· ·Highland to each of its affiliates and
21· ·Mr. Dondero while you were the CFO at the time
22· ·each loan was made?
23· · · · A.· · Was I aware of every loan, yes.
24· · · · Q.· · Okay.· And if you put yourself back
25· ·in time, do you recall that any of the loans


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             117 of 831
                                                      Page 117 of 200 PageID 28694
                                                                               Page 62
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·that were made to one of the affiliates or
·3· ·Mr. Dondero during the time that you were the
·4· ·CFO was made without Mr. Dondero's prior
·5· ·knowledge and approval?
·6· · · · A.· · Not that I recall.
·7· · · · Q.· · Thank you.· In fact, do you -- as
·8· ·the CFO, would you have allowed Highland to
·9· ·loan money to an affiliate or to Mr. Dondero
10· ·without obtaining Mr. Dondero's prior approval?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I can't -- there was so many times
13· ·over the years, I can't speak for every single
14· ·one, but generally, yes, I -- I spoke to him.
15· · · · Q.· · You -- you never -- you never --
16· ·withdrawn.· I will just take that.
17· · · · · · · Can you recall any payment that was
18· ·ever made against principal and interest on a
19· ·note that was issued in favor of Highland by an
20· ·affiliate or Mr. Dondero that you personally
21· ·did not know about in advance?
22· · · · A.· · There are so many through the years,
23· ·I don't -- I don't -- I don't recall every
24· ·single one.
25· · · · Q.· · Okay.· Can you identify any payment


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0114
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             118 of 831
                                                      Page 118 of 200 PageID 28695
                                                                               Page 63
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·that was made against principal and interest on
·3· ·any note tendered by any affiliate or
·4· ·Mr. Dondero that you didn't know about in
·5· ·advance?
·6· · · · A.· · I don't recall.
·7· · · · Q.· · Other than Mr. Dondero -- withdrawn.
·8· · · · · · · Did anybody at Highland have the
·9· ·authority to make a payment against principal
10· ·and interest due under a loan given to the
11· ·affiliates and Mr. Dondero without your
12· ·knowledge and approval?
13· · · · · · · MS. DANDENEAU:· Objection to form.
14· · · · A.· · Sorry, there was -- to make a
15· ·payment on an affiliate loan, what you are
16· ·saying would it require my knowledge and
17· ·approval, yes.
18· · · · Q.· · Okay.· I appreciate that.· Thank
19· ·you.
20· · · · · · · Did anybody at Highland have the
21· ·authority, to the best of your knowledge, to
22· ·effectuate a loan to an affiliate without
23· ·Mr. Dondero's prior knowledge and approval?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I can't speak for all, but


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0115
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             119 of 831
                                                      Page 119 of 200 PageID 28696
                                                                               Page 64
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·generally, yes.
·3· · · · Q.· · Did you personally communicate with
·4· ·Mr. Dondero to let him know each time a payment
·5· ·of principal or interest was being made against
·6· ·any note that was tendered by an affiliate or
·7· ·Mr. Dondero to Highland?
·8· · · · A.· · I don't -- are you saying, did I let
·9· ·Mr. Dondero know if a payment was made on any
10· ·affiliate or loan to Mr. Dondero?· I mean,
11· ·not -- not every -- no.
12· · · · Q.· · Let me ask it this way:· Did you
13· ·have a practice of informing Mr. Dondero when
14· ·payments were made against principal and
15· ·interest on any note that was tendered by an
16· ·affiliate or Mr. Dondero?
17· · · · · · · MS. DEITSCH-PEREZ:· Objection to
18· · · · form.
19· · · · · · · MS. DANDENEAU:· Objection to form.
20· · · · A.· · No, I did not.
21· · · · Q.· · Did Mr. Dondero ever tell you that a
22· ·payment of principal or interest had been made
23· ·against a note that was tendered by an
24· ·affiliate or himself that he had been unaware
25· ·of?


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                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             120 of 831
                                                      Page 120 of 200 PageID 28697
                                                                               Page 65
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Not that I recall.
·3· · · · Q.· · Are you aware that Mr. Dondero and
·4· ·the affiliates -- withdrawn.
·5· · · · · · · Are you aware that Mr. Dondero
·6· ·NexPoint, HCRE, and HCMS all contend that they
·7· ·do not have to pay on any of the notes they
·8· ·issued because they are subject to an oral
·9· ·agreement between Mr. Dondero and Nancy
10· ·Dondero, in her capacity as the trustee of the
11· ·Dugaboy Investment Trust?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · I didn't -- I didn't -- I didn't
14· ·know that it was all notes.
15· · · · Q.· · Okay.· Are you -- did you ever learn
16· ·that there was an oral agreement between Jim
17· ·Dondero and Nancy Dondero pertaining to any
18· ·notes issued by any affiliate or Mr. Dondero?
19· · · · · · · MS. DEITSCH-PEREZ:· Object to the
20· · · · form.
21· · · · A.· · Yes.
22· · · · Q.· · Do you have any understanding as to
23· ·the terms of that agreement?
24· · · · A.· · Yes.
25· · · · Q.· · What is your understanding of the


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0117
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             121 of 831
                                                      Page 121 of 200 PageID 28698
                                                                               Page 66
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·terms of the agreement?
·3· · · · A.· · That there were certain milestones
·4· ·that had to be reached.
·5· · · · Q.· · Do you have any understanding of the
·6· ·terms of the agreement between Mr. Dondero and
·7· ·Nancy Dondero concerning any of the notes
·8· ·issued by the affiliates or Mr. Dondero other
·9· ·than that there have to be milestones reached?
10· · · · · · · MS. DEITSCH-PEREZ:· Object to the
11· · · · form.
12· · · · A.· · There are milestones, I found out
13· ·yesterday, or there was some --
14· · · · · · · MS. DANDENEAU:· Okay.· I'm just
15· · · · going to object to the extent that you
16· · · · learned anything in conversations with
17· · · · counsel, please don't reveal -- that is
18· · · · privileged, and don't reveal any privileged
19· · · · communications.
20· · · · · · · THE WITNESS:· Okay.
21· · · · A.· · So I'm not aware of anything else.
22· · · · Q.· · Do you know what the milestones
23· ·were?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I don't.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0118
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             122 of 831
                                                      Page 122 of 200 PageID 28699
                                                                               Page 67
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Do you know anything about -- do you
·3· ·know what promissory notes the agreement
·4· ·covered?
·5· · · · A.· · I don't.
·6· · · · Q.· · Do you know if -- if Jim and Nancy
·7· ·Dondero entered into one agreement or more than
·8· ·one agreement?
·9· · · · · · · MS. DEITSCH-PEREZ:· Object to the
10· · · · form.
11· · · · A.· · I don't know.
12· · · · Q.· · Do you know if the agreement is in
13· ·writing?
14· · · · A.· · I don't know.
15· · · · Q.· · How did you learn of the existence
16· ·of the agreement?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · Again --
19· · · · A.· · I don't -- I don't recall who told
20· ·me.
21· · · · Q.· · You have no recollection of who told
22· ·you about this agreement between Jim and Nancy
23· ·Dondero?
24· · · · · · · MS. DEITSCH-PEREZ:· Object to the
25· · · · form.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             123 of 831
                                                      Page 123 of 200 PageID 28700
                                                                               Page 68
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't recall.
·3· · · · Q.· · Do you recall how you learned of the
·4· ·agreement?
·5· · · · · · · Was it in a meeting?· Was it in a
·6· ·phone call?· Was it in an email?
·7· · · · A.· · I don't recall.
·8· · · · Q.· · Do you recall when you learned of
·9· ·the agreement?
10· · · · A.· · Not specifically.
11· · · · Q.· · Do you recall what year you learned
12· ·of the agreement?
13· · · · A.· · In -- look, I mean, there are so
14· ·many notes.· I may be getting -- I believe it
15· ·was 2020.
16· · · · Q.· · All right.· I'm not asking about
17· ·notes, sir.· I'm asking about the agreement
18· ·that you testified you knew about between Jim
19· ·and Don- -- Nancy Dondero.· Okay.
20· · · · · · · Do you understand my question now?
21· ·Should I ask my question again?
22· · · · A.· · Yeah, sure.· Go ahead.
23· · · · Q.· · I'm going to use the word
24· ·"agreement" to refer to the agreement that
25· ·Mr. Dondero and Nancy Dondero entered into


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             124 of 831
                                                      Page 124 of 200 PageID 28701
                                                                               Page 69
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·where you understood that certain milestones
·3· ·had to be reached.· Okay?
·4· · · · A.· · Uh-huh.
·5· · · · · · · MS. DANDENEAU:· Objection.
·6· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·7· · · · form.
·8· · · · · · · MR. MORRIS:· Just defining a term,
·9· · · · what is the objection.
10· · · · · · · MS. DEITSCH-PEREZ:· The objection --
11· · · · · · · MR. MORRIS:· I will move on.· I will
12· · · · move on.
13· · · · · · · MS. DEITSCH-PEREZ:· John --
14· · · · Q.· · Sir, are you okay with that
15· ·definition of agreement?
16· · · · A.· · Okay.
17· · · · Q.· · Okay.· So you don't recall who --
18· ·who informed you of the existence of the
19· ·agreement; is that right?
20· · · · A.· · I don't recall.
21· · · · Q.· · You don't recall who told you the
22· ·terms of the agreement.
23· · · · · · · Do I have that right?
24· · · · A.· · Correct.
25· · · · Q.· · And you don't recall if you learned


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             125 of 831
                                                      Page 125 of 200 PageID 28702
                                                                               Page 70
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·about the agreement in a meeting, through an
·3· ·email, or through a phone call.
·4· · · · · · · Do I have that right?
·5· · · · A.· · I don't recall.
·6· · · · Q.· · Can you tell me when you learned of
·7· ·the agreement?
·8· · · · A.· · I don't -- I don't -- I don't
·9· ·remember specifically.
10· · · · Q.· · Can you tell me if you learned of
11· ·the agreement before or after the petition
12· ·date?
13· · · · A.· · It would have been -- it would have
14· ·been after.
15· · · · Q.· · Can you tell me if you learned of
16· ·the agreement before or after January 9th,
17· ·2020?
18· · · · A.· · It would have been after.
19· · · · Q.· · Can you tell me if you learned of
20· ·the agreement before or after you left Highland
21· ·Capital Management in February of 2021?
22· · · · A.· · I don't -- I don't -- I don't know.
23· · · · Q.· · It is possible that you learned of
24· ·it while you were a Highland employee.
25· · · · · · · Do I have that right?


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             126 of 831
                                                      Page 126 of 200 PageID 28703
                                                                               Page 71
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't remember the -- I mean, it
·3· ·was sometime in 2021.· I don't remember when.
·4· · · · Q.· · All right.· So to the best of your
·5· ·recollection, it was in 2021 but you don't
·6· ·recall if it was before or after you ceased to
·7· ·be a Highland employee.
·8· · · · · · · Do I have that right?
·9· · · · A.· · Yeah, I mean, it was -- it was
10· ·likely after I was -- after I left Highland
11· ·because, if I put myself back into the last
12· ·days of -- of 2021, it was -- you know, the
13· ·communications with Mr. Dondero were -- were --
14· ·were -- there weren't as many communications
15· ·because of the circumstances.
16· · · · Q.· · And so based on that you believe
17· ·that it is most likely that you learned of this
18· ·agreement sometime after you left Highland
19· ·employment?
20· · · · A.· · I wouldn't use the term "most
21· ·likely."· I don't recall specifically.· I don't
22· ·recall.
23· · · · Q.· · Do you recall ever telling Jim Seery
24· ·about this agreement?
25· · · · A.· · No, I don't -- I didn't tell


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             127 of 831
                                                      Page 127 of 200 PageID 28704
                                                                               Page 72
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Jim Seery.
·3· · · · Q.· · Did you tell anybody at DSI about
·4· ·this agreement?
·5· · · · A.· · No.
·6· · · · Q.· · Did you tell any of Highland's
·7· ·independent directors about this agreement?
·8· · · · A.· · No.
·9· · · · Q.· · Did you tell anybody at Pachulski
10· ·Stang Ziehl & Jones about this agreement?
11· · · · A.· · No.
12· · · · Q.· · Did you tell any employee of
13· ·Highland about this agreement?
14· · · · A.· · No.
15· · · · · · · MS. DANDENEAU:· Mr. Morris, it has
16· · · · been an hour and a half.· Is this a good
17· · · · time for a break?
18· · · · · · · MR. MORRIS:· Sure.
19· · · · Q.· · Mr. Waterhouse, I will just remind
20· ·you that during the break please don't speak
21· ·with anybody about the deposition, the
22· ·substance of your testimony or anything else
23· ·concerning the deposition.· Okay?
24· · · · A.· · Yes.
25· · · · · · · MR. MORRIS:· So it is 11:02.· We're


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             128 of 831
                                                      Page 128 of 200 PageID 28705
                                                                               Page 73
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · at 11:02 your time.· Let's come back, I
·3· · · · guess, at 15 -- at 11:15 your time.
·4· · · · · · · VIDEOGRAPHER:· We're going off the
·5· · · · record at 11:02 a.m.
·6· · · · (Recess taken 11:02 a.m. to 11:20 a.m.)
·7· · · · · · · VIDEOGRAPHER:· We are back on the
·8· · · · record at 11:20 a.m.
·9· · · · Q.· · Mr. Waterhouse, did you speak with
10· ·anybody during the break about this deposition?
11· · · · A.· · No.
12· · · · · · · MS. DANDENEAU:· Other than -- other
13· · · · than his counsel.
14· · · · Q.· · Did you speak to your counsel about
15· ·the substance of your deposition today?
16· · · · A.· · No, I didn't bring it up.
17· · · · Q.· · I didn't ask you if you brought it
18· ·up.· I asked you if you had any conversation
19· ·with your lawyer about the substance of your
20· ·deposition.
21· · · · · · · MS. DANDENEAU:· Yes, he did.
22· · · · Q.· · Can you tell me what the -- you
23· ·discussed?
24· · · · · · · MS. DANDENEAU:· No, I object to
25· · · · that.· He's not going to answer.· That is a


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             129 of 831
                                                      Page 129 of 200 PageID 28706
                                                                               Page 74
·1· · · · · ·WATERHOUSE - 10-19-21
·2· ·privileged conversation.
·3· · · · ·MR. MORRIS:· So I just want to make
·4· ·sure that I understand.· During the break
·5· ·you spoke with your client about the
·6· ·substance of this deposition; is that
·7· ·right?
·8· · · · ·MS. DANDENEAU:· Yes, John.
·9· · · · ·MR. MORRIS:· And you refuse -- you
10· ·refuse to let your client tell me what was
11· ·discussed; is that right?
12· · · · ·MS. DANDENEAU:· That's correct.
13· · · · ·MR. MORRIS:· You know, I had given
14· ·the instruction prior to the break not to
15· ·speak with counsel.· I would have
16· ·appreciated --
17· · · · ·MS. DANDENEAU:· No, you didn't --
18· ·actually, that is not true, Mr. Morris.
19· ·You said not to speak with anyone.· We
20· ·never have interpreted that to mean
21· ·conversations with counsel.· That's never
22· ·been -- I have never, ever heard that
23· ·instruction.
24· · · · ·MR. MORRIS:· Okay.· We will -- we
25· ·will -- we will deal with it when and if we


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             130 of 831
                                                      Page 130 of 200 PageID 28707
                                                                               Page 75
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · have to.
·3· · · · Q.· · Mr. Waterhouse, after learning about
·4· ·the agreement, did you ask anybody if the
·5· ·agreement was reflected in a writing?
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · A.· · No.
·8· · · · Q.· · Did you ask anybody if the terms of
·9· ·the agreement were memorialized anywhere?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · · · · MR. MORRIS:· What is the --
12· · · · A.· · No.
13· · · · · · · MS. DANDENEAU:· Well, because you
14· · · · keep talking about this agreement and I --
15· · · · I -- I think, Mr. Morris, that is really
16· · · · not clear what you mean by "the agreement."
17· · · · And maybe you can just go back and restate
18· · · · what that is.
19· · · · · · · MR. MORRIS:· Okay.· Your client has
20· · · · agreed with me twice on the definition, but
21· · · · I will try one more time.
22· · · · Q.· · Mr. Waterhouse, do you understand
23· ·that when I use the term "agreement," I'm
24· ·referring to the agreement between Jim and
25· ·Nancy Dondero concerning certain promissory


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             131 of 831
                                                      Page 131 of 200 PageID 28708
                                                                               Page 76
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·notes where you learned that one of the terms
·3· ·of the agreement was milestones reached?
·4· · · · A.· · Okay.
·5· · · · Q.· · And did you understand that that was
·6· ·the -- the agreement that we were referring to
·7· ·every time we used the word "agreement" in this
·8· ·deposition?
·9· · · · A.· · I don't know anything about this
10· ·agreement.· So, look, I do -- it -- I don't
11· ·know whether --
12· · · · Q.· · Let's -- let's try this again.
13· · · · A.· · Yeah.· Look, I don't know what this
14· ·agreement relates.
15· · · · · · · MS. DEITSCH-PEREZ:· John, John --
16· · · · Q.· · Let me try --
17· · · · · · · MS. DEITSCH-PEREZ:· John, please let
18· · · · the witness finish.
19· · · · · · · MR. MORRIS:· Please stop.· Please
20· · · · stop.· Please stop talking.
21· · · · · · · MS. DEITSCH-PEREZ:· No, you stop.
22· · · · Let the witness --
23· · · · · · · MR. MORRIS:· Stop talking.
24· · · · · · · MS. DEITSCH-PEREZ:· -- finish -- you
25· · · · interrupted him.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             132 of 831
                                                      Page 132 of 200 PageID 28709
                                                                               Page 77
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MR. MORRIS:· You know what, you
·3· · · · guys, this is really wrong.· It is really,
·4· · · · really wrong.· Okay?
·5· · · · · · · I had the witness agree not once,
·6· · · · but twice to the definition of agreement.
·7· · · · Okay?· I'm going to try and do it a third
·8· · · · time.
·9· · · · · · · MS. DANDENEAU:· No, but, please,
10· · · · John, really --
11· · · · · · · MR. MORRIS:· No, please stop
12· · · · talking.· Please.· It is my deposition.
13· · · · Object to questions.
14· · · · · · · MS. DANDENEAU:· No, but also you
15· · · · instructed him that -- that if you were
16· · · · going -- if you were interrupting him, that
17· · · · he should remind you that you're
18· · · · interrupting him and -- and --
19· · · · · · · MR. MORRIS:· Let him do that.· Let
20· · · · him do that.
21· · · · · · · MS. DANDENEAU:· Okay.· Well, you --
22· · · · · · · MR. MORRIS:· Please stop talking.
23· · · · A.· · Okay.· I don't know any of the
24· ·details of these agreements.· I don't know
25· ·anything about them.· I heard -- someone -- I


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             133 of 831
                                                      Page 133 of 200 PageID 28710
                                                                               Page 78
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·don't know who, I don't know when, as you
·3· ·asked, sometime in '21, someone told me about
·4· ·this -- or I don't honestly know -- I don't
·5· ·even recall exactly how I was made aware of
·6· ·this, but I was.· I don't know -- I don't know
·7· ·any of these details, and I'm getting -- again,
·8· ·there is, you know, I -- I -- I had a passing
·9· ·conversation with -- with Jim at some point
10· ·on -- on some -- on the executive comp, and I'm
11· ·getting confused of what is what, because
12· ·again, I don't know any of these details.
13· · · · Q.· · Okay.· Let me try again,
14· ·Mr. Waterhouse, and I apologize.
15· · · · · · · Are you aware of any agreement
16· ·between Jim Dondero and Nancy Dondero
17· ·concerning any promissory note that was given
18· ·to Highland by any affiliate or Mr. Dondero?
19· · · · · · · MS. DEITSCH-PEREZ:· Object to the
20· · · · form.
21· · · · A.· · I've heard of an agreement.· That
22· ·is -- that is -- I mean, if you are using aware
23· ·as heard, sure.
24· · · · Q.· · And you understand that one of the
25· ·terms of the agreement is that it was based on


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             134 of 831
                                                      Page 134 of 200 PageID 28711
                                                                               Page 79
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·milestones that had to be reached; is that
·3· ·right?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · That was one of the words that was
·6· ·used when I heard about it, yes.
·7· · · · Q.· · And when you heard about this
·8· ·agreement that had a term in it concerning
·9· ·milestones reached, did you ask the person who
10· ·was telling you about the agreement whether or
11· ·not it was in writing?
12· · · · A.· · I did not.
13· · · · Q.· · Did you ask any questions at all?
14· · · · · · · MS. DANDENEAU:· Objection to form.
15· · · · A.· · Not that I recall.
16· · · · Q.· · But do you understand that going
17· ·forward, we're going to refer to the agreement
18· ·as the agreement that you just described that
19· ·you were --
20· · · · · · · MS. DANDENEAU:· Object to the form.
21· · · · A.· · Yes.
22· · · · Q.· · Okay.· You don't have any personal
23· ·knowledge concerning the terms of the
24· ·agreement; correct?
25· · · · · · · MS. DEITSCH-PEREZ:· Object to the


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             135 of 831
                                                      Page 135 of 200 PageID 28712
                                                                                Page 80
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · form.
·3· · · · Q.· · You can answer.
·4· · · · A.· · I don't -- I heard about the
·5· ·agreement.· I don't know anything -- I heard
·6· ·there was an agreement.· That is -- again, as I
·7· ·testified before -- I said before, heard about
·8· ·it, don't know the details.· I believe it was
·9· ·sometime this year.
10· · · · Q.· · Do you have any personal knowledge
11· ·about the terms of the agreement, sir?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · Other than what I have previously
14· ·discussed, I don't -- I don't know.
15· · · · Q.· · Did -- did Mr. Dondero tell you
16· ·about the existence of the agreement?
17· · · · A.· · I don't recall.
18· · · · Q.· · Do you recall the source of your
19· ·information when you learned about the
20· ·agreement?
21· · · · A.· · No, I don't -- I don't recall.                   I
22· ·don't remember.· I just -- I heard about it
23· ·generally.· I don't remember -- I don't
24· ·remember who, how, if, how.· I don't remember.
25· · · · Q.· · You know, Mr. Waterhouse, I just


                     TSG Reporting - Worldwide· · 877-702-9580       HCMFA APP 0132
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             136 of 831
                                                      Page 136 of 200 PageID 28713
                                                                               Page 81
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·want to be clear that I never would have asked
·3· ·you to appear at this deposition if your name
·4· ·hadn't been included in responses to discovery
·5· ·as to somebody with knowledge about the -- who
·6· ·was told about the existence of the agreement.
·7· · · · · · · That is what prompted me do this,
·8· ·and I really do feel compelled to tell you that
·9· ·I otherwise would never have called you as a
10· ·witness.· So I regret that you're being put
11· ·through this today.· I had no intention of
12· ·burdening you or taking your time, but that is
13· ·the reason that we issued the subpoena is
14· ·because certain of the defendants identified
15· ·you as somebody --
16· · · · · · · MS. DEITSCH-PEREZ:· Mr. Morris, you
17· · · · are here to ask questions, not to have --
18· · · · · · · MR. MORRIS:· I feel badly for the
19· · · · guy.· I really do.
20· · · · · · · MS. DEITSCH-PEREZ:· I'm sure you do.
21· · · · · · · MR. MORRIS:· I do.· Stop.
22· · · · · · · MS. DEITSCH-PEREZ:· You stop.
23· · · · · · · MR. MORRIS:· I'm allowed.
24· · · · · · · MS. DEITSCH-PEREZ:· No, you're not
25· · · · allowed to have a chat with the witness.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0133
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             137 of 831
                                                      Page 137 of 200 PageID 28714
                                                                               Page 82
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Well, I hope that you
·3· ·appreciate what I'm saying here,
·4· ·Mr. Waterhouse.
·5· · · · · · · MS. DANDENEAU:· All right.· Let's go
·6· · · · ahead and ask questions, and again, you're
·7· · · · entitled to probe his -- his knowledge
·8· · · · of -- whatever knowledge he has about
·9· · · · this -- this agreement and --
10· · · · · · · MR. MORRIS:· That is what I'm doing.
11· · · · · · · MS. DANDENEAU:· -- he will answer
12· · · · the questions to the best that he can.
13· · · · · · · MR. MORRIS:· That is what I'm doing.
14· · · · Q.· · Mr. Waterhouse, I take it you do not
15· ·know which promissory notes issued by which
16· ·affiliates or Mr. Dondero are the subject of
17· ·this agreement; do I have that right?
18· · · · A.· · Yes, I don't -- I don't know.
19· · · · Q.· · Do you know of any way to determine
20· ·which promissory notes issued by the affiliates
21· ·and Mr. Dondero are the subject of this
22· ·agreement other than asking Jim or Nancy
23· ·Dondero?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I don't know.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0134
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             138 of 831
                                                      Page 138 of 200 PageID 28715
                                                                               Page 83
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Did you ever make --
·3· · · · A.· · I don't know anything about these
·4· ·agreements.
·5· · · · Q.· · Did you ever make any effort to
·6· ·determine which promissory notes are subject to
·7· ·this agreement?
·8· · · · A.· · No.
·9· · · · Q.· · Did you ever ask anybody which
10· ·promissory notes are subject to this agreement?
11· · · · A.· · No.
12· · · · Q.· · Do you know if there is a list
13· ·anywhere of the promissory notes that are
14· ·subject to this agreement?
15· · · · A.· · I'm not aware.
16· · · · Q.· · Have you ever seen the terms of the
17· ·agreement written down anywhere?
18· · · · A.· · No.
19· · · · Q.· · Have you ever asked anybody whether
20· ·the terms of the agreement were written down
21· ·anywhere?
22· · · · A.· · I have not.
23· · · · Q.· · Did learning about the agreement
24· ·cause you to do anything in response?
25· · · · · · · MS. DANDENEAU:· Objection to form.


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             139 of 831
                                                      Page 139 of 200 PageID 28716
                                                                               Page 84
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · No.
·3· · · · Q.· · Did anybody ever describe to you the
·4· ·nature of the milestones that you referred to
·5· ·earlier?
·6· · · · A.· · No, I don't -- I don't have any
·7· ·details of this.
·8· · · · Q.· · That is fine.
·9· · · · · · · PricewaterhouseCoopers served as
10· ·Highland's outside auditors prior to the
11· ·petition date; correct?
12· · · · A.· · Yes.
13· · · · Q.· · You refer to PricewaterhouseCoopers
14· ·as PwC?
15· · · · A.· · Yes.
16· · · · Q.· · PricewaterhouseCoopers audited
17· ·Highland's financial statements on an annual
18· ·basis; correct?
19· · · · A.· · During my -- during my time as -- as
20· ·CFO, yes, PricewaterhouseCoopers was the
21· ·auditor.
22· · · · Q.· · Do you know why Highland had its
23· ·annual financial statements audited each year?
24· · · · A.· · Generally.
25· · · · Q.· · Tell me your general understanding


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0136
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             140 of 831
                                                      Page 140 of 200 PageID 28717
                                                                               Page 85
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·as to the reason why Highland had its annual
·3· ·financial statements audited each year.
·4· · · · A.· · From -- from time to time, they were
·5· ·used -- or asked for, as part of diligence or
·6· ·transactions or -- or things of that nature.
·7· · · · Q.· · And were they given to third parties
·8· ·for purposes of diligence or transactions from
·9· ·time to time?
10· · · · A.· · As far as I'm aware, yes.
11· · · · Q.· · And was it your understanding as the
12· ·CFO that the third parties who received the
13· ·financial statements in diligence or
14· ·transactions was going to rely on those?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · I don't know -- I don't know gen --
17· ·I don't know specifically what they were going
18· ·to rely on.· You know, we would get requests
19· ·for audited financial statements.· I don't know
20· ·what they were relying on.
21· · · · Q.· · And --
22· · · · A.· · You would have to ask them.
23· · · · Q.· · Did you personally play a role in
24· ·PwC's annual audit and the conduct of the
25· ·audit?


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                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             141 of 831
                                                      Page 141 of 200 PageID 28718
                                                                               Page 86
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MS. DANDENEAU:· Objection to form.
·3· · · · A.· · During my tenure as CFO, I played a
·4· ·very minimal role.
·5· · · · Q.· · What was the minimal role that you
·6· ·played?
·7· · · · A.· · You know, again, it was -- it was to
·8· ·check in with the team, to make sure that, you
·9· ·know, audit -- the deadlines were being hit,
10· ·information was being presented to the auditors
11· ·in a -- in a timely fashion, but, you know,
12· ·other than that, it was a very capable team
13· ·that are still current employees of Highland
14· ·and, you know, they -- they conducted 99
15· ·percent of -- look, I don't want to give
16· ·percentages.· I mean, this is -- but I -- I --
17· ·I played a minimal role towards the end.
18· · · · · · · Before during my earlier years as
19· ·CFO, I did more, and then as time went on, I
20· ·did less in it.
21· · · · Q.· · Okay.· Was there a person at
22· ·Highland who was responsible for overseeing
23· ·Highland's participation in PwC's audit during
24· ·the time that you were the CFO?
25· · · · A.· · Yeah.· I mean, there was -- there


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0138
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             142 of 831
                                                      Page 142 of 200 PageID 28719
                                                                               Page 87
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·was a -- there was a point -- it varies.· It
·3· ·varies by year, in function, in time and, you
·4· ·know, depending on the request, but yes, I
·5· ·mean, there is -- there is -- there is
·6· ·generally a point person of communication.
·7· · · · Q.· · And who was the point person from
·8· ·2016 until the time you left Highland?
·9· · · · A.· · I don't -- I don't know
10· ·specifically, but it would have been, you
11· ·know -- you know, someone on the corporate
12· ·accounting team.
13· · · · Q.· · And was there a head of the
14· ·corporate accounting team?
15· · · · A.· · Yes, so -- yes.
16· · · · Q.· · Who was the head of corporate
17· ·accounting for the five years prior to the time
18· ·you left Highland?
19· · · · A.· · I don't -- if you're asking from
20· ·2016 on, I don't -- it was Dave Klos, but,
21· ·again, there was -- there was changes to the
22· ·team and the reporting structure.· I don't
23· ·remember exactly when that happened during --
24· ·you know, over the last -- since 2016.
25· · · · Q.· · Did the folks who participated and


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0139
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             143 of 831
                                                      Page 143 of 200 PageID 28720
                                                                               Page 88
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·ran the audit all report to you, directly or
·3· ·indirectly?
·4· · · · A.· · Yes.
·5· · · · Q.· · And did you have any responsibility
·6· ·for making sure that the audit report was
·7· ·accurate before it was finalized?
·8· · · · A.· · Yeah.· I mean, you know, that --
·9· ·that is -- my responsibility to the auditors
10· ·was -- again, is -- and the CFO is to -- we are
11· ·providing accurate financial statements; right?
12· · · · · · · And -- and -- and as part of any
13· ·audit, we disclose all relevant information as
14· ·part of any audit.
15· · · · Q.· · Okay.· And as the CFO, did you take
16· ·steps to make sure that the audit report was
17· ·accurate?
18· · · · A.· · I mean, I would say in a general
19· ·sense, yes.· But, again, I mean, I had a
20· ·very -- I had a very capable and competent
21· ·team.· I wasn't managing them.
22· · · · · · · You know, part of what I do is I let
23· ·the team -- I want managers to grow.· I want
24· ·managers to have rope.· And that is -- you
25· ·know, I'm not a stand-behind-you type of guy.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0140
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             144 of 831
                                                      Page 144 of 200 PageID 28721
                                                                               Page 89
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·If you -- if you talk to my team members, I'm
·3· ·not micromanaging people.· I want people to
·4· ·learn and grow in their function so they can go
·5· ·on and do bigger and better things with their
·6· ·careers.
·7· · · · · · · And so, yes, generally I was
·8· ·responsible for it, but I wanted the team to
·9· ·learn and grow and be responsible for the bulk
10· ·of the audit.
11· · · · Q.· · Did you personally review each audit
12· ·report before it was finalized to satisfy
13· ·yourself that it was accurate?
14· · · · A.· · I don't -- I don't recall, you know,
15· ·for every single -- we're talking 2016, there
16· ·would have been three years, 2016 to '17, '18.
17· ·I don't -- we're -- we're going back
18· ·five years-plus.· I don't -- you know, I don't
19· ·recall.
20· · · · Q.· · Did you have a practice that you
21· ·employed to make sure that you were satisfied
22· ·that Highland's audit reports were true and
23· ·accurate to the best of your knowledge?
24· · · · A.· · I mean, our -- the practice was set
25· ·up with our -- the -- the practice to put


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0141
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             145 of 831
                                                      Page 145 of 200 PageID 28722
                                                                               Page 90
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·together accurate audited or accurate financial
·3· ·statements is to your control environment.
·4· · · · · · · So, you know, the -- so the practice
·5· ·was to maintain a stable control environment
·6· ·which then the output is -- is accurate
·7· ·financial statements.
·8· · · · · · · So -- so, you know, if I was
·9· ·comfortable that the control environment was
10· ·operating, then, you know, that would dictate
11· ·how I would -- you know, what I might or might
12· ·not do in a given year.
13· · · · Q.· · Okay.· Do you recall ever being
14· ·uncomfortable with the control environment
15· ·during the period that you served as CFO?
16· · · · A.· · Yeah.· I mean, look, yes, there are
17· ·times -- you know, nothing is perfect.· So
18· ·there were -- there were times when, yes, you
19· ·know -- there are times I learned I was
20· ·uncomfortable with the control environment, and
21· ·that is part of the management of the process
22· ·and having, you know -- and -- and working
23· ·through whatever obstacles present themselves.
24· · · · Q.· · Okay.· Were you ever uncomfortable
25· ·with the control process as it related to


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0142
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             146 of 831
                                                      Page 146 of 200 PageID 28723
                                                                                  Page 91
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·reporting and disclosures of loans to
·3· ·affiliates and Mr. Dondero?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · I don't -- I don't recall --
·6· · · · Q.· · So you don't recall --
·7· · · · A.· · -- the --
·8· · · · · · · MS. DANDENEAU:· Mr. Morris --
·9· · · · A.· · I don't recall being uncomfortable.
10· ·But, again, we're going back several years.                   I
11· ·don't -- you know, the practice in an audit is
12· ·to disclose all information to the auditors.
13· ·And I don't -- I don't recall.
14· · · · Q.· · As part of the process of the audit,
15· ·did you sign what is sometimes referred to as a
16· ·management representation letter?
17· · · · A.· · Yes.
18· · · · · · · MR. MORRIS:· Can we put up on the
19· · · · screen a document that we have premarked as
20· · · · Exhibit 33.
21· · · · · · · (Exhibit 33 marked.)
22· · · · · · · MS. DANDENEAU:· Mr. Morris, that is
23· · · · not in the binder; correct?
24· · · · · · · MR. MORRIS:· Correct.
25· · · · Q.· · So you will see, Mr. Waterhouse,


                     TSG Reporting - Worldwide· · 877-702-9580         HCMFA APP 0143
                                                                                            YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             147 of 831
                                                      Page 147 of 200 PageID 28724
                                                                               Page 92
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·this is a letter dated June 3rd.· And if we
·3· ·could go to the signature page.
·4· · · · · · · And do you see that you and
·5· ·Mr. Dondero signed this document?
·6· · · · A.· · Yes.
·7· · · · Q.· · That is your signature; right?
·8· · · · A.· · Yes.
·9· · · · · · · MR. MORRIS:· Okay.· Can you go back
10· · · · to the top.
11· · · · · · · MS. DANDENEAU:· Mr. Morris, can you
12· · · · have somebody post this in the chat so that
13· · · · we have can have a copy of this, please.
14· · · · · · · MR. MORRIS:· Yeah, sure.· Asia, can
15· · · · you do that, please.
16· · · · Q.· · Okay.· Do you see at the bottom of
17· ·the second paragraph there is a reference to
18· ·materiality?
19· · · · A.· · Yes.
20· · · · Q.· · Okay.· It says, Materiality used for
21· ·purposes of these representations is
22· ·$1.7 million.
23· · · · · · · Do you see that?
24· · · · A.· · I do.
25· · · · Q.· · And did PwC set that level of


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0144
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             148 of 831
                                                      Page 148 of 200 PageID 28725
                                                                               Page 93
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·materiality?
·3· · · · A.· · Yes.
·4· · · · Q.· · And for purposes of the audit, did
·5· ·PwC set the level of materiality each year?
·6· · · · A.· · Yes.
·7· · · · Q.· · Did that number change over time?
·8· · · · A.· · I'm not aware of what materiality is
·9· ·every single year, so -- but, you know, this
10· ·number would likely fluctuate.
11· · · · Q.· · Okay.· I'm going to go back to a
12· ·question I asked you earlier today.· And that
13· ·is in connection -- this letter is issued in
14· ·connection with the audit for the period ending
15· ·12/31/2018; correct?
16· · · · A.· · Yes.
17· · · · Q.· · Okay.· And is it fair to say that if
18· ·any -- actually, withdrawn.· I'm going to take
19· ·it outside of this.
20· · · · · · · If Highland ever forgave the loan to
21· ·any affiliate or any of its officers or
22· ·employees, in whole or in part, to the best of
23· ·your knowledge, would that forgiveness have
24· ·been disclosed in the audited financial
25· ·statements if it exceeded the level of


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0145
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             149 of 831
                                                      Page 149 of 200 PageID 28726
                                                                               Page 94
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·materiality that PwC established?
·3· · · · · · · MS. DANDENEAU:· Objection to form.
·4· · · · A.· · So, again, during my tenure as CFO,
·5· ·and -- Highland -- it was -- it is required to
·6· ·disclose any affiliate loans that are in excess
·7· ·of materiality.
·8· · · · · · · Now, the forgiveness of those loans
·9· ·may or may not -- I mean, since materiality
10· ·fluctuates every year, a -- you know, if a loan
11· ·was forgiven, it may or may not, you know --
12· ·and, look, I would want to consult the guidance
13· ·around this.
14· · · · · · · It is not something we do -- you
15· ·know, it is not -- you know, GAAP can be and
16· ·disclosures can be very specialized so, again,
17· ·we want to consult the guidance.· But we would
18· ·see if and what would need to be disclosed if
19· ·it were deemed immaterial.
20· · · · Q.· · Did you and Mr. Dondero sign
21· ·management representation letters of this type
22· ·in each year in which you served as Highland's
23· ·CFO?
24· · · · A.· · I -- I -- I will speak for myself.
25· ·I signed them.· There may have been others that


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0146
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             150 of 831
                                                      Page 150 of 200 PageID 28727
                                                                               Page 95
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·signed as well.· I don't -- I don't recall.
·3· · · · Q.· · But to the best of your knowledge,
·4· ·you, personally, signed a management
·5· ·representation letter in connection with
·6· ·Highland's audit each year that you served as
·7· ·the CFO; correct?
·8· · · · A.· · I would say generally speaking,
·9· ·Mr. Morris.· I don't recall for every single
10· ·year, you know, generally, but I would want to
11· ·refer to all the rep letters and see who signed
12· ·them.
13· · · · Q.· · Do you recall Highland having its
14· ·financial statements audited in any year during
15· ·the period that you were a CFO where you didn't
16· ·sign the management representation letter?
17· · · · A.· · I don't recall.· But, John, we're
18· ·going back five, six, seven, eight, nine,
19· ·decade.· I don't -- I don't remember.
20· · · · Q.· · I don't want to go back that many
21· ·decades, but I'm just asking you if you recall
22· ·that there was you didn't sign it?
23· · · · A.· · I -- I -- I don't, but my memory
24· ·is -- again, I -- I -- I can't tell you what I
25· ·did in 2012.· I mean, I think generally, yes,


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0147
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             151 of 831
                                                      Page 151 of 200 PageID 28728
                                                                               Page 96
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·but I don't -- I don't know for sure, and I
·3· ·would want to rely on the document.
·4· · · · Q.· · Let me ask the question a little bit
·5· ·differently then.
·6· · · · · · · Do you have any reason to believe
·7· ·that Highland had its annual financial audit
·8· ·and you did not sign a management
·9· ·representation letter in connection with that
10· ·audit?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I don't believe it would, but,
13· ·again, I would want to -- I don't recall and I
14· ·would want to confirm it to -- to make, you
15· ·know, an affirmative -- to give an affirmative
16· ·answer.
17· · · · Q.· · Do you know whether PwC required
18· ·management to sign management representation
19· ·letters?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · Yes.· I mean, it -- management
22· ·representation letters are signed by
23· ·management.
24· · · · Q.· · Okay.· And do you know -- do you
25· ·have any understanding as to why PwC requires


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0148
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             152 of 831
                                                      Page 152 of 200 PageID 28729
                                                                               Page 97
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·management to sign management representation
·3· ·letters?
·4· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·5· · · · form.
·6· · · · A.· · I don't know why PwC's -- what PwC's
·7· ·specific practice is.· I know generally what
·8· ·management representation letters are.
·9· · · · Q.· · Okay.· Do you personally -- I'm not
10· ·asking about PwC.· I'm asking for you -- I'm
11· ·asking about you, do you have an understanding
12· ·as to why the auditor asks for management
13· ·representation letters?
14· · · · A.· · Okay.· So you're asking me in my
15· ·personal capacity, yes, I have a general
16· ·understanding of why.
17· · · · Q.· · Can you give me the general
18· ·understanding that you have as to why
19· ·management representation letters are required?
20· · · · A.· · They are -- they are required to --
21· ·they are -- they are one of the items required
22· ·in an audit to help verify completeness.
23· · · · Q.· · Do you have any -- any other
24· ·understanding as to why management
25· ·representation letters are required?


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0149
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             153 of 831
                                                      Page 153 of 200 PageID 28730
                                                                               Page 98
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · That is -- that is -- other than
·3· ·what I said, it is -- it is -- it is required
·4· ·so -- to ensure that the -- you know, there
·5· ·is -- there is completeness in what is being
·6· ·audited.
·7· · · · Q.· · Did you -- did you have a practice
·8· ·whereby you and Mr. Dondero conferred about the
·9· ·management representation letters before you
10· ·signed them?
11· · · · A.· · No.
12· · · · Q.· · Did you have a practice --
13· ·withdrawn.
14· · · · · · · Do you see just the next sentence
15· ·after the materiality, there is a sentence that
16· ·states:· We confirm, to the best of our
17· ·knowledge and belief, as of June 3rd, 2019, the
18· ·date of your report, the following
19· ·representations made to you during your audit.
20· · · · · · · Do you see that sentence?
21· · · · A.· · Yes.
22· · · · Q.· · Okay.· Did you understand when you
23· ·signed this letter that you were confirming the
24· ·representations that followed?
25· · · · A.· · When I signed this management


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0150
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             154 of 831
                                                      Page 154 of 200 PageID 28731
                                                                               Page 99
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·letter -- representation letter, yes.
·3· · · · Q.· · Okay.· Did you discuss this letter
·4· ·with Mr. Dondero before you signed it?
·5· · · · A.· · I don't recall.
·6· · · · Q.· · Do you recall if Mr. Dondero asked
·7· ·you any questions before he signed the letter?
·8· · · · A.· · I don't recall.
·9· · · · Q.· · Do you recall if you asked
10· ·Mr. Dondero any questions before you signed
11· ·this letter?
12· · · · A.· · I don't recall.
13· · · · Q.· · Is it fair to say that Mr. Dondero
14· ·did not disclose to you the existence of the
15· ·agreement that we have -- as we've defined that
16· ·term prior to the time you signed this letter?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · A.· · I don't think I understand the
19· ·question.· So, again, you are saying, did
20· ·Mr. Dondero not disclose to me the existence of
21· ·this letter?
22· · · · Q.· · No, I apologize.
23· · · · · · · Did Mr. Dondero disclose to you the
24· ·existence of the agreement prior to the time
25· ·you signed this letter on June 3rd, 2019?


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0151
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             155 of 831
                                                      Page 155 of 200 PageID 28732
                                                                             Page 100
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · The agreement -- the agreement that
·3· ·we talked about earlier?
·4· · · · Q.· · Correct.
·5· · · · A.· · Look, as I said earlier, the first
·6· ·time I heard of this agreement was sometime
·7· ·this year.
·8· · · · Q.· · Okay.· Can we turn -- let's just
·9· ·look at a couple of items on the list.· If we
10· ·can go to page 33416.· Do you see in Number 35
11· ·it talks about the proper recording or
12· ·disclosure in the financial statements of ND
13· ·relationships and transactions with related
14· ·parties.
15· · · · · · · Do you see that?
16· · · · A.· · I do.
17· · · · Q.· · As the CFO, do you have any
18· ·understanding as to whether Dugaboy is a
19· ·related party?
20· · · · A.· · I don't recall.
21· · · · Q.· · Do you know whether any of the
22· ·affiliates are related parties?
23· · · · A.· · If -- if it was NexPoint, HCMFA,
24· ·HCMS, HCRE, yeah, if -- if that is the
25· ·affiliate definition, and there.· In ASC 850 --


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             156 of 831
                                                      Page 156 of 200 PageID 28733
                                                                              Page 101
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·again, I mean, I haven't looked at ASC 850 in
·3· ·quite some time, but, you know, if -- if there
·4· ·is a control language, you know, ASC 850, would
·5· ·that -- that section in GAAP would -- would
·6· ·pick up and define what are related parties.
·7· · · · · · · So, you know, like I said, if -- one
·8· ·of the four entities I just described, if -- if
·9· ·they are in that control definition of ASC 850,
10· ·they would be picked up in 35D.
11· · · · Q.· · Do you -- do you have any reason to
12· ·believe that they would be picked up in that
13· ·definition, based on your knowledge and
14· ·experience?
15· · · · A.· · I -- I believe that entities
16· ·controlled under GAAP are -- are affiliates.
17· · · · Q.· · Okay.· Would Mr. Dondero also
18· ·qualify as a related party for purposes of
19· ·Section 35D, to the best of your knowledge?
20· · · · A.· · Yeah, I don't -- I don't know.                   I
21· ·would think -- I would have to read the code
22· ·section to see if someone personally -- is it
23· ·talking about related parties.· So, look, if
24· ·your own in control, yeah, I mean, I would have
25· ·to read the section.


                     TSG Reporting - Worldwide· · 877-702-9580       HCMFA APP 0153
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             157 of 831
                                                      Page 157 of 200 PageID 28734
                                                                             Page 102
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · To the best of your knowledge, was
·3· ·the existence of the agreement ever disclosed
·4· ·to PwC?
·5· · · · A.· · I'm not -- I'm not aware.
·6· · · · Q.· · Do you recall if the agreement was
·7· ·ever disclosed in Highland's audited financial
·8· ·statements?
·9· · · · A.· · I don't -- I don't remember if it
10· ·was in every Highland's audited financial
11· ·statements during my tenure.· We would have to
12· ·read the financial statements to see what was
13· ·disclosed, but I'm not -- I mean, as I sit here
14· ·today, I'm not aware.
15· · · · Q.· · That is all I'm asking for.
16· · · · A.· · I'm not aware.
17· · · · Q.· · Can we go to the next page, please,
18· ·and look at 36.· 36 says, we have disclosed to
19· ·you the identity of the partnership's related
20· ·party relationships and all the related party
21· ·relationships and transactions of which we are
22· ·aware.
23· · · · · · · Do you see that?
24· · · · A.· · Yes.
25· · · · Q.· · To the best of your knowledge, as of


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0154
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             158 of 831
                                                      Page 158 of 200 PageID 28735
                                                                             Page 103
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·June 3rd, 2019, did Highland disclose to PwC
·3· ·the identity of the partnership's related
·4· ·parties and all the related party relationships
·5· ·and transactions of which it was aware?
·6· · · · A.· · I mean, I can speak for myself as
·7· ·signer of this representation letter.                 I
·8· ·disclosed what -- what, you know, what --
·9· ·what -- what I knew.· Sorry, look, yes, so I --
10· ·I disclosed what I knew.
11· · · · Q.· · Okay.· Can we go to page 419.· Do
12· ·you see at the end there is a reference to
13· ·events that occurred since the end of the
14· ·fiscal year and the date of the letter?
15· · · · A.· · Yes.
16· · · · Q.· · And were you aware of that -- of
17· ·that provision of the management representation
18· ·letter before you signed the document?
19· · · · A.· · Yes.
20· · · · Q.· · Do you have an understanding as to
21· ·why PwC asked for that confirmation of that
22· ·particular part of the management
23· ·representation letter?
24· · · · A.· · It is -- it is -- it is just -- it
25· ·is a typical audit request.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0155
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             159 of 831
                                                      Page 159 of 200 PageID 28736
                                                                             Page 104
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And do you understand -- do you have
·3· ·an understanding that PwC wanted to know that
·4· ·as of the date of the audit whether any
·5· ·material changes had occurred since the end of
·6· ·the fiscal year, using the definition of
·7· ·materiality that is in this particular
·8· ·management representation letter?
·9· · · · A.· · It -- it is -- it is -- it is a --
10· ·it is as described.· It is just a poorly worded
11· ·question, so it is hard for me to say yes.
12· · · · Q.· · If I asked you this, I apologize,
13· ·but did you ever learn when the agreement was
14· ·entered into?
15· · · · A.· · I don't -- I don't -- like I said
16· ·before, I don't know or have any details of the
17· ·agreement.
18· · · · Q.· · Okay.· Did you ever ask anybody when
19· ·the agreement was entered into?
20· · · · A.· · I did not.
21· · · · Q.· · Let's look at the audited financial
22· ·statements.· We will put up on the screen a
23· ·document that has been premarked as Exhibit 34.
24· · · · · · · (Exhibit 34 marked.)
25· · · · · · · MS. DANDENEAU:· And again, if Ms. La


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0156
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             160 of 831
                                                      Page 160 of 200 PageID 28737
                                                                             Page 105
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Canty could please put that in the chat
·3· · · · room, that would be great.
·4· · · · · · · MR. MORRIS:· I will assure you we
·5· · · · will put every document in the chat room.
·6· · · · Q.· · Now, I'm just going to ask you
·7· ·questions that are related to the provisions of
·8· ·this report that concern the affiliate loans,
·9· ·but again, Mr. Waterhouse, if there is any part
10· ·of the document that you need to see or that
11· ·you think you might need to see in order to
12· ·refresh your recollection to answer any of my
13· ·questions, will you let me know that?
14· · · · A.· · Yes.
15· · · · Q.· · Because this is a pretty lengthy
16· ·document, but do you see that the cover page
17· ·here is the Highland consolidated financial
18· ·statements for the period ending December 31st,
19· ·2018?
20· · · · A.· · Yes.
21· · · · Q.· · If we can go to -- I think it is the
22· ·next one, looking for PwC's signature line.
23· · · · · · · MS. CANTY:· I'm sorry, John, did you
24· ·say something?
25· · · · · · · MR. MORRIS:· Yes, can we turn the


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0157
                                                                                        YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             161 of 831
                                                      Page 161 of 200 PageID 28738
                                                                             Page 106
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · page.· I think it is 215.· Yes, stop right
·3· · · · there, just above -- I'm sorry, I want to
·4· · · · see just the date of the report.
·5· · · · Q.· · Okay.· Do you see at the bottom of
·6· ·that page there, Mr. Waterhouse,
·7· ·PricewaterhouseCoopers has signed this audit
·8· ·report?
·9· · · · A.· · Yes, I see their signature.
10· · · · Q.· · Okay.· And it is the dated same day
11· ·as your management representation letter; is
12· ·that right?
13· · · · A.· · It is -- yes, it is the same day.
14· · · · Q.· · Was that the practice to sign the
15· ·management representation letter on the same
16· ·day that the audit report was signed?
17· · · · A.· · Yes, that is typical in every audit.
18· · · · Q.· · Can we just scroll down to the
19· ·balance sheet on the next page.
20· · · · · · · Do you see that there is a line
21· ·there that says, Notes and Other Amounts Due
22· ·from Affiliates?
23· · · · A.· · Yes.
24· · · · Q.· · Does that line, to the best of your
25· ·knowledge, include the amounts that were due


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0158
                                                                                        YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             162 of 831
                                                      Page 162 of 200 PageID 28739
                                                                             Page 107
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·under the affiliate under the notes signed by
·3· ·the affiliates and Mr. Dondero?
·4· · · · · · · MR. RUKAVINA:· Objection to the
·5· · · · extent that calls for a legal conclusion.
·6· · · · A.· · I mean, I would want to see the
·7· ·detail and the build to this $173,398,000, but,
·8· ·yes, I mean, if -- if -- given what we
·9· ·discussed before, you know, it -- it should
10· ·capture that.
11· · · · Q.· · And -- and while you were the CFO of
12· ·Highland, were all notes held by Highland that
13· ·were issued by an affiliate or Mr. Dondero
14· ·carried as assets on Highland's balance sheets?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · · · · MS. DEITSCH-PEREZ:· Object to form.
17· · · · A.· · I don't -- I don't know how else
18· ·they would be carried.
19· · · · Q.· · Okay.· Can you think of any -- are
20· ·you aware of any promissory note issued by an
21· ·affiliate or Mr. Dondero that was not carried
22· ·on Highland's audited financial balance sheets?
23· · · · A.· · I'm -- I'm -- I'm not aware.
24· · · · Q.· · Okay.· Are you aware of any category
25· ·of asset on Highland's balance sheet in which


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0159
                                                                                        YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             163 of 831
                                                      Page 163 of 200 PageID 28740
                                                                             Page 108
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·any of the promissory notes issued by an
·3· ·affiliate or Mr. Dondero would have been
·4· ·included?
·5· · · · · · · MS. DANDENEAU:· Objection to form.
·6· · · · A.· · Sorry, am I aware of any asset of an
·7· ·affiliate being included --
·8· · · · Q.· · That -- let me -- let me try again.
·9· · · · · · · Do you see there is a number of
10· ·different assets that are described on this
11· ·balance sheet?
12· · · · A.· · Yes.
13· · · · Q.· · One of the assets that is described
14· ·is Notes and Other Amounts Due from Affiliates;
15· ·right?
16· · · · A.· · Yes.
17· · · · Q.· · And it is reasonable to conclude
18· ·that the notes from the affiliates and
19· ·Mr. Dondero are included in that line item;
20· ·right?
21· · · · A.· · Yes, based on this description.
22· ·Again, I would want to see a build of this to
23· ·100 percent confirm, but based on the
24· ·description, the asset description, it is -- it
25· ·is likely.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0160
                                                                                        YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             164 of 831
                                                      Page 164 of 200 PageID 28741
                                                                              Page 109
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Now, does that mean absolute?                    I
·3· ·don't know.
·4· · · · Q.· · Do you have any reason to believe
·5· ·that the promissory notes would have been
·6· ·carried on the balance sheet in a category
·7· ·other than Notes and Other Amounts Due from
·8· ·Affiliates?
·9· · · · A.· · If they were deemed -- no.· If they
10· ·were deemed an affiliate, you know, under GAAP,
11· ·they should be carried in that line.
12· ·Otherwise, it would go into another line.
13· · · · Q.· · Okay.· And do you see the total
14· ·asset base as of December 31st, 2018, was
15· ·approximately $1.04 billion?
16· · · · A.· · Yes.
17· · · · Q.· · Is my math correct that the Notes
18· ·and Other Amounts Due from Affiliates
19· ·constituted approximately 17 percent of
20· ·Highland's assets as of the end of 2018?
21· · · · A.· · Well, so how are you defining
22· ·Highland?
23· · · · Q.· · Highland Capital Management, L.P.,
24· ·the entity that this audit is subject to -- or
25· ·the subject of.


                     TSG Reporting - Worldwide· · 877-702-9580       HCMFA APP 0161
                                                                                         YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             165 of 831
                                                      Page 165 of 200 PageID 28742
                                                                             Page 110
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · On a consolidated or unconsolidated
·3· ·basis?
·4· · · · Q.· · I'm looking at the balance sheet.
·5· ·It is a consolidated balance sheet.· Okay?
·6· · · · · · · Does the Notes and Other Amounts Due
·7· ·from Affiliates constitute approximately
·8· ·17 percent of the total assets of Highland
·9· ·Capital Management, L.P., on a consolidated
10· ·basis?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I don't have a calculator in front
13· ·of me but I will take your math, if you are
14· ·taking the 173 divided by the billion.
15· · · · Q.· · Okay.
16· · · · A.· · If that is accurate, yes.· But,
17· ·again, on a consolidated basis.
18· · · · Q.· · And on an unconsolidated basis the
19· ·percentage would be higher; correct?
20· · · · A.· · I -- no.· I don't know.
21· · · · Q.· · Well, okay.· That is fair.
22· · · · · · · MR. MORRIS:· Can we turn to
23· · · · page 241, please.
24· · · · Q.· · Do you see that this is a section of
25· ·the audit report that is entitled Notes and


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0162
                                                                                        YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             166 of 831
                                                      Page 166 of 200 PageID 28743
                                                                             Page 111
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Other Amounts Due from Affiliates?
·3· · · · A.· · Sorry, I can't see the -- the --
·4· · · · Q.· · It is at the top.
·5· · · · A.· · Notes and Other Amounts Due from
·6· ·Affiliates, yes, I see that.· I don't -- I
·7· ·don't have a page number, but I'm on a page
·8· ·that says at the top:· Notes and Other Amounts
·9· ·Due from Affiliates.
10· · · · Q.· · Okay.· And that is the same title of
11· ·the line item on the balance sheet that we just
12· ·looked at; right?· Notes and Other Amounts Due
13· ·from Affiliates?
14· · · · A.· · Yes.
15· · · · Q.· · And is it your understanding, based
16· ·on your experience and knowledge as the CFO,
17· ·that this is the section of the narrative that
18· ·ties into the line item that we just looked at?
19· · · · A.· · Yes.
20· · · · Q.· · And is this section of the audit
21· ·report intended to describe and disclose all of
22· ·the material facts concerning the Notes and
23· ·Other Amounts Due from Affiliates?
24· · · · · · · MS. DANDENEAU:· Objection, form.
25· · · · A.· · This -- these notes -- these notes


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0163
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             167 of 831
                                                      Page 167 of 200 PageID 28744
                                                                             Page 112
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·of the financial statements are -- the purpose
·3· ·is to disclose any material items in relation
·4· ·to that balance sheet line item.
·5· · · · Q.· · Okay.· And all of the information,
·6· ·to the best of your knowledge, that is set
·7· ·forth in this section of the audit report was
·8· ·provided by Highland; correct?
·9· · · · A.· · Yes, it would have been provided by
10· ·the corporate accounting team.
11· · · · Q.· · Okay.· And the corporate accounting
12· ·team, did that team report to you in the
13· ·organizational structure?
14· · · · A.· · Yes.
15· · · · Q.· · And did you have any concerns about
16· ·the controls that were in place to make sure
17· ·that the information provided with respect to
18· ·Notes and Other Amounts Due from Affiliates was
19· ·accurate and complete?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · Not that I recall.
22· · · · Q.· · Okay.· Do you recall ever being
23· ·concerned that any portion of the Notes and
24· ·Other Amounts Due from Affiliates in any audit
25· ·report was inaccurate, incomplete, or not


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0164
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             168 of 831
                                                      Page 168 of 200 PageID 28745
                                                                             Page 113
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·reliable?
·3· · · · A.· · I didn't -- I had concerns about,
·4· ·you know, like I talked about before, of there
·5· ·were -- there were potentially issues in the
·6· ·control environment.· But as far as it relates
·7· ·to the audited financial statements, any -- the
·8· ·team would work with the auditors to disclose
·9· ·all -- all notes in Highland's possession.
10· · · · · · · And any -- any notes that were
11· ·deemed material by the auditor, right, these
12· ·were disclosed in these -- in this section, you
13· ·know, in -- in the notes to the consolidated
14· ·financial statements as you presented.
15· · · · Q.· · Do you recall ever having a
16· ·conversation with anybody at any time
17· ·concerning the accuracy of the section of audit
18· ·reports that relates to Notes and Other Amounts
19· ·Due from Affiliates?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · You know, as -- as -- I didn't have
22· ·direct conversations with
23· ·PricewaterhouseCoopers as I had, you know --
24· ·I -- I had the team that managed this.
25· · · · · · · Again, I wasn't anywhere chose to


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0165
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             169 of 831
                                                      Page 169 of 200 PageID 28746
                                                                             Page 114
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·being the point person of this audit.· And I
·3· ·can't recall, you know, when -- you know, I
·4· ·don't even know if I was ever the point person
·5· ·during my tenure as CFO.
·6· · · · · · · I don't know if PwC had any concerns
·7· ·when they were performing those audit
·8· ·procedures.· They may have and they may have --
·9· ·and it may not have been communicated to me.                   I
10· ·don't know.
11· · · · · · · MR. MORRIS:· All right.· I move to
12· · · · strike.
13· · · · Q.· · And I'm going to ask you to listen
14· ·carefully to my question.
15· · · · · · · Did you -- do you recall ever having
16· ·a conversation with anybody at any time
17· ·concerning the accuracy of the reporting
18· ·provided in the audited financial statement on
19· ·the topic of Notes and Other Amounts Due?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · I don't recall for this, but that
22· ·doesn't mean that it didn't exist.
23· · · · Q.· · Okay.· But you have no reason to
24· ·believe, as you sit here right now, that you
25· ·ever discussed with anybody concerns over the


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0166
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             170 of 831
                                                      Page 170 of 200 PageID 28747
                                                                             Page 115
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·accuracy of the section of the audit reports
·3· ·called Notes and Other Amounts Due from
·4· ·Affiliates; correct?
·5· · · · · · · MS. DANDENEAU:· Object to the form.
·6· · · · · · · MS. DEITSCH-PEREZ:· Objection to
·7· · · · form.
·8· · · · A.· · I don't recall having any
·9· ·conversations.· But, again, I mean, this is --
10· ·this is two years ago.
11· · · · Q.· · I'm just asking for your
12· ·recollection, sir.
13· · · · A.· · Yes.
14· · · · Q.· · If you don't recall, this will --
15· · · · A.· · Yeah.
16· · · · Q.· · (Overspeak) -- if you don't
17· ·recall --
18· · · · A.· · Yeah, I don't -- I don't recall.
19· · · · Q.· · Do you know who was responsible for
20· ·drafting the audit report?
21· · · · A.· · Are you asking the actual Highland
22· ·employee responsible?· I mean, it was
23· ·Highland's responsibility, so, I mean, that
24· ·is --
25· · · · Q.· · Right.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0167
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             171 of 831
                                                      Page 171 of 200 PageID 28748
                                                                              Page 116
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · -- Highland's responsibility.
·3· ·Highland's responsibility.
·4· · · · Q.· · Who, at Highland, was responsible
·5· ·for drafting this section of the audit report?
·6· · · · A.· · I -- I don't know the answer to
·7· ·that.· Again, there was a team who worked on
·8· ·this.· And I don't know, you know, whether it
·9· ·was the staff or the manager.
10· · · · · · · Again, this is where I let the teams
11· ·manage.· And, you know, there may be a
12· ·corporate accountant who worked on this.                    I
13· ·just -- you know, I wasn't part of that process
14· ·to give that person experience.· I don't know.
15· · · · Q.· · Do you recall having any
16· ·communications with anybody at any time
17· ·concerning this section of the report?
18· · · · A.· · Yeah, I don't recall.
19· · · · Q.· · Do you recall whether you ever told
20· ·anybody at any time that any aspect of this
21· ·section of the report was inaccurate or
22· ·incomplete?
23· · · · A.· · I don't recall.
24· · · · Q.· · As you sit here today, do you have
25· ·any reason to believe that this section of the


                     TSG Reporting - Worldwide· · 877-702-9580       HCMFA APP 0168
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             172 of 831
                                                      Page 172 of 200 PageID 28749
                                                                             Page 117
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·audit report is incomplete or inaccurate in any
·3· ·way?
·4· · · · · · · And I'm happy to give you a moment
·5· ·to -- to look at it, if you would like.
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · · · · MS. DEITSCH-PEREZ:· Same.
·8· · · · A.· · I mean, I would have to look at -- I
·9· ·would have to look at the bill to the note
10· ·schedule to make sure I know you presented me
11· ·with materiality, but again, there might be a
12· ·note as of 12/31/18 that somehow was -- was
13· ·under materiality not disclosed.· I don't -- I
14· ·don't know.· I would need more information.
15· · · · Q.· · Okay.· But without more information,
16· ·you have no reason to believe anything this
17· ·section is inaccurate; correct?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · A.· · I don't.· I mean, you know, this was
20· ·part of the audit.
21· · · · Q.· · Thank you.· Now, you will see if we
22· ·could scroll just a little bit more that each
23· ·of the first five paragraphs concerns
24· ·specifically the four affiliates that we've
25· ·been discussing and Mr. Dondero.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0169
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             173 of 831
                                                      Page 173 of 200 PageID 28750
                                                                             Page 118
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MR. MORRIS:· If we could go the
·3· · · · other way, La Asia.· We don't need Okada.
·4· · · · We're going to have to thread the needle.
·5· · · · Okay.· Good, perfect.
·6· · · · Q.· · Do you see those five paragraphs
·7· ·certain the four affiliates and Mr. Dondero as
·8· ·we've been referring to today?
·9· · · · A.· · Yes.
10· · · · Q.· · Okay.· And do you see at the end of
11· ·every paragraph it states, quote:· A fair value
12· ·of a partnership's outstanding notes receivable
13· ·approximates the carrying value of the notes
14· ·receivable?
15· · · · A.· · Yes, I see that.
16· · · · Q.· · Do you have an understanding of what
17· ·that means?
18· · · · A.· · Yes.
19· · · · Q.· · What is your understanding of that
20· ·sentence?
21· · · · A.· · It is the -- again, the -- the fair
22· ·value, right, which is -- which is what the --
23· ·what Highland could sell that asset for.· This
24· ·statement is comparing the fair value of the
25· ·notes to the carrying value, so the carrying


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0170
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             174 of 831
                                                      Page 174 of 200 PageID 28751
                                                                             Page 119
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·value is the line item that you showed me
·3· ·earlier that is in Notes and Other Amounts Due
·4· ·from Affiliates.
·5· · · · Q.· · Okay.· Is another way to say this is
·6· ·that the fair market value of the notes equals
·7· ·the principal amount and -- withdrawn.
·8· · · · · · · Is the fair way to interpret this
·9· ·that the fair market value of the notes equals
10· ·all remaining unpaid principal and interest due
11· ·under the notes?
12· · · · · · · MS. DANDENEAU:· Object to the form.
13· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
14· · · · A.· · I don't know the answer to that,
15· ·because I don't recall where -- where any --
16· ·where -- in what line item was the interest
17· ·component reported.
18· · · · Q.· · All right.· Well, if we look in this
19· ·audit report, you will see in the middle of the
20· ·first paragraph, for example, it states that as
21· ·of December 31st, 2018, total interest and
22· ·principal due on outstanding promissory notes
23· ·was approximately $5.3 million.
24· · · · · · · Do you see that?
25· · · · A.· · I do.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0171
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             175 of 831
                                                      Page 175 of 200 PageID 28752
                                                                             Page 120
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Is that the carrying value or the
·3· ·fair value?
·4· · · · A.· · That would be the carrying value --
·5· · · · Q.· · And is the last --
·6· · · · A.· · -- in my opinion.
·7· · · · Q.· · Okay.· And it is in your opinion as
·8· ·the chief financial officer of Highland during
·9· ·the period of time that you described; right?
10· ·It is an educated opinion?
11· · · · A.· · I'm reading this at face value.· I'm
12· ·taking that as that is carrying value.
13· · · · Q.· · Okay.· And does the last sentence
14· ·say that the carrying value is roughly
15· ·approximate to the fair market value?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
18· · · · A.· · Again, this note to the financial
19· ·statement is specific to notes and other
20· ·amounts due from affiliates.
21· · · · Q.· · Correct.
22· · · · A.· · If the interest component is
23· ·reported elsewhere on the balance sheet, you
24· ·know, it -- it -- it could be off.· Again, I
25· ·don't have the detail.· I don't know, but yes,


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             176 of 831
                                                      Page 176 of 200 PageID 28753
                                                                             Page 121
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·look, I mean, if you -- I mean, if you are
·3· ·saying the 5.3 million is in the notes and
·4· ·other amounts due from affiliates, then the
·5· ·last statement is saying the fair value
·6· ·approximates 5.3 million.· That is what that
·7· ·last sentence is saying.
·8· · · · Q.· · Do you see in the middle of the
·9· ·first paragraph -- not in the middle, the next
10· ·to last sentence there is a statement that the
11· ·partnership will not demand payment on amounts
12· ·that exceed HCMFA's excess cash availability
13· ·prior to May 31st, 2021.
14· · · · · · · Do you see that?
15· · · · A.· · I do.
16· · · · Q.· · Do you know when Highland agreed not
17· ·to demand payment as described in that
18· ·sentence?
19· · · · A.· · I don't know specifically.
20· · · · Q.· · Do you know why Highland agreed not
21· ·to demand payment on HCMFA's notes until May
22· ·2021?
23· · · · A.· · Yes.
24· · · · Q.· · Why was that decision made?
25· · · · A.· · You know, well, it -- it -- that


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0173
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             177 of 831
                                                      Page 177 of 200 PageID 28754
                                                                             Page 122
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·decision was made as to not put HCMFA into a
·3· ·position where it didn't have sufficient assets
·4· ·to pay for the demand note.
·5· · · · Q.· · And at the time the agreement was
·6· ·entered into, pursuant to which the partnership
·7· ·wouldn't demand payment, did HCMFA have
·8· ·insufficient assets to satisfy the notes if a
·9· ·demand had been made?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · I don't have HCMFA's financial
12· ·statements in front of me as of 12/31/18.
13· · · · Q.· · Was there a concern that HCMFA would
14· ·be unable to satisfy its demands under the
15· ·notes if demand was made?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · A.· · Well, there is -- I don't recall --
18· ·I mean, there is something, right, in place to
19· ·basically not demand payment until May 31, 2021
20· ·as detailed here.
21· · · · Q.· · And who made the decision to enter
22· ·into -- who made the decision on behalf of
23· ·Highland not to demand payment until May 31st,
24· ·2021?
25· · · · A.· · I'm trying to remember.· I don't


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0174
                                                                                        YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             178 of 831
                                                      Page 178 of 200 PageID 28755
                                                                             Page 123
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·remember exactly -- I don't remember if it was
·3· ·myself or -- or Jim Dondero who -- who -- there
·4· ·was -- there was something signed, from what I
·5· ·recall, that -- that -- that backed up this
·6· ·line item in the -- in the notes I'm -- look,
·7· ·I'm, I'm --
·8· · · · Q.· · We will get to that.
·9· · · · A.· · You --
10· · · · Q.· · I'm just --
11· · · · A.· · You have -- I mean --
12· · · · Q.· · We're going to give that to you.
13· ·I'm going to give that to you.
14· · · · A.· · You -- you -- you have all the
15· ·documents.· I don't have the documents, and
16· ·that is what makes it so hard.· I don't have
17· ·any documents to prepare for this deposition;
18· ·right?· You have all -- I don't -- I don't -- I
19· ·don't remember, but, you know, again, it would
20· ·probably be myself or Jim.
21· · · · Q.· · Do you know if Highland received
22· ·anything in return for its agreement not to
23· ·make a demand for two years?
24· · · · A.· · I don't -- I don't think it referred
25· ·anything.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0175
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             179 of 831
                                                      Page 179 of 200 PageID 28756
                                                                             Page 124
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And did you and Mr. Dondero discuss
·3· ·HCMFA's ability to satisfy the notes if a
·4· ·demand was made at the time this agreement was
·5· ·entered into?
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · A.· · I don't -- I don't -- I don't recall
·8· ·having a specific conversation, if I did, or --
·9· ·or David Klos.
10· · · · Q.· · Okay.· I'm just asking if you recall
11· ·any conversations that you had.
12· · · · A.· · I don't recall.
13· · · · Q.· · Okay.· Do you know why Highland
14· ·loaned the money to HCMFA that is the subject
15· ·of the notes described in this paragraph?
16· · · · A.· · I don't remember specifically why
17· ·5.3 million was loaned.· I mean, I -- it would
18· ·have to be put in the context.
19· · · · Q.· · Do you have any recollection at all
20· ·as to why Highland ever loaned any money to
21· ·HCMFA?
22· · · · A.· · Yes.
23· · · · · · · MS. DANDENEAU:· Objection to form.
24· · · · Q.· · What do you remember about that?
25· · · · A.· · There was a Highland Global


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0176
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             180 of 831
                                                      Page 180 of 200 PageID 28757
                                                                             Page 125
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Allocation Fund, which was a -- a fund managed
·3· ·by Highland Capital Management Fund Advisors.
·4· ·There was a -- we -- I'm just telling you,
·5· ·there was -- there was -- there was a -- a
·6· ·ultimately a NAV error found in this fund while
·7· ·it was an open-ended fund and, you know, there
·8· ·were amounts owed by the advisor in -- in
·9· ·relation to that NAV error.
10· · · · · · · There were also, for the same fund,
11· ·that same fund was ongoing an
12· ·open-end-to-close-end conversion, and as part
13· ·of that proposal, shareholders who voted for
14· ·the conversion received compensation from the
15· ·advisor.
16· · · · Q.· · All right.· Now, the events that
17· ·you're describing occurred in the spring of
18· ·2019; right?
19· · · · A.· · These started back -- I think, I
20· ·mean --
21· · · · Q.· · I apologize.
22· · · · A.· · -- that -- I mean, the answer to
23· ·that is no.
24· · · · Q.· · I apologize, the loans that were
25· ·made in connection with the events that you're


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0177
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             181 of 831
                                                      Page 181 of 200 PageID 28758
                                                                             Page 126
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·describing occurred in May 2019; right?
·3· · · · · · · MR. RUKAVINA:· Objection to the
·4· · · · extent that calls for a legal conclusion.
·5· · · · A.· · I don't recall specifically what
·6· ·amounts of money were moved when, for what
·7· ·purpose.
·8· · · · Q.· · Okay.· Fair enough.· Going to the
·9· ·next paragraph, do you recall that NexPoint
10· ·Advisors had obtained a number of loans from
11· ·Highland, and they rolled up those loans into
12· ·one note in approximately 2017?
13· · · · A.· · This is for NexPoint Advisors?
14· · · · Q.· · Yes.
15· · · · A.· · I -- I mean, I don't -- I don't
16· ·recall the NexPoint Advisors loan being a
17· ·roll-up loan, but --
18· · · · Q.· · Do you know why?
19· · · · A.· · But, look, if you have documents
20· ·that show -- I mean, look, I just don't recall.
21· · · · Q.· · Okay.· That is fair.· Do you know
22· ·why -- do you have any recollection as to why
23· ·Highland loaned money to NexPoint?
24· · · · A.· · Yes.
25· · · · Q.· · Why did High -- why do you recall --


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0178
                                                                                        YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             182 of 831
                                                      Page 182 of 200 PageID 28759
                                                                             Page 127
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·what is the reason you recall Highland lending
·3· ·money to NexPoint?
·4· · · · A.· · I mean, I was just -- I just -- I
·5· ·just recall.· I mean, I just -- I don't
·6· ·remember why.
·7· · · · Q.· · I understand.· And I'm asking you if
·8· ·you recall --
·9· · · · A.· · Oh, why -- I thought you say --
10· ·NexPoint Advisors was launching a fund which
11· ·is -- I believe that the legal name is NexPoint
12· ·Capital, Inc.· And it -- it provided a
13· ·co-invest into that fund.
14· · · · · · · And, from what I remember, the --
15· ·the -- that NexPoint borrowed money from
16· ·Highland at the time to make that co-invest.
17· · · · Q.· · So this was an investment that
18· ·NexPoint was required to make; is that right?
19· · · · · · · MS. DANDENEAU:· Objection to form.
20· · · · A.· · I don't know if it was required to
21· ·make, I don't recall that, or if it just made
22· ·it.
23· · · · Q.· · Okay.· But your recollection is that
24· ·NexPoint made an investment and they borrowed
25· ·money from Highland to finance the investment.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0179
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             183 of 831
                                                      Page 183 of 200 PageID 28760
                                                                             Page 128
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Do I have that right?
·3· · · · A.· · Yes.
·4· · · · Q.· · How about HCRE?· Do you know why
·5· ·HCRE borrowed money from Highland?
·6· · · · A.· · I don't remember specifically.
·7· · · · Q.· · Do you remember generally?
·8· · · · A.· · Generally, yeah -- I mean, yes.
·9· · · · Q.· · Can you tell me your general
10· ·recollection as to why Highland loaned money to
11· ·HCRE?
12· · · · A.· · For -- for -- for investment
13· ·purposes.
14· · · · Q.· · So HCRE made the investment and it
15· ·obtained a loan, or loans, from Highland in
16· ·order to finance that investment or those
17· ·investments.
18· · · · · · · Do I have that right?
19· · · · A.· · I mean, I -- you know, generally.
20· · · · Q.· · Okay.· How about Highland Management
21· ·Services, Inc.?
22· · · · · · · Do you have any recollection as to
23· ·why HCMS borrowed money from Highland?
24· · · · A.· · Generally.
25· · · · Q.· · What is your general recollection as


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0180
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             184 of 831
                                                      Page 184 of 200 PageID 28761
                                                                             Page 129
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·to why HCMS borrowed money from Highland?
·3· · · · A.· · For -- for investment purposes.
·4· · · · Q.· · So it is the same thing, HCMS wanted
·5· ·to make investments and it borrowed money from
·6· ·Highland in order to finance those investments;
·7· ·is that right?
·8· · · · A.· · I mean, yes, generally.· I mean, I
·9· ·can't -- I don't -- on the services, there --
10· ·there are several loans in these schedules.
11· ·You know, I can't remember why every single one
12· ·of these were made, but I would say, yeah, I
13· ·mean, generally.
14· · · · Q.· · Okay.· I appreciate that.
15· · · · · · · MR. MORRIS:· Let's go to the page
16· · · · with Bates No. 251.· La Asia, are you
17· · · · there?
18· · · · · · · MS. CANTY:· Sorry, John.· It went
19· · · · out for a minute.· Can you say that again.
20· · · · I don't know what is going on.
21· · · · · · · MR. MORRIS:· The page with Bates
22· · · · No. 251, can we go to that.
23· · · · · · · MS. CANTY:· Yes, sorry.
24· · · · · · · MR. MORRIS:· Keep going to the
25· · · · bottom.· Yeah, there you go.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0181
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             185 of 831
                                                      Page 185 of 200 PageID 28762
                                                                             Page 130
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Do you see, Mr. Waterhouse, that
·3· ·there is a section there called Subsequent
·4· ·Events?
·5· · · · A.· · I do.
·6· · · · Q.· · And does this relate to the last
·7· ·sentence above the signature line on the
·8· ·management representation letter that we talked
·9· ·about earlier where you made the representation
10· ·that you disclosed subsequent events?
11· · · · A.· · I mean, it relates to it, but not in
12· ·its entirety.
13· · · · Q.· · Okay.
14· · · · · · · MR. MORRIS:· If we can scroll up to
15· · · · capture the entirety of this section right
16· · · · here.
17· · · · Q.· · And what do you mean by that, sir?
18· · · · · · · MR. MORRIS:· Yeah, right there.
19· · · · Perfect.
20· · · · A.· · There are -- there are different
21· ·subsequent events in -- under GAAP.· So there
22· ·are -- and -- and -- so what we see in the
23· ·notes to the financial statements are one type
24· ·of subevent.
25· · · · Q.· · Okay.· And -- and would the type of


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0182
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             186 of 831
                                                      Page 186 of 200 PageID 28763
                                                                             Page 131
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·subsequent event relating to affiliate loans be
·3· ·captured in this section if they were -- if
·4· ·they were made after the end of the fiscal year
·5· ·and prior to the issuance of the audit report?
·6· · · · A.· · Yes, if they were deemed material or
·7· ·disclosable.
·8· · · · Q.· · Okay.· I appreciate that.
·9· · · · · · · Do you see the next to the last
10· ·entry there?· It says, Over the course of 2019
11· ·through the report date, HCMFA issued
12· ·promissory notes to the partnership in the
13· ·aggregate amount of $7.4 million?
14· · · · A.· · Yes.
15· · · · Q.· · And does that refresh your
16· ·recollection that those are the notes that
17· ·related to the NAV error that you mentioned
18· ·earlier?
19· · · · A.· · I don't -- I don't remember the
20· ·exact.· Again, there are -- I mentioned two
21· ·line items; right?
22· · · · Q.· · Yes.
23· · · · A.· · I mean, it was the GAAP conversion
24· ·process plus the -- the NAV error.· I don't
25· ·have the details.· I don't recall specifically


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0183
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             187 of 831
                                                      Page 187 of 200 PageID 28764
                                                                             Page 132
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·if -- you know, what -- if that 7.4 million was
·3· ·solely attributable to the NAV error.
·4· · · · Q.· · Okay.· But there is no question that
·5· ·Highland told PricewaterhouseCoopers that over
·6· ·the course of 2019 HCMFA issued promissory
·7· ·notes to the partnership in the aggregate
·8· ·amount of $7.4 million; correct?
·9· · · · A.· · In the course of the audit, we would
10· ·have produced all promissory notes in our
11· ·possession, including the ones that are
12· ·detailed here.
13· · · · Q.· · Do you recall that you signed the
14· ·two promissory notes that are referenced in
15· ·that provision?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · A.· · I didn't recall initially but I've
18· ·been reminded.
19· · · · Q.· · Okay.· And -- and do you recall that
20· ·those notes are dated May 2nd and May 3rd,
21· ·2019?
22· · · · A.· · Yes.
23· · · · Q.· · So that was just a month before the
24· ·audit was completed; correct?
25· · · · A.· · Yes.· I think we had a June 3rd


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0184
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             188 of 831
                                                      Page 188 of 200 PageID 28765
                                                                             Page 133
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·date, right, if -- if my memory serves me
·3· ·right.
·4· · · · Q.· · Yes, I will represent to you that
·5· ·your memory is accurate in that regard.
·6· · · · · · · Did anybody ever instruct you as the
·7· ·CFO to correct this statement that we're
·8· ·looking at in subsequent events?
·9· · · · A.· · So let me understand.· You're saying
10· ·when I was CFO at Highland Capital did anyone
11· ·ever ask me to correct the -- over the course
12· ·of 2019 through the report date HCMFA issued
13· ·promissory notes, this statement?
14· · · · Q.· · Right.
15· · · · A.· · Not that I'm aware.
16· · · · Q.· · While you were the CFO of Highland,
17· ·did anybody ever tell you that that sentence
18· ·was wrong?
19· · · · A.· · Not that I'm aware.
20· · · · Q.· · Highland -- withdrawn.
21· · · · · · · HCMFA disclosed these notes in its
22· ·own audited financial statements; right?
23· · · · · · · MR. RUKAVINA:· Objection, form.
24· · · · A.· · I assume that these would be
25· ·material -- if these are material financial


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0185
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             189 of 831
                                                      Page 189 of 200 PageID 28766
                                                                             Page 134
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·statements, yes, they -- they -- they should be
·3· ·and they were likely disclosed.
·4· · · · Q.· · Now, there is no statement
·5· ·concerning the 2019 notes about the forbearance
·6· ·that we looked at in the affiliated note
·7· ·section of the report; right?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · Q.· · I'll withdraw.· That was bad.
10· · · · · · · Do you recall when we were looking
11· ·at the paragraph concerning HCMFA earlier it
12· ·had that disclosure about the agreement whereby
13· ·Highland wouldn't ask for demand on the -- on
14· ·the HCMFA notes?
15· · · · A.· · Yes.
16· · · · Q.· · That forbearance disclosure is not
17· ·made with respect to the 2019 notes; right?
18· · · · A.· · Not -- look, not that I can recall,
19· ·unless -- unless it was done at a subsequent
20· ·day.
21· · · · Q.· · Right.· And it is not in the
22· ·subsequent event section that we're looking at
23· ·right now where the 2019 notes are described;
24· ·right?
25· · · · A.· · Right.· But this is through


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0186
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             190 of 831
                                                      Page 190 of 200 PageID 28767
                                                                             Page 135
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·June 3rd.· It could have been done on June 4th.
·3· ·I don't -- I don't -- I don't recall.
·4· · · · Q.· · Okay.
·5· · · · · · · MR. MORRIS:· Can we put up on the
·6· · · · screen the HCMFA audit report.· And while
·7· · · · we're --
·8· · · · · · · MS. DANDENEAU:· What exhibit is
·9· · · · this?
10· · · · · · · MR. MORRIS:· La Asia, what number is
11· · · · that?
12· · · · · · · MS. CANTY:· 45.
13· · · · · · · MR. MORRIS:· So this will be marked
14· · · · as Exhibit 45.
15· · · · · · · (Exhibit 45 marked.)
16· · · · · · · MS. CANTY:· Yeah, and I will put it
17· · · · in the chat.
18· · · · · · · MS. DANDENEAU:· Thank you.
19· · · · Q.· · Okay.· All right.· Do you see that
20· ·this is the consolidated financial statements
21· ·for HCMFA for the period ending 12/31/18?
22· · · · A.· · Yes.
23· · · · Q.· · As the treasurer of HCMFA at the
24· ·time, did you have to sign a management
25· ·representation letter similar to the one that


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0187
                                                                                        YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             191 of 831
                                                      Page 191 of 200 PageID 28768
                                                                             Page 136
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·we looked at earlier for Highland?
·3· · · · A.· · I would imagine I would have been
·4· ·asked to.· I don't recall if I did.
·5· · · · Q.· · Do you recall ever being asked by an
·6· ·auditor to sign a management representation
·7· ·letter and then not doing it?
·8· · · · A.· · No.
·9· · · · · · · MR. MORRIS:· Can we just scroll down
10· · · · again.· I just want to see the date of the
11· · · · document.
12· · · · A.· · I mean, let me -- you know, there
13· ·are different versions to management
14· ·representation letters I will qualify.
15· · · · · · · Yes, there are certain -- from time
16· ·to time auditors can make representations
17· ·that -- in the rep letter that is being
18· ·proposed that are inaccurate or out of scope or
19· ·things like that and they've asked for
20· ·signature.
21· · · · · · · In that context, yes.· I mean, you
22· ·know -- I mean, if I have been asked to sign
23· ·and make those representations and those
24· ·representations are invalid, yes, I would not,
25· ·I mean, I -- I wouldn't sign that.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0188
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             192 of 831
                                                      Page 192 of 200 PageID 28769
                                                                             Page 137
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· PricewaterhouseCoopers served
·3· ·as HCMFA's outside auditors as well; correct?
·4· · · · A.· · Yes.
·5· · · · Q.· · Do you see that this audit report is
·6· ·signed on June 3rd, 2019, just like the
·7· ·Highland audit report?
·8· · · · A.· · That is correct.
·9· · · · Q.· · And did the process of -- of
10· ·preparing HCMFA's audit report, was that the
11· ·same process that Highland followed when it did
12· ·its audit report at this time?
13· · · · A.· · I mean, it is a different entity.
14· ·There are different assets.· You know, it --
15· ·it -- it is -- as you saw, Highland's
16· ·financials are on a consolidated basis.· This
17· ·is different, so it is under the same control
18· ·environment and team.
19· · · · Q.· · Okay.· I appreciate that.· So the
20· ·same control environment and team participated
21· ·in the preparation of the audit for Highland
22· ·and for HCMFA at around the same time; correct?
23· · · · A.· · Yes.
24· · · · · · · MR. MORRIS:· Can we go to page 17 of
25· · · · the report.· I don't have the Bates number.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0189
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             193 of 831
                                                      Page 193 of 200 PageID 28770
                                                                             Page 138
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Do you see that just like
·3· ·Highland's audited financial report, HCMFA's
·4· ·audited financial report also has a section
·5· ·related to subsequent events?
·6· · · · A.· · Yes.
·7· · · · Q.· · And am I reading this correctly that
·8· ·just as Highland had done, HCMFA disclosed in
·9· ·its audited financial report a subsequent event
10· ·that related to the issuance of promissory
11· ·notes to Highland in the aggregate amount of
12· ·$7.4 million in 2019?
13· · · · A.· · That is what I see in the report.
14· · · · Q.· · And you were the treasurer of HCMFA
15· ·at the time; right?
16· · · · A.· · Yes, to the best of my knowledge.
17· · · · Q.· · And did anybody ever tell you prior
18· ·to the time of the issuance of this audit
19· ·report that that sentence relating to HCMFA's
20· ·2019 notes was inaccurate or wrong in any way?
21· · · · A.· · Not that I recall.
22· · · · Q.· · As you sit here right now, has
23· ·anybody ever told you that that sentence is
24· ·inaccurate or wrong in any way?
25· · · · A.· · Not that I recall.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0190
                                                                                        YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             194 of 831
                                                      Page 194 of 200 PageID 28771
                                                                             Page 139
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · I apologize if I asked you this
·3· ·already, but has anybody ever told you at any
·4· ·time that you are not authorized to sign the
·5· ·promissory notes that are the subject of the
·6· ·sentence we're looking at?
·7· · · · A.· · Not that I recall.
·8· · · · Q.· · Did anybody ever tell you at any
·9· ·time that you had made a mistake when you
10· ·signed the promissory notes that are the
11· ·subject of this sentence?
12· · · · A.· · Say that again.· Did anyone ever say
13· ·that I made a mistake?
14· · · · Q.· · Let me ask the question again.
15· · · · · · · Did anybody ever tell you at any
16· ·time that you made a mistake when you signed
17· ·the two promissory notes in Highland's favor on
18· ·behalf of HCMFA in 2019?
19· · · · A.· · Not that I recall.
20· · · · · · · MR. MORRIS:· Let's just look at the
21· · · · promissory notes quickly.· Can we please
22· · · · put up Document Number 1, and so this is in
23· · · · the pile that y'all have.· We'll just go
24· · · · for a few more minutes and we can take our
25· · · · lunch break.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0191
                                                                                        YVer1f
   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             195 of 831
                                                      Page 195 of 200 PageID 28772
                                                                             Page 140
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · All right.· So I don't know if you
·3· ·have seen this before, sir.· Do you see that
·4· ·this is a complaint against HCMFA?
·5· · · · A.· · Yes, I am looking at it on the
·6· ·screen.
·7· · · · Q.· · Okay.· And have you ever seen this
·8· ·document before?
·9· · · · A.· · I went through some of these
10· ·documents with my counsel here yesterday.
11· · · · · · · MR. MORRIS:· All right.· Can we go
12· · · · to Exhibit 1 of this document.
13· · · · Q.· · Do you see Exhibit 1 is a
14· ·$2.4 million promissory note back in 2019?
15· · · · A.· · Yeah, I found it in the book.· Yes,
16· ·I have it here in front of me.
17· · · · Q.· · And this is a demand note, right, if
18· ·you look at Paragraph 2?
19· · · · A.· · Yes.
20· · · · Q.· · And this is a note where the maker
21· ·is HCMFA, and Highland is the payee; right?
22· · · · A.· · Yes.
23· · · · · · · MR. MORRIS:· And if we can scroll
24· · · · down, can we just see Mr. Waterhouse's
25· · · · signature.


                     TSG Reporting - Worldwide· · 877-702-9580      HCMFA APP 0192
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             196 of 831
                                                      Page 196 of 200 PageID 28773
                                                                              Page 141
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Is that your signature, sir?
·3· · · · A.· · Yes, it is.
·4· · · · Q.· · And did you sign this document on or
·5· ·around May 2nd, 2019?
·6· · · · A.· · I don't recall specifically signing
·7· ·this, but this is my signature.
·8· · · · Q.· · Okay.· And do you recall that
·9· ·Highland transferred $2.4 million to HCMFA at
10· ·or around the time you signed this document?
11· · · · A.· · I don't recall specifically.                     I
12· ·would want to, as I sit here today, go back and
13· ·confirm that, but again, presumably that --
14· ·that -- that did happen.
15· · · · Q.· · You wouldn't have signed this
16· ·document if you didn't believe that HCMFA
17· ·either received or was going to receive
18· ·$2.4 million from Highland; is that fair?
19· · · · A.· · I mean, it -- if -- if -- if there
20· ·wasn't a transfer of value, yeah, I mean, you
21· ·know, I would have no reason to -- to sign a
22· ·note.
23· · · · Q.· · And -- and Highland wouldn't have
24· ·given this note to PricewaterhouseCoopers if --
25· ·withdrawn.


                     TSG Reporting - Worldwide· · 877-702-9580       HCMFA APP 0193
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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             197 of 831
                                                      Page 197 of 200 PageID 28774
                                                                             Page 142
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · HCMFA wouldn't have given this note
·3· ·to PricewaterhouseCoopers if it hadn't received
·4· ·the principal value of -- of the note in the
·5· ·form of a loan; correct?
·6· · · · · · · MR. RUKAVINA:· Objection, legal
·7· · · · conclusion, speculation and form.
·8· · · · A.· · Again, we -- what we provided to PwC
·9· ·were, as part of the audit, any promissory
10· ·notes executed and outstanding.· You know, as a
11· ·part of the audit, they, you know, they -- they
12· ·have copies of all the bank statements,
13· ·things -- things of that sort.
14· · · · · · · MR. MORRIS:· Okay.· Can we go to
15· · · · Exhibit 2.
16· · · · · · · (Exhibit 2 marked.)
17· · · · Q.· · Do you see that this is a promissory
18· ·note dated May 3rd, 2019 in the amount of
19· ·$5 million?
20· · · · A.· · Yes.
21· · · · Q.· · Do you believe this is also a demand
22· ·note if you look at Paragraph 2?
23· · · · A.· · Yes.
24· · · · Q.· · And do you see that HCMFA is the
25· ·maker, and Highland is the payee?


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             198 of 831
                                                      Page 198 of 200 PageID 28775
                                                                             Page 143
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · And if we go to the bottom, can we
·4· ·just confirm that that is your signature?
·5· · · · A.· · Yes.
·6· · · · Q.· · And together these notes are the
·7· ·notes that are referred to both in Highland and
·8· ·HCMFA's audited financial reports in the
·9· ·subsequent event sections; correct?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · They -- they -- they totaled
12· ·$7.4 million, so presumably, yes.
13· · · · Q.· · Okay.· And you were authorized to
14· ·sign these two notes; correct?
15· · · · · · · MR. RUKAVINA:· Objection, legal
16· · · · conclusion.
17· · · · A.· · Yeah.· I mean, I'm -- I was the
18· ·officer of -- of HCMFA.· You know, I -- I'm not
19· ·the legal expert on -- on what that -- what
20· ·that confers to me or what it doesn't.· I mean,
21· ·that is my signature on the notes.
22· · · · Q.· · And you believed you were authorized
23· ·to sign the notes; is that fair?
24· · · · A.· · I signed a lot of documents in my
25· ·capacity, just because it is operational in


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             199 of 831
                                                      Page 199 of 200 PageID 28776
                                                                             Page 144
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·nature.· So, you know, to me this was just
·3· ·another document, to be perfectly honest.
·4· · · · Q.· · Sir, would you have signed
·5· ·promissory notes with the principal amount of
·6· ·$7.4 million if you didn't believe you were
·7· ·authorized to do so?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · Q.· · Are you frozen?
10· · · · A.· · No.· I'm just -- you know, it is --
11· ·you know, again, I typically don't sign
12· ·promissory notes, and I don't recall why I
13· ·signed these, but -- you know, but I did.
14· · · · Q.· · All right.· So listen carefully to
15· ·my question.· Would you have ever signed
16· ·promissory notes with a face amount of
17· ·$7.4 million without believing that you were
18· ·authorized to do so?
19· · · · A.· · No.· I mean, I'm -- I'm putting my
20· ·signature on there, so no.
21· · · · Q.· · Okay.· And would you have signed two
22· ·promissory notes obligating HCMFA to pay
23· ·Highland $7.4 million without Mr. Dondero's
24· ·prior knowledge and approval?
25· · · · · · · MS. DEITSCH-PEREZ:· Object to the


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   Case 21-03004-sgj Doc 87 Filed 12/02/21 Entered 12/02/21 17:03:51 Desc Main
 Case 3:21-cv-00881-X Document
                           Document
                               176-40 Filed
                                       Page 01/09/24
                                             200 of 831
                                                      Page 200 of 200 PageID 28777
                                                                              Page 145
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · form.
·3· · · · A.· · You know, from -- from what I recall
·4· ·around these notes, you know, I don't recall
·5· ·specifically Mr. -- Mr. Dondero saying to -- to
·6· ·make this a loan.
·7· · · · · · · So my conversation with Mr. Dondero
·8· ·around the culmination of the NAV error as
·9· ·related to TerreStar which was a -- a -- I
10· ·think it was a year and a half process.                     I
11· ·don't know, it was a multi-month process, very
12· ·laborious, very difficult.
13· · · · · · · When we got to the end, I had a
14· ·conversation with Mr. Dondero on where to, you
15· ·know, basically get the funds to reimburse the
16· ·fund, and I recall him saying, get the money
17· ·from Highland.
18· · · · Q.· · And so he told you to get the money
19· ·from Highland; is that right?
20· · · · A.· · That is what I recall -- in my
21· ·conversation with him, that is -- that is what
22· ·I can recall.
23· · · · Q.· · Do you know who drafted these notes?
24· · · · A.· · I don't.
25· · · · Q.· · Did you ask somebody to draft the


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